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                               Exhibit 1
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 2 of 258 Page ID #:3581




     R.A.M.
     Event / Activism Guidelines
     -Be in good physical shape and sober

     -NO explicit clothing (if you have to ask the answer is no)

     -Wear track pants or sweats and grey shirt. (subject to change depending on event)

     -If we are wearing masks keep on at all times

     -NO talking to press or live streamers. Exception for small talk for friendlies

     -Do not engage with shit libs and general public only antifa or serious opposition

     -Absolutely no Roman salutes or racial slurs

     -Go with the plan of said event. Entrance, duration, and exit

     -Stay with group at all times at high risk events

     -Look defensive in beginning of all scuffles or fights




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                            Exhibit 2
                        (filed manually)
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 4 of 258 Page ID #:3583




                               Exhibit 3
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 5 of 258 Page ID #:358




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 6 of 258 Page ID #:3585
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 7 of 258 Page ID #:3586
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 8 of 258 Page ID #:3587
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 9 of 258 Page ID #:3588
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 10 of 258 Page ID #:3589




                                Exhibit 4
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 11 of 258 Page ID #:3590




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 13 of 258 Page ID #:3592




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 14 of 258 Page ID #:3593




                                Exhibit 5
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 15 of 258 Page ID #:3594




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 16 of 258 Page ID #:3595




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 17 of 258 Page ID #:3596




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 18 of 258 Page ID #:3597




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 19 of 258 Page ID #:3598




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 20 of 258 Page ID #:3599




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 21 of 258 Page ID #:3600




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 22 of 258 Page ID #:3601




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 23 of 258 Page ID #:3602




                                Exhibit 6
       Case 2:18-cr-00759-CJC Document 392-2Confirmation
                                               Filed 04/12/24
                                                         from WOW air Page   24 of 258 Page ID #:3603
                                                                      - UJACWY


  From:                         WOW air <noreply@wowair.com>
  Sent:                         10/4/2018 10:07:28 PM +0000
  To:                           robertrundo@gmail.com
  Subject:                      Confirmation from WOW air - UJACWY
  Attachments:                  UJACWY.pdf




    Booking Confirmation and Itinerary


        Guest's Confirmation Number UJACWY



      WW174/814
      From: Los Angeles International Airport (LAX)                    To: Keflavik International Airport (KEF)
      Terminal :                                                       Flight Number : WW 174
      Friday, October 5, 2018 7:00:00 PM                               Saturday, October 6, 2018 10:55:00 AM
      Flight duration : 08:55                                          Operated By :
      Wait: 04:35
      From: Keflavik International Airport (KEF)                       To: Gatwick Airport (LGW)
      Terminal :                                                       Flight Number : WW 814
      Saturday, October 6, 2018 3:30:00 PM                             Saturday, October 6, 2018 7:50:00 PM
      Flight duration : 03:20                                          Operated By :

       Guest                    Description                                                 Original          Total
                                                                                            Amount


       ROBERT PAUL              WW174/814                                                   16179.58 INR      16179.58
       RUNDO                                                                                                  INR


                                ZU passenger fee Winter 2018-2019                           258.7 INR         258.7 INR


                                US-PASSENGER FACILITY CHARGE                                330.01 INR        330.01 INR


                                US-PASSENGER CIVILATION SECURITY SERVICE                    410.68 INR        410.68 INR
                                CHARGE


                                US-INTL TRANSPORTATION TAX DEPARTURE                        1320.03 INR       1320.03 INR




       Booking Total                                      Air Fares                        16180 INR

                                                          Taxes                            2319 INR

                                                          Services                         0 INR

                                                          Total                            18499 INR




       Payments                                                                18499 INR                18499 INR
                                 10/4/2018 Credit Card



                                                                                                                                      1
file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   1/4
       Case 2:18-cr-00759-CJC Document 392-2Confirmation
                                               Filed 04/12/24
                                                         from WOW air Page   25 of 258 Page ID #:3604
                                                                      - UJACWY

                                 Total paid                                                            18499 INR




                                                                                                                                      2
file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   2/4
       Case 2:18-cr-00759-CJC Document 392-2Confirmation
                                               Filed 04/12/24
                                                         from WOW air Page   26 of 258 Page ID #:3605
                                                                      - UJACWY




         Have a WOW trip!

         All tickets are nonrefundable.

         Check-in
         Web check-in is available for all WOW air destinations from 24 hours and up to 1 hour before the flight's scheduled
         departure. On connecting flights, web check-in starts 24 hours prior to the second flight of the journey. Web check-in
         is available on our website wowair.com and in the WOW app.

         Check-in at the airport typically opens 3 hours prior to the scheduled departure time according to your booking
         confirmation and closes 45 minutes before the scheduled departure time unless stated otherwise by WOW air.
         Check-in closes 1 hour before all departures from the USA, Canada, India and Tel Aviv.

         You will need to provide your booking confirmation number, your passport and valid visas (where applicable) to
         receive your boarding pass.

         Please be advised that terminals/gates are subject to change based on operational needs. We advise our guests to
         arrive at the airport in good time or at least two hours before the scheduled departure time.

         The boarding gate closes 15 minutes before the scheduled departure time of your flight.

         Passengers who fail to show up in time for check-in and/or boarding will be considered No-Shows, and the airline will
         not be held responsible.

         Baggage
         Included in the basic airfare is one small personal item up to a maximum of 42x32x25cm/ 17x13x10in, such as a
         small purse/backpack, laptop or a camera bag. The personal item must fit under the seat in front of you.

         WOW air guests can purchase allowance for one carry-on bag, up to 56x45x25cm/ 22x18x10in, including handles
         and wheels. Checked baggage and special equipment (skis, golf bag, bicycle, etc) are also available at an additional
         fee.

         Use the size-gauges at the airport to measure your carry-on items. If the personal item doesn't fit it will be treated as
         a carry-on bag. If the carry-on bag doesn't fit it must be checked into the hold according to the standard price list.

         Baggage allowance is not refundable, not changeable and not transferable. Cash is not accepted as a form of
         payment for baggage allowance and other services at the check-in counter. Debit- and credit cards are accepted
         (VISA and MasterCard).

         Do you need to change your ticket?
         You can change your booking online under MY BOOKING on our website wowair.com.

         Please note that additional services such as baggage allowance, cancellation protection and seat selection, are non-
         refundable. Seat reservations are not guaranteed and are subject to change without notice due to a schedule change,
         equipment change or other unforeseen circumstances. In this event, we will always attempt to assign you a seat of
         equal value (window/aisle).

         Travel documents and visas
         It is the responsibility of the passenger to identify and obtain the required travel documents, visas and travel
         authorizations (as applicable) needed for entry into the destination country. This includes but is not limited to, ESTA
         for travel to the USA; eTA for travel to Canada; and eTV for travel to India.

         Please note that you must have a valid passport on hand for the whole of your journey. For some countries, the
         passport must be valid for six months from the date of entry (USA, Israel, India). This differs depending on
         destination and your nationality. If you are travelling beyond our destinations, we advise you to be aware of other
         possible passport requirements.

         Terms and conditions




  Delivered-To:                                  robertrundo@gmail.com
  Received:                                      by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp1403334wrt; Thu, 4 Oct 2018 15:07:29 -0700
                                                 (PDT)
  X-Google-Smtp-Source:                          ACcGV61kWcYzEKwN0hr3aVGkcwNSoUkCidNlWmqjSrya5m+gk5JYXbzZr9GZN5W20N+OH2htfD2x
  X-Received:                                    by 2002:a17:906:4946:: with SMTP id f6-v6mr8681019ejt.129.1538690849527; Thu, 04 Oct 2018
                                                 15:07:29 -0700 (PDT)
  ARC-Seal:                                      i=1; a=rsa-sha256; t=1538690849; cv=none; d=google.com; s=arc-20160816;
                                                 b=eEmZrQ0pfjvDBqggcAHsY43wmAVmsAWb0c5GiXALS04fKLMQJftC0LhBsWmyi90MW+
                                                                                                                                      3
file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   3/4
       Case 2:18-cr-00759-CJC Document 392-2Confirmation
                                               Filed 04/12/24
                                                         from WOW air Page   27 of 258 Page ID #:3606
                                                                      - UJACWY
                                                tRu+ojLHyNC0EULrBiS+dNa1vb9blXBvrHmqR2nAegxmqGIETXjnJkXYP5BfYBdXpQv3
                                                XYWD0uUwSmkw4C8x8oYA6jNzqezXh4nLS/MxD/2Sjep6feMRoCB28ZSlB1MTK/MInj4G
                                                OoMiTFWRxrR73jGipttXfQim3e2xnKDot916UJUb6mte/JARr2M1uq5QwKci0BKUIkOh
                                                3AkWXZ3jZyfKtMqFTrbObYkj2AidT7axRs3Z6GG/eUd1xNVrAYCFk/NeRqaNGmfsYk/X ROGA==
  ARC-Message-Signature:                        i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=feedback-id:mime-
                                                version:to:message-id:subject:date:from :dkim-signature:dkim-signature;
                                                bh=AMUqviFsYME+7hwSBPrx1v87sRxwNOtt1R4Jk09M+3E=;
                                                b=EwGYChN/toz7odYOX98xWciU3oOA6unKVYMdLHvTWCMtM0CO1ip0IQ0V9DE652SYS0
                                                7Hu9o0wTDD0OGjR9j7bR7+Kikn1fq5WLYESWTnO/WefzF2Z+NJXqW+i9YDktxlU4h1zf
                                                WgvUUALTOOnq1Cz8dj4ZCIPKd/JQ8zfkF2EJ8BewtG2W89HVP5t+4Yx6lNAzrH3kevA5
                                                C3pFV/OJLFP9sO1kobmCxbc843LqYjjweC/cZT/mgbBSdE7pbKRw3zUFIq5KmdomnL9H
                                                XMBSZHke16aLeUIZsFzW1wQoHHyETz/OkFmBnoGZIBBLNh+mnhKs+RjYMHyHkvLbJDBr GvKg==
  ARC-Authentication-Results:                   i=1; mx.google.com; dkim=pass header.i=@wowair.com
                                                header.s=ms7rswwz2eswcknjpp77diik6sowc32m header.b=F5WIdF2v; dkim=pass
                                                header.i=@amazonses.com header.s=uku4taia5b5tsbglxyj6zym32efj7xqv header.b="culB/5z0";
                                                spf=pass (google.com: domain of 01020166411f1850-e472dcee-3a9c-4f3f-a585-8d15c222920a-
                                                000000@eu-west-1.amazonses.com designates 54.240.3.11 as permitted sender)
                                                smtp.mailfrom=01020166411f1850-e472dcee-3a9c-4f3f-a585-8d15c222920a-000000@eu-west-
                                                1.amazonses.com
  Return-Path:                                  <01020166411f1850-e472dcee-3a9c-4f3f-a585-8d15c222920a-000000@eu-west-1.amazonses.com>
  Received:                                     from a3-11.smtp-out.eu-west-1.amazonses.com (a3-11.smtp-out.eu-west-1.amazonses.com.
                                                [54.240.3.11]) by mx.google.com with ESMTPS id d10-v6si4708976edh.283.2018.10.04.15.07.29 for
                                                <robertrundo@gmail.com> (version=TLS1_2 cipher=ECDHE-RSA-AES128-SHA bits=128/128); Thu,
                                                04 Oct 2018 15:07:29 -0700 (PDT)
  Received-SPF:                                 pass (google.com: domain of 01020166411f1850-e472dcee-3a9c-4f3f-a585-8d15c222920a-
                                                000000@eu-west-1.amazonses.com designates 54.240.3.11 as permitted sender) client-
                                                ip=54.240.3.11;
  Authentication-Results:                       mx.google.com; dkim=pass header.i=@wowair.com header.s=ms7rswwz2eswcknjpp77diik6sowc32m
                                                header.b=F5WIdF2v; dkim=pass header.i=@amazonses.com
                                                header.s=uku4taia5b5tsbglxyj6zym32efj7xqv header.b="culB/5z0"; spf=pass (google.com: domain of
                                                01020166411f1850-e472dcee-3a9c-4f3f-a585-8d15c222920a-000000@eu-west-1.amazonses.com
                                                designates 54.240.3.11 as permitted sender) smtp.mailfrom=01020166411f1850-e472dcee-3a9c-4f3f-
                                                a585-8d15c222920a-000000@eu-west-1.amazonses.com
  DKIM-Signature:                               v=1; a=rsa-sha256; q=dns/txt; c=relaxed/simple; s=ms7rswwz2eswcknjpp77diik6sowc32m;
                                                d=wowair.com; t=1538690849; h=From:Date:Subject:Message-Id:To:MIME-Version:Content-Type;
                                                bh=/Bar5p8pEIOp0k5GLeHRMu/ivFKXs2pEjS6aPJ+Vedo=;
                                                b=F5WIdF2vExTjmUpqD+eSERoveJhXc4Olsw1s7h0jffzkDCdz52QNgtHMLGnkmkMz
                                                Jnx9R3mIPMrQwbZigC2vuSY7X48G7hyZJfGYMI5rpyJ8io1sDxvERE5MQEpFn+blnwp
                                                oUk2H35gRJgsS503FfvFjp9fhN8VPqNsuHa3u7JE=
  DKIM-Signature:                               v=1; a=rsa-sha256; q=dns/txt; c=relaxed/simple; s=uku4taia5b5tsbglxyj6zym32efj7xqv;
                                                d=amazonses.com; t=1538690849; h=From:Date:Subject:Message-Id:To:MIME-Version:Content-
                                                Type:Feedback-ID; bh=/Bar5p8pEIOp0k5GLeHRMu/ivFKXs2pEjS6aPJ+Vedo=;
                                                b=culB/5z0vN/76qWMvNCYIi1OOHGlHzfhLahi7lisSY20so1kIqi2NMmV17Lj1++p
                                                II7DHgZTi8YLz2bnH41Tl29oON4vWAzICPzpP3wsZxOXDubiSanmxB+kHozdsaNXfMb
                                                Eolj7u/rNA/9e3XqJ6bgNpk7I9KpKQwLiQxNkVqg=
  Message-ID:                                   <01020166411f1850-e472dcee-3a9c-4f3f-a585-8d15c222920a-000000@eu-west-1.amazonses.com>
  MIME-Version:                                 1.0
  Content-Type:                                 multipart/mixed; boundary="=-uEP/9X9SkPh+UCXaxenfcw=="
  X-SES-Outgoing:                               2018.10.04-54.240.3.11
  Feedback-ID:                                  1.eu-west-1.pTa8JsqGNj8X6wwObQTtvTLe/VGygGoIKqHsW8/FyWw=:AmazonSES




                                                                                                                                      4
file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   4/4
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 28 of 258 Page ID #:3607




                                Exhibit 7
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 29 of 258 Page ID #:3608




                                                              RUNDO_00000206
                                                                                     1
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 30 of 258 Page ID #:3609




                                                              RUNDO_00000207
                                                                                 2
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 31 of 258 Page ID #:3610




                              Exhibit 8
                          (filed manually)
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 32 of 258 Page ID #:3611




                                Exhibit 9
 Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 33 of 258 Page ID #:3612

3/26/24, 11:19AM                                                        Booking 11325842: Booking Received


  From:                    "Kiwi.com" <tickets@kiwi.com>
  Sent:                    9/25/2018 2:34:32 AM +0000
  To:                      robertrundo@gmail.com
  Subject:                 Booking 11325842: Booking Received




                                 8•COM                                                           For more info, visit our
                                                                                                          HelP- Centre


                                     Booking number:                           Booking status:

                                     11325842                                  IN PROCESS
                                 I
                                     Passengers (1 ):                          Baggage:

                                     Robert Rundo Paul                          CJ 1x Cabin baggage 7 kg
                                                                                          55 x 23 x 40 cm

                                                                                E3 1x Checked baggage 20 kg

                                                              Booking Received
                                 Thanks for booking with Kiwi.com. We're processing your order. Expect your
                                 confirmation and e-ticket soon.
                                 You can sign in and view your booking status in Manage My Booking.



                                                            Enter Manage My Booking




                                 r        Kiev - Kyiv International Airport
                                          (Zhuliany) IEV
                                          Berlin - Berlin Schonefeld SXF

                                     Airline: Wizzair
                                                                                      Mon Oct 22, 2018

                                                                                      Mon Oct 22, 2018
                                                                                                               06:10

                                                                                                               07:20




                                          Berlin - Berlin Schonefeld SXF              Mon Oct 22, 2018         08:50
                                          Copenhagen - Airport Copenhagen             Mon Oct 22, 2018         09:50
                                          CPH
                                     Airline: Norwegian International




                                 r        Copenhagen - Airport Copenhagen
                                          CPH
                                          Los Angeles - Los Angeles International


                                     Airline: Norwegian
                                                                                      Mon Oct 22, 2018

                                                                                      Mon Oct 22, 2018
                                                                                                               13:50

                                                                                                               1 6:00




                                     Booked by                   Robert rundo Paul

                                     Email                       robertrundo@gmail.com

                                     Total paid                  507.63 USO

file:/1/E:/Discovery/lndividuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp...   1/3

                                                                                                                                              1
 Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 34 of 258 Page ID #:3613

3/26/24, 11 :19AM                                                     Booking 11325842: Booking Received
                                                                                                                     __J


                                                          I

                                                      •       App Store       ► Google Play


                                                                             Visit our Helg Centre for answers. Or contact our
                                  e     - COM                                Customer Support Team - we're available 24/7.


                                        C        in                                                            www.kiwi.com




  Delivered-To:                                   robertrundo@gmail.com
  Received:                                       by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp147566wrt; Mon, 24 Sep 2018 19:34:33-0700
                                                  (PDT)
  X-Google-Smtp-Source:                           ACcGV621MbPKkl+AGzRG1S96g0LvW4gsUfFl6FKbFVZ8r4O3FaFqz91mlfpycY77ZpJnRktm4DV1
  X-Received:                                     by 2002:a81 :2b82:: with SMTP id r124-v6mr737245ywr.249.1537842873075; Mon, 24 Sep 2018
                                                  19:34:33 -0700 (PDT)
  ARC-Seal:                                       i=1; a=rsa-sha256; t=1537842873; cv=none; d=google.com; s=arc-20160816;
                                                  b=U 1CWO9VjQy5VgL24CXrAq7zvbvjJZS7WJUANrWQ8f2mH6VQp/RXnfZRfnkkhAS8JsA
                                                  GUnQWN0whEnGPuF00huzm7Khp5BS6vm7/3gvXThovHxxo2arLzyiahePAmPdfcmaa26U
                                                  c3R 1paq99N2ypygettCl8516SPAWoX/KFatAxzx1 hG7p2LustxzKANSLoh6endpTbjAk
                                                  d9KLbM96BMm5FnLVGvpeChWrv+4n0XPL8fbq8+SpAsMtoM2Mo+wALEp8QnPFxNshTZoj
                                                  DBPyfBPx2QFFSthDM5bSQpDKHVnyMp7ED6KjzLEBa/WjMzKsd9p6Zdsh6W4yrOYdtFEQ ddag==
  ARC-Message-Signature:                          i=1 ; a=rsa-sha256; c=relaxed/relaxed ; d=google.com; s=arc-20160816; h=mime-
                                                  version:date:message-id :to:reply-to:subject:from :dkim-signature:dkim-signature;
                                                  bh=kTlwrdd59Z27u6BFbS+ Y nhlu6PT3jvR7tlgoaq+qxVs=;
                                                  b=GTWwAxV6PK1 dCYJNTsmdODLc05TkxvrNtgfQ+Ovuyb6/ePhP0hW6qYSGY26jA3xEAA
                                                  mVIWTW6za/HAmHS+ZG9T/Rc+yM1 kkdFGAdCLtnakazzT8ypwGYNDya1 a/o9cCwrrS8kA
                                                  7AflsqAyzgePvvWJpN2LRN+Oo43goS2SSC4O9Ynx5Mvvx0X4iKub82caiDfa/xUXwv3a
                                                  4tfEHchyGeguvW6ZfRfGV3Ywmi7WU0aOxf1xCTKl2HKar86ggqbAL6vWZ07NZVPizq8B
                                                  JNd2U+IYJXOnABID5fdsNkLPMJftuldGndhZto88KZjBuOON9AuylTtkUe5wdJMvMEyO Ci4g==
  ARC-Authentication-Results:                     i=1; mx.google.com; dkim=pass header.i=@kiwi.com header.s=mandrill header.b=glqvhKMy;
                                                  dkim=pass header.i=@mandrillapp.com header.s=mandrill header.b=mG27Ns9z; spf=pass
                                                  (google.com: domain of bounce-md_30178145.5ba99eb8.v1-
                                                  81c503a136e045958975fdbf9b1638a2@mandrillapp.com designates 198.2.178.27 as permitted
                                                  sender) smtp.mailfrom=bounce-md_30178145.5ba99eb8.v1-
                                                  81c503a136e045958975fdbf9b1638a2@mandrillapp.com
  Return-Path:                                    <bounce-md_30178145.5ba99eb8.v1-81c503a136e045958975fdbf9b1638a2@mandrillapp.com>
  Received:                                       from mail178-27.suw51 .mandrillapp.com (mail178-27.suw51 .mandrillapp.com . [198.2.178.271) by
                                                  mx.google.com with ESMTPS id 20-v6si272799ybl.178.2018.09.24.19.34.32 for
                                                  <robertrundo@gmail.com> (version=TLS 1_ 2 cipher=ECDHE-RSA-AES 128-GCM-SHA256
                                                  bits=128/128); Mon, 24 Sep 2018 19:34:33 -0700 (PDT)
  Received-SPF:                                   pass (google.com: domain of bounce-md_30178145.5ba99eb8.v1-
                                                  81c503a136e045958975fdbf9b1638a2@mandrillapp.com designates 198.2.178.27 as permitted
                                                  sender) client-ip=198.2.178.27;
  Authentication-Results:                         mx.google.com; dkim=pass header.i=@kiwi.com header.s=mandrill header.b=glqvhKMy;
                                                  dkim=pass header.i=@mandrillapp.com header.s=mandrill header.b=mG27Ns9z; spf=pass
                                                  (google.com: domain of bounce-md_30178145.5ba99eb8.v1-
                                                  81c503a136e045958975fdbf9b1638a2@mandrillapp.com designates 198.2.178.27 as permitted
                                                  sender) smtp.mailfrom=bounce-md_30178145.5ba99eb8.v1-
                                                  81c503a136e045958975fdbf9b1638a2@mandrillapp.com
  DKIM-Signature:                                 v=1 ; a=rsa-sha256; c=relaxed/relaxed; s=mandrill; d=kiwi.com; h=From:Subject:Reply-
                                                  to:To:Message-ld:Date:MIME-Version :Content-Type; i=tickets@kiwi.com;
                                                  bh=kTlwrdd59Z27u6BFbS+ Ynhlu6PT3jvR7tlgoaq+qxVs=;
                                                  b=glqvhKMyjFJXcqw1 TVT48kNNrzYrlMW3iPz8ZRUJ9JvyuyAKc9taoKLRcYwfEV4j/KF62Z5utvn4
                                                  k7jCfkZCmxtn3OrdkiqSxfxGEvRQ+Ui0GLECNDcHXfdPk758+4+UrW3a29Rx8qXPvgWhR4sp9Kq
                                                  9+wfX/9Qainbi5aG5SM=
  Received :                                      from pmta05.mandrill.prod .suw01.rsglab.com (127.0.0.1) by mai1178-27.suw51 .mandrillapp.com id
                                                  hl6fbi22s109 for <robertrundo@gmail.com>; Tue, 25 Sep 2018 02:34:32 +0000 (envelope-from
                                                  <bounce-md_30178145.5ba99eb8.v1-81c503a136e045958975fdbf9b1638a2@mandrillapp.com>)
  DKIM-Signature:                                 v=1; a=rsa-sha256; c=relaxed/relaxed; d=mandrillapp.com; i=@mandrillapp.com; q=dns/txt;
                                                  s=mandrill ; t=1537842872; h=From : Subject : Reply-to : To : Message-Id : Date : MIME-Version :
                                                  Content-Type : From : Subject : Date : X-Mandrill-User : List-Unsubscribe;
                                                  bh=kTlwrdd59Z27u6BFbS+ Y nhlu6PT3jvR7tlgoaq+qxVs=;
                                                  b=mG27Ns9zqBLvEFNkNSo+NJug2K8zqNJmd58gBBHYpb4kYGyAMpYXxbvD+h2Yre6KmTKXrn
                                                  59Ac978QrqEhENFSoE+ YGuvdvCNdwNm28VPSL +RnT5RKD6ZDnMAFFKGaKzCkWZI lcOB7Kp+s
                                                  h81QiZKVCDNu95bcpkzMEzFqNibvE=

file :///E:/Discovery/lndividuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp.. .   2/3


                                                                                                                                                2
 Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 35 of 258 Page ID #:3614

3/26/24, 11:19AM                                                     Booking 11325842: Booking Received
  Return-Path:                                   <bounce-md_30178145.5ba99eb8.v1-81 c503a 136e045958975fdbf9b1638a2@mandrillapp.com>
  Received:                                      from [52.16.237.132] by mandrillapp.com id 81c503a136e045958975fdbf9b1638a2; Tue, 25 Sep
                                                 2018 02:34:32 +0000
  Reply-to:                                      <tickets@kiwi.com>
  X-Report-Abuse:                                Please forward a copy of this message, including all headers, to abuse@mandrill.com
  X-Report-Abuse:                                You can also report abuse here: http:ffmandrillapp.com/contact/abuse?
                                                 id=30178145.81 c503a 136e045958975fdbf9b 1638a2
  X-Mandrill-User:                               md_30178145
  Message-Id:                                    <30178145.20180925023432.5ba99eb8a13c67.19291654@mail178-27.suw51.mandrillapp.com>
  MIME-Version:                                  1.0
  Content-Type:                                  multi part/alternative; boundary="_av-Ve1 ci-k1 dMqa8bxSBY_ vFg"




file:fffE:/Discovery/lndividuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp...   3/3


                                                                                                                                              3
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 36 of 258 Page ID #:3615




                               Exhibit 10
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 37 of 258 Page ID #:3616
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 38 of 258 Page ID #:3617
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 39 of 258 Page ID #:3618
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 40 of 258 Page ID #:3619
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 41 of 258 Page ID #:3620
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 42 of 258 Page ID #:3621
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 43 of 258 Page ID #:3622
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 44 of 258 Page ID #:3623
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 45 of 258 Page ID #:3624
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 46 of 258 Page ID #:3625
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 47 of 258 Page ID #:3626
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 48 of 258 Page ID #:3627
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 49 of 258 Page ID #:3628
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 50 of 258 Page ID #:3629
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 51 of 258 Page ID #:3630
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 52 of 258 Page ID #:3631
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 53 of 258 Page ID #:3632
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 54 of 258 Page ID #:3633
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 55 of 258 Page ID #:3634
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 56 of 258 Page ID #:3635
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 57 of 258 Page ID #:3636
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 58 of 258 Page ID #:3637
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 59 of 258 Page ID #:3638
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 60 of 258 Page ID #:3639
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 61 of 258 Page ID #:3640
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 62 of 258 Page ID #:3641
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 63 of 258 Page ID #:3642
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 64 of 258 Page ID #:3643
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 65 of 258 Page ID #:3644
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 66 of 258 Page ID #:3645
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 67 of 258 Page ID #:3646
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 68 of 258 Page ID #:3647
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 69 of 258 Page ID #:3648
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 70 of 258 Page ID #:3649
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 71 of 258 Page ID #:3650
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 72 of 258 Page ID #:3651
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 73 of 258 Page ID #:3652
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 74 of 258 Page ID #:3653
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 75 of 258 Page ID #:3654
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 76 of 258 Page ID #:3655
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 77 of 258 Page ID #:3656




                               Exhibit 11
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 78 of 258 Page ID #:3657
                                                                          Your trip confirmation and receipt


 From:                    "Justfly.com" <noreply@justfly.com>
 Sent:                    10/8/2018 5:28:48 PM -0400
 To:                      Robert <robertrundo@gmail.com>
 Subject:                 Your trip confirmation and receipt




                                            Pack your bags, you're all set to travel!

                                      Your booking is all set and check-in for your flight will be available
                                        24 hours before departure. When it's time, go to the airline's
                                     website and enter your airline confirmation number (below). There,
                                     you'll be able to check in and get your mobile or printable boarding
                                                                     pass.


                                                   Justfly Booking Number: 119-684-171
                                              Ukraine Intl Airl Confirmation Number: KMUOL6




                                                     With JustFly, you're in control of
                                                              your booking!

                                    Justfly is the only place where you can fully manage your booking online and
                                    at your convenience. Fine-tune the details of your trip without spending hours
                                                        on hold. Access your booking online and:


                               Check status of your booking                     Get baggage information
                               Change your flights                              Select seats
                               Print or email your receipts                     Cancel Flight




                                                                Manage my Booking




                                                                 Still Need Help?
                                 Check out out our extensive support section to answer your questions.




                                                                 YOUR ITINERARY

                            Departure

                              New York, NY (JFK) to Kiev, Ukraine (KBP)                                          Nonstop




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   1/4
                                                                                                                                          1
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 79 of 258 Page ID #:3658
                                                                            Your trip confirmation and receipt

                                    Ukraine Intl Airl     12:30am                  Wed. Oct 10                    New York, NY (JFK)
                                    Flight 232            4:20pm                   Wed. Oct 10                            Kiev (KBP)
                                    Terminal 7
                                                                                                                              Economy




                              Total Trip Time: 8h 50m                                                                  Change Flights

                             See Baggage Allowance Details




                                                                         RECEIPTS

                            Date                        Receipt #                  Details                                     Amount

                            October 8, 2018             #109092441                 View Receipt                            $447.84 USD

                                                                                                                   Total: $447.84 USD




                                                                        TRAVELERS

                            Name                                                   E-ticket

                            Robert Paul Rundo                                      Ukraine Intl Airl: 566-7264657925




                                                                             Select your seats!
                                                            Be sure to travel in comfort and select your preferred seat
                                                            online now. Avoid having to arrive at the airport early, and
                                                           secure that scenic window or stress-free aisle seat ahead of
                                                                                       time.


                                                                    Select Seats




                                                                           Need a place to stay?
                                                            We’ve already picked out some great hotels for your trip to
                                                             Kiev. at rates perfect for any budget. Look forward to the
                                                                     comfort of a perfect hotel at a great price.


                                                                    Find a Hotel




                                                                     Car convenience—at train prices
                                                            The convenience of a car makes all the difference when
                                                           exploring a new place. Get a great deal on a rental car and
                                                                         explore on your own schedule.


                                                                    Rent a Car




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   2/4
                                                                                                                                          2
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 80 of 258 Page ID #:3659
3/25/24, 6:50 PM                                                          Your trip confirmation and receipt



                                                            Peace of mind, at an affordable price.
                                                       Don't let your trip go south! Avoid the costs of travel mishaps
                                                         like cancellations, medical bills, lost luggage, and other
                                                            unforeseen events with affordable travel insurance.


                                                            Add Insurance




                                                             Need a different flight? No problem.
                                                       If you need to make changes to your itinerary, we're here to
                                                      help. Our site lets you manage your booking online, where you
                                                               can easily change flights at your convenience.


                                                           Change Flights




                                                             AIRLINE INFORMATION


                                  Ukraine Intl Airl                            Check-in     Baggage Policy     Contact




                                                       About Us • Privacy Policy • Terms & Conditions




                           Delivered-To:                                   robertrundo@gmail.com
                           Received:                                       by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp4059799wrt; Mon, 8 Oct 2018
                                                                           (PDT)
                           X-Google-Smtp-Source:                           ACcGV62Vdw7VuaQaEwR5ek0BJe6zYajYsv9IUPn5lKlRenhqwIlAH98+qeiRn3iBB
                           X-Received:                                     by 2002:a0c:b0ce:: with SMTP id p14-v6mr21370059qvc.158.1539034128675; Mo
                                                                           14:28:48 -0700 (PDT)
                           ARC-Seal:                                       i=1; a=rsa-sha256; t=1539034128; cv=none; d=google.com; s=arc-20160816;
                                                                           b=SCzndJ2Rf5AJX7IPW3suMgYtz68mShwiCAUNRDsZIAMiYFhY4T7fORvL2t7Ju
                                                                           erGixV8ULN86jCPLHipNkmFYA52OQW2r7WrxYbe2uyjsJL+rU3vIludMVgOSuPk+
                                                                           6v8l8mn3jSfwOhkY7uao+FSr8VJpiagosJKaA6RaokV7EET41rsZGMERxFH8G1z+
                                                                           IXrvqhv7P+SkDHJjEScqN2OYZSI8Nol3Xfji5AGtHI3Zeej54q/3l8s9HpMCFIcMq6vb
                                                                           RSz8Ay26ichSWbI+wl1CAKtV70fkTFRJR6q0vGcdpFTvObJTpX7Db/SLoATJuLTY
                           ARC-Message-Signature:                          i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=mime-
                                                                           version:message-id:subject:reply-to:from:to:date;
                                                                           bh=myPLYj3yeYSqLnnMVYtZwVJHWau3yu4+s/i+Ge/j65Q=;
                                                                           b=JGn5AHIvOZSFH/c6tFIv4rnwIr90mSeHd5953jne8Jkv9CrRWeC6EYZCnoeVvFy
                                                                           NB8we5wxcQjErIWlb0BgjPjgtMKhajLZDN9C3Tv/j3vum9XvzUNY6g6eeucrt8yS1T
                                                                           CjxCCIzml0pObkL4MixkRqXC3/8J16rt5raBCTK2vGNP8MnO5O9UDDbunx0EBNF
                                                                           EI9PfH5C+pTx/P0o0hBUeTiWzqNJum3NRYL87s6siG9Miy7vRMr92ROPTRhy4cN
                                                                           nDHSXQhQeOYgY1U0ZZiwJyzPS5KejuAAVymFmR1W7nax6aSTog0WDLhgmyU
                                                                           PoMw==
                           ARC-Authentication-Results:                     i=1; mx.google.com; spf=pass (google.com: domain of noreply@justfly.com design
                                                                           107.21.248.60 as permitted sender) smtp.mailfrom=noreply@justfly.com
                           Return-Path:                                    <noreply@justfly.com>
                           Received:                                       from smtp.justfly.com (smtp.justfly.com. [107.21.248.60]) by mx.google.com with E
                                                                           v6si3357192qkd.185.2018.10.08.14.28.48 for <robertrundo@gmail.com>; Mon, 08
                                                                           14:28:48 -0700 (PDT)
                           Received-SPF:                                   pass (google.com: domain of noreply@justfly.com designates 107.21.248.60 as pe
                                                                           client-ip=107.21.248.60;
                           Authentication-Results:                         mx.google.com; spf=pass (google.com: domain of noreply@justfly.com designates
                                                                           as permitted sender) smtp.mailfrom=noreply@justfly.com


file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…          3/4
                                                                                                                                                  3
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 81 of 258 Page ID #:3660
                                                                      Your trip confirmation and receipt
                           Received:                                   from localhost.localdomain (unknown [208.99.79.177]) by smtp.justfly.com (Postfix
                                                                       id 67D5120331 for <robertrundo@Gmail.com>; Mon, 8 Oct 2018 17:28:47 -0400 (
                           Reply-To:                                   "Justfly.com" <noreply@justfly.com>
                           Message-ID:                                 <47e5650c22a86a8cf3943a85c68b0568@localhost.localdomain>
                           X-Priority:                                 3
                           X-Mailer:                                   PHPMailer 5.2.1 (http://code.google.com/a/apache-extras.org/p/phpmailer/)
                           MIME-Version:                               1.0
                           Content-Type:                               multipart/alternative; boundary="b1_47e5650c22a86a8cf3943a85c68b0568"




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…       4/4
                                                                                                                                              4
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 82 of 258 Page ID #:3661
                                                                        Your reservation has been cancelled


  From:                     "Justfly.com" <noreply@justfly.com>
  Sent:                     10/9/2018 4:12:15 AM -0400
  To:                       Robert <robertrundo@gmail.com>
  Subject:                  Your reservation has been cancelled




                                   WE'RE SORRY YOUR PLANS DIDN'T WORK OUT

                              Your reservation has been cancelled as of 2018-10-09. If you would like more
                               details on the reasoning to why your reservation has been cancelled, please
                                                     click on the "Help" section below.

                                         We'll be here for you when you're ready to book a new trip.


                                                             SEARCH FOR FLIGHTS


                                                 Justfly Booking Number: 119-684-171

                                                   About Us | Help | Privacy Policy | Terms & Conditions




  Delivered-To:                                  robertrundo@gmail.com
  Received:                                      by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp4536028wrt; Tue, 9 Oct 2018 01:12:16 -0700
                                                 (PDT)
  X-Google-Smtp-Source:                          ACcGV62xMCKPLjwxQk4ALaGSGgUP0GzaYhxCN+6enX1pjjLgmZlgAZGQ4azp9fp+DMmOWkRwIrXc
  X-Received:                                    by 2002:a0c:b79c:: with SMTP id l28-v6mr17626149qve.127.1539072736584; Tue, 09 Oct 2018
                                                 01:12:16 -0700 (PDT)
  ARC-Seal:                                      i=1; a=rsa-sha256; t=1539072736; cv=none; d=google.com; s=arc-20160816;
                                                 b=c3Of9O8UJec0hbOFyt2OGO9iXi4vmRuc4kXMpmzfSe9W9jHiFc5+Vl6W21zFVPZkJ5
                                                 D2ejps42IXEmxfygvpsTmcXBnGO55XaPH9NaryTNgZLRY3rrAryd6gkBBuuHiW+H2oKG
                                                 nLeYIrW7Mwwb4HeSS0J4h9O6MFiaa8jygqy6tvFR21/TpBARvHkbO25CYES30pLCUgEF
                                                 aVZVKZIrl0eybrBGczvOlYyugTV6/+wY51eyiLb+qsQg0P7TKELS0TqiyuOr2IGz3ezP
                                                 17sfc/fmI7AogoPwGpxyunHl9qY8NvzxiWcR/9tncLDMYGyFbmWsJlB1klltLOKR0Ohm etfw==
  ARC-Message-Signature:                         i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=mime-version:message-
                                                 id:subject:reply-to:from:to:date; bh=E8lxj8yMFe5PzguV9PaA32dqh0FUZGFi+OapIvdfoK8=;
                                                 b=V7ZJFYgaRZS6zLmUQY2bqfHiWDOi8Q9VpNB21CyXc/HIyq6aKeGmJXw2JWJH5WMlxQ
                                                 MDPr9p163Sh4CFq+BdRmsUVTH/qyzViY5NghAHZg1db0hDBxepAz2o1eE/ujQZLv8IYK
                                                 YZcToOu23T20C0xipWvxbsxVMaGuuAupLZxWS0rWYIKWQp49BOTuSf5Z5gDAP4/y/NXy
                                                 yWgULbsKvB5mrF6PGdZMTDlBSeSFPwWKIWatHSIkA21DYjt8XgMcvDmRZkVClHLcWajJ
                                                 xFkO7sIJCK3FVcEtYLZGZfZVSaSe4GaLJnGfBD+5gXegtsAqOoUtYepr9tuNKeIQCNJe sF1g==
  ARC-Authentication-Results:                    i=1; mx.google.com; spf=pass (google.com: domain of noreply@justfly.com designates 107.21.248.60
                                                 as permitted sender) smtp.mailfrom=noreply@justfly.com
  Return-Path:                                   <noreply@justfly.com>
  Received:                                      from smtp.justfly.com (smtp.justfly.com. [107.21.248.60]) by mx.google.com with ESMTP id e13-
                                                 v6si1442544qth.310.2018.10.09.01.12.16 for <robertrundo@gmail.com>; Tue, 09 Oct 2018 01:12:16
                                                 -0700 (PDT)
  Received-SPF:                                  pass (google.com: domain of noreply@justfly.com designates 107.21.248.60 as permitted sender)
                                                 client-ip=107.21.248.60;
  Authentication-Results:                        mx.google.com; spf=pass (google.com: domain of noreply@justfly.com designates 107.21.248.60 as
                                                 permitted sender) smtp.mailfrom=noreply@justfly.com
  Received:                                      from localhost.localdomain (unknown [208.99.79.177]) by smtp.justfly.com (Postfix) with ESMTP id
                                                 916982032C for <robertrundo@Gmail.com>; Tue, 9 Oct 2018 04:12:13 -0400 (EDT)
  Reply-To:                                      "Justfly.com" <noreply@justfly.com>
  Message-ID:                                    <2338a18f4ae3b47b54bb87752ce1b284@localhost.localdomain>
  X-Priority:                                    3
  X-Mailer:                                      PHPMailer 5.2.1 (http://code.google.com/a/apache-extras.org/p/phpmailer/)

file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   1/2
                                                                                                                                          5
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 83 of 258 Page ID #:3662
                                                                     Your reservation has been cancelled
  MIME-Version:                                 1.0
  Content-Type:                                 multipart/alternative; boundary="b1_2338a18f4ae3b47b54bb87752ce1b284"




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   2/2
                                                                                                                                          6
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 84 of 258 Page ID #:3663
                                                                                My JustFly Reservation


                                       Flights    Hotels     Cars                             USD        Support     My Trips    Robert




  Welcome, Robert!

  My itinerary             Airline confirmation codes



      Departure                                                                                                Airline confirmation: KMUOL6


                Ukraine International Airlines                                                                         Total duration: 8h 50m
                Flight 232 Economy                                                                                                   Nonstop

      JFK                                                                                                                       KBP
      New York, NY        Wed Oct 10, 2018                                             Kiev/Kyiv, Ukraine          Wed Oct 10, 2018

      Departure               Terminal                                                 Arrival
      12:30 AM                7                                                        4:20 PM




  Flight information


     Travellers
     See an incorrect name? Please chat with us. Fees may apply.



       Passenger 1

     Robert Paul Rundo
     4/28/1990
     Female




  Billing



     Price Summary                                                                                                               Chat with us

     Date                                                           Receipt #                                                     Amount


https://www.justfly.com/service/portal/detail/8aab5f0284f70751c9c101de963c1fc1                                                                  1/2
                                                                                                                                           7
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 85 of 258 Page ID #:3664
                                                                             My JustFly Reservation
     October 8th, 2018 2:28 PM                                    #109092441                          $464.40 USD

     October 9th, 2018 12:37 AM                                   #109147301                           $33.59 USD

     October 9th, 2018 1:12 AM                                    #109147961                            $0.00 USD

     Total Charged:                                                                                                 $497.99 USD


     Please note: Your credit card may be billed in multiple charges totalling the above amount.




https://www.justfly.com/service/portal/detail/8aab5f0284f70751c9c101de963c1fc1                                                    2/2
                                                                                                                           8
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 86 of 258 Page ID #:3665




                               Exhibit 12
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 87 of 258 Page ID #:3666
                                                                          Your trip confirmation and receipt


 From:                   "Justfly.com" <noreply@justfly.com>
 Sent:                   10/9/2018 4:07:50 AM -0400
 To:                     Robert <robertrundo@gmail.com>
 Subject:                Your trip confirmation and receipt




                                                Pack your bags, you're all set to travel!

                                     Your booking is all set and check-in for your flight will be available
                                       24 hours before departure. When it's time, go to the airline's
                                     website and enter your airline confirmation number (below). There,
                                     you'll be able to check in and get your mobile or printable boarding
                                                                     pass.


                                                     Justfly Booking Number: 119-742-661
                                                 Ukraine Intl Airl Confirmation Number: LR3PL2




                                                       With JustFly, you're in control of
                                                                your booking!

                                     Justfly is the only place where you can fully manage your booking online and
                                     at your convenience. Fine-tune the details of your trip without spending hours
                                                         on hold. Access your booking online and:


                                Check status of your booking                    Get baggage information

                                Change your flights                             Select seats

                                Print or email your receipts                    Cancel Flight




                                                                   Manage my Booking




                                                                    Still Need Help?
                                  Check out out our extensive support section to answer your questions.




                                                                    YOUR ITINERARY

                             Departure

                              New York, NY (JFK) to Kiev, Ukraine (KBP)                                             Nonstop


                                   Ukraine Intl Airl     12:30am              Thu. Oct 11                  New York, NY (JFK)
                                   Flight 232            4:20pm               Thu. Oct 11                          Kiev (KBP)
                                   Terminal 7
                                                                                                                     Economy


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                                                                                                                                          1
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 88 of 258 Page ID #:3667
                                                                            Your trip confirmation and receipt



                              Total Trip Time: 8h 50m                                                                  Change Flights

                              See Baggage Allowance Details




                                                                         RECEIPTS

                            Date                        Receipt #                  Details                                     Amount

                            October 9, 2018             #109147881                 View Receipt                            $447.84 USD

                                                                                                                   Total: $447.84 USD




                                                                        TRAVELERS

                            Name                                                   E-ticket

                            Robert Paul Rundo                                      Ukraine Intl Airl: 566-7264732790




                                                                             Select your seats!
                                                            Be sure to travel in comfort and select your preferred seat
                                                            online now. Avoid having to arrive at the airport early, and
                                                           secure that scenic window or stress-free aisle seat ahead of
                                                                                       time.


                                                                    Select Seats




                                                                           Need a place to stay?
                                                            We’ve already picked out some great hotels for your trip to
                                                             Kiev. at rates perfect for any budget. Look forward to the
                                                                     comfort of a perfect hotel at a great price.


                                                                    Find a Hotel




                                                                     Car convenience—at train prices
                                                            The convenience of a car makes all the difference when
                                                           exploring a new place. Get a great deal on a rental car and
                                                                         explore on your own schedule.


                                                                    Rent a Car




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                                                                                                                                          2
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 89 of 258 Page ID #:3668
                                                                          Your trip confirmation and receipt



                                                            Peace of mind, at an affordable price.
                                                       Don't let your trip go south! Avoid the costs of travel mishaps
                                                         like cancellations, medical bills, lost luggage, and other
                                                            unforeseen events with affordable travel insurance.


                                                            Add Insurance




                                                             Need a different flight? No problem.
                                                       If you need to make changes to your itinerary, we're here to
                                                      help. Our site lets you manage your booking online, where you
                                                              can easily change flights at your convenience.


                                                           Change Flights




                                                             AIRLINE INFORMATION


                                  Ukraine Intl Airl                            Check-in     Baggage Policy     Contact




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                           Delivered-To:                                   robertrundo@gmail.com
                           Received:                                       by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp4532406wrt; Tue, 9 Oct 2018 0
                                                                           (PDT)
                           X-Google-Smtp-Source:                           ACcGV618j0DC2F47QLNQjpLxmD2wJOWpxlbytvdt6F/SKfrhA0ZdJML8YEJW03KY
                           X-Received:                                     by 2002:ac8:4790:: with SMTP id k16-v6mr22525547qtq.253.1539072470892; Tue
                                                                           01:07:50 -0700 (PDT)
                           ARC-Seal:                                       i=1; a=rsa-sha256; t=1539072470; cv=none; d=google.com; s=arc-20160816;
                                                                           b=bM8njRDTaECpGE9Mpm5duiwDTsQhW2BLs3I1yLV2GBswsnVZFsEJINzE5Eu6
                                                                           Iw5rT+1j5WbYQ4hkEepBo3oDguBvTqRAW9h6VB28Bx+AZvtYcP81xkac8dsYt5hG
                                                                           6hlKDXPSYCjyg/CW1IeB8GGt3W6h551lttC7hTFT3O9ZK5VK7yjoCKusHqpVv6RG
                                                                           8uEbgTPDXKcVPPSCBVpa/EZ61JtZ+RMI98U4gZJXSDydqn1sooleSS71DZUuYuf
                                                                           ClaEe1JgKeBOkT8SceHaxcFLWqH84OlX1tpTBlTTZ5e0UPW8GI/leOUWIr109ZzzT
                           ARC-Message-Signature:                          i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=mime-ve
                                                                           id:subject:reply-to:from:to:date; bh=m9hPMPOh/IBWOOIbd5UuaJxsug5ix+hoYQjnu
                                                                           b=DRdAwz2ZoPsn/oj1qzuDLqvXnIxrUyJxRhqeRd/qXJORLLwYlAj/NzcaajOhrgb0x3
                                                                           IHa+VXJs5Wo+m4xfehKryiyYRo1PpuGaSt0A9DimZ8LHkpj11SqUf3OVkL+DQhuX
                                                                           ajkRnsgtd4UrH4iY28wrmUp4/t04rePvMa63do92axJECr4mdqIZ6nQFTHViwZ8Kvbz
                                                                           iFA1+b2Y9Mi2LRwtnAgYy9HZiO804zs7YeTmwNIefJM4HPF9ZkcHX8Idzm8wGDU
                                                                           D33JXX/xgcuQMpZfUQzSJGTCs4OkKYCBZFjvGq3UklGcCNwpLe6u2pfmS/Vkt/3w
                           ARC-Authentication-Results:                     i=1; mx.google.com; spf=pass (google.com: domain of noreply@justfly.com designa
                                                                           107.21.248.60 as permitted sender) smtp.mailfrom=noreply@justfly.com
                           Return-Path:                                    <noreply@justfly.com>
                           Received:                                       from smtp.justfly.com (smtp.justfly.com. [107.21.248.60]) by mx.google.com with ES
                                                                           l11si2921176qvo.70.2018.10.09.01.07.50 for <robertrundo@gmail.com>; Tue, 09 O
                                                                           -0700 (PDT)
                           Received-SPF:                                   pass (google.com: domain of noreply@justfly.com designates 107.21.248.60 as per
                                                                           client-ip=107.21.248.60;
                           Authentication-Results:                         mx.google.com; spf=pass (google.com: domain of noreply@justfly.com designates
                                                                           as permitted sender) smtp.mailfrom=noreply@justfly.com
                           Received:                                       from localhost.localdomain (unknown [208.99.79.177]) by smtp.justfly.com (Postfix)
                                                                           F219E20324 for <robertrundo@gmail.com>; Tue, 9 Oct 2018 04:07:47 -0400 (EDT
                           Reply-To:                                       "Justfly.com" <noreply@justfly.com>


file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…           3/4
                                                                                                                                                  3
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 90 of 258 Page ID #:3669
                                                                      Your trip confirmation and receipt
                           Message-ID:                                 <0ce4722075ed01c58b1875b6d0a07d67@localhost.localdomain>
                           X-Priority:                                 3
                           X-Mailer:                                   PHPMailer 5.2.1 (http://code.google.com/a/apache-extras.org/p/phpmailer/)
                           MIME-Version:                               1.0
                           Content-Type:                               multipart/alternative; boundary="b1_0ce4722075ed01c58b1875b6d0a07d67"




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                                                                                                                                            4
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 91 of 258 Page ID #:3670
                                                                      Your reservation has been cancelled


  From:                     "Justfly.com" <noreply@justfly.com>
  Sent:                     10/9/2018 12:47:47 PM -0400
  To:                       Robert <robertrundo@gmail.com>
  Subject:                  Your reservation has been cancelled




                                 WE'RE SORRY YOUR PLANS DIDN'T WORK OUT

                            Your reservation has been cancelled as of 2018-10-09. If you would like more
                            details on the reasoning to why your reservation has been cancelled, please
                                                  click on the "Help" section below.


                                       We'll be here for you when you're ready to book a new trip.


                                                           SEARCH FOR FLIGHTS


                                               Justfly Booking Number: 119-742-661

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  Delivered-To:                                  robertrundo@gmail.com
  Received:                                      by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp5076416wrt; Tue, 9 Oct 2018 09:47:49 -0700
                                                 (PDT)
  X-Google-Smtp-Source:                          ACcGV636pl+/oq8ZSyZcK2YLsx8NhDlZ2+hb89QU3MGBdBVGia7274sVCeXboTi+aEtPjRX15Vqd
  X-Received:                                    by 2002:a0c:aa57:: with SMTP id e23-v6mr23840826qvb.176.1539103668927; Tue, 09 Oct 2018
                                                 09:47:48 -0700 (PDT)
  ARC-Seal:                                      i=1; a=rsa-sha256; t=1539103668; cv=none; d=google.com; s=arc-20160816;
                                                 b=D2MzdSRf9+Z8pqwTFCj+w9qFpv5h+GpAweYUj/aKV2PxnZdH8aa5XVuJMZz/OF9r4q
                                                 lRHYIgOFljUL6B9h7dVbqtDshN169XVnMlnYa53EIrCnyY23118uSiB/BLo85uazvhgr
                                                 dCIhnzoHWRCRlCWhX4AL2nAetAojyvR4/r+Ilv2pgtA0bKvzpUjKtoxtnEIzqv6P79WN
                                                 GsdOkbbnzBlwrPEkRvJwjJI3lPg52iGpHfLhaZonzIgiBx+tk7MXBNgvsMobsew1/cEh
                                                 i/UHoKvaJ/KIo5hE1ywqEPR7SC/H6kkIC29Z6TjrWhZo1MxayQOjYTWn3UIxQJ37FFR/ J90w==
  ARC-Message-Signature:                         i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=mime-version:message-
                                                 id:subject:reply-to:from:to:date; bh=YtAeSb9ckTSOvgIp9h9FIZLwXbLzVEsg7vObCqNStOk=;
                                                 b=ipfaDEY8moTydjX6Byvn4Ij055tZi1HfjeFKBthbAxE4A/GEni4V1e0dNweQbVSvt9
                                                 3ZqDzFAMtR5IepeAFluH95m41I9h/3jawGSIyyLqEjUryL/2K4mj/9/95FRPFHgEdN1P
                                                 AGK6ROY+nI7a4FkeJ103wnHUywQ4TiDyyM2Y9GHNKyfSnaSFdXg7xJItUE5cjBQiTa1P
                                                 HyxkwFm4zuyeJXGKqFgya7CxoQUYp0vZBdkZLWTLJmNuODD1VtVOuR17pVyFwHt2676E
                                                 t9wLkNtD8/rHMab3LxwoglpgounRsCAyGxrmVVybwiH5bdabcB99d83+omb4JWE4q5wW SRhQ==
  ARC-Authentication-Results:                    i=1; mx.google.com; spf=pass (google.com: domain of noreply@justfly.com designates
                                                 107.21.248.60 as permitted sender) smtp.mailfrom=noreply@justfly.com
  Return-Path:                                   <noreply@justfly.com>
  Received:                                      from smtp.justfly.com (smtp.justfly.com. [107.21.248.60]) by mx.google.com with ESMTP id s2-
                                                 v6si2673013qvo.40.2018.10.09.09.47.48 for <robertrundo@gmail.com>; Tue, 09 Oct 2018
                                                 09:47:48 -0700 (PDT)
  Received-SPF:                                  pass (google.com: domain of noreply@justfly.com designates 107.21.248.60 as permitted sender)
                                                 client-ip=107.21.248.60;
  Authentication-Results:                        mx.google.com; spf=pass (google.com: domain of noreply@justfly.com designates 107.21.248.60
                                                 as permitted sender) smtp.mailfrom=noreply@justfly.com
  Received:                                      from localhost.localdomain (unknown [208.99.79.177]) by smtp.justfly.com (Postfix) with ESMTP id
                                                 67765207BC for <robertrundo@gmail.com>; Tue, 9 Oct 2018 12:47:47 -0400 (EDT)
  Reply-To:                                      "Justfly.com" <noreply@justfly.com>


file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   1/2
                                                                                                                                          5
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 92 of 258 Page ID #:3671
                                                                     Your reservation has been cancelled
  Message-ID:                                    <088ad6b7ae19969aab80b04b02d081dd@localhost.localdomain>
  X-Priority:                                    3
  X-Mailer:                                      PHPMailer 5.2.1 (http://code.google.com/a/apache-extras.org/p/phpmailer/)
  MIME-Version:                                  1.0
  Content-Type:                                  multipart/alternative; boundary="b1_088ad6b7ae19969aab80b04b02d081dd"




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   2/2
                                                                                                                                          6
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 93 of 258 Page ID #:3672

                                                                              My JustFly Reservation


                                      Flights    Hotels     Cars                       fi!i!!E USO     Support   My Trips   Robert




  Welcome, Robert!

  My itinerary            Airline confirmation codes




  Flight information


     Travellers
     See an incorrect name? Please chat with us. Fees may apply.



       Passenger 1
     Robert Paul Rundo
     4/28/1990
     Female




  Billing


     Price Summary                                                                                                          Chat with us

     Date                                                          Receipt#                                                 Amount


https://www.justfly.com/service/portal/detail/Obed6e97ace4c32e34778156ea3b0b9f                                                             1/2


                                                                                                                                      7
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 94 of 258 Page ID #:3673

                                                                            My JustFly Reservation
    October 9th, 2018 1:07 AM                                    #109147881                          $464.40 USO

    Total Charged:                                                                                                 $464.40 USO


     Please note: Your credit card may be billed in multiple charges totalling the above amount.




https://www.justfly.com/service/portal/detail/Obed6e97ace4c32e34778156ea3b0b9f                                                   2/2


                                                                                                                           8
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 95 of 258 Page ID #:3674




                               Exhibit 13
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 96 of 258 Page ID #:3675
                                                                       Your trip confirmation-ICYDBN 09OCT
From:               American Airlines <no-reply@notify.email.aa.com>
Sent:               10/8/2018 8:08:33 PM -0400
To:                 robertrundo@gmail.com
Subject:            Your trip confirmation-ICYDBN 09OCT




                                                                             Hello Robert Rundo!                                              Issued: Oct 8, 2018




                                                                                      Your trip confirmation and receipt

                                                                                                           Record locator: ICYDBN


                                                                         You're booked in Basic Economy
                                                                         Restrictions include:

                                                                               Seats assigned at check-in
                                                                               Not eligible for upgrades
                                                                               No flight changes or refunds
                                                                               Board in last group




                                                                         Basic Economy rules»



                                                                                                               Manage Your Trip




                                                                             Tuesday, October 9, 2018

                                                                             SNA                               DFW                      Seats: --

                                                                             8:12 AM                           1:06 PM                  Class: Economy (B)
                                                                                                                                        Meals: Food For Purchase
                                                                             Orange County                     Dallas/Fort Worth

                                                                             American Airlines 2626


                                                                             DFW                               LGA                      Seats: --

                                                                             2:38 PM                           7:00 PM                  Class: Economy (B)
                                                                                                                                        Meals: Food For Purchase
                                                                             Dallas/Fort Worth                 New York La Guardia

                                                                             American Airlines 1105


                                                                             Free entertainment with the American app »




                                                                             Robert Rundo


                                                                                                                          Earn miles with this trip.
                                                                                                                          Join AAdvantage »

                                                                                                                          Ticket # 0012315162248




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…                      1/3
                                                                                                                                                              1
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 97 of 258 Page ID #:3676
                                                                    Your trip confirmation-ICYDBN 09OCT

                                                                      Your trip receipt
                                                                                   Visa XXXXXXXXXXXXX5390




                                                                      Robert Rundo

                                                                      FARE-USD                                                                              $ 159.07

                                                                      TAXES AND CARRIER-IMPOSED FEES                                                         $ 34.73

                                                                      TICKET TOTAL                                                                          $ 193.80




                                                                           Hotel offers           Car rental offers         Buy trip insurance            SuperShuttle




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                                                                                                        Get the American Airlines app




                                                                      Baggage Information

                                                                      Baggage charges for your itinerary will be governed by American Airlines BAG ALLOWANCE -
                                                                      SNALGA-No free checked bags/ American Airlines 1STCHECKED BAG FEE-SNALGA-
                                                                      USD30.00/ American Airlines /UP TO 50 LB/23 KG AND UP TO 62 LINEAR IN/158 LINEAR CM
                                                                      2NDCHECKED BAG FEE-SNALGA-USD40.00/ American Airlines /UP TO 50 LB/23 KG AND UP
                                                                      TO 62 LINEAR IN/158 LINEAR CM ADDITIONAL ALLOWANCES AND/OR DISCOUNTS MAY
                                                                      APPLY

                                                                      You may have purchased a "Special Fare" and certain restrictions apply. Some fares are NON-
                                                                      REFUNDABLE. If the fare allows changes, a fee may be assessed for the change.


                                                                      Some American Airlines check-in counters do not accept cash as a form of payment. For
                                                                      more information, visit our Airport Information page.
                                                                      SERVICE & SUPPORT ANIMAL REQUIREMENTS

                                                                      For tickets issued on or after July 1, 2018, customers traveling with emotional support animals are
                                                                      required to submit documents to our Special Assistance Desk at least 48 hours in advance of
                                                                      travel for cabin accommodation. Your animal must be trained to behave properly in public. During
                                                                      your journey, if any form of disruptive behavior is observed that cannot be successfully corrected
                                                                      or controlled, your animal will not be permitted to fly with you in the cabin. Visit Traveling with
                                                                      Service Animals for more information.




                                                                      Some everyday products, like e-cigarettes and aerosol spray starch, can be dangerous when
                                                                      transported on the aircraft in carry-on and/or checked baggage. Changes in temperature or
                                                                      pressure can cause some items to leak, generate toxic fumes or start a fire. Carriage of
                                                                      prohibited items may result in fines or in certain cases imprisonment. Please ensure there are no
                                                                      forbidden hazardous materials in your baggage like:
                                                                      Some Lithium batteries (e.g. spares in checked baggage, batteries over a certain size),
                                                                      Explosives / Fireworks, Strike anywhere matches/ Lighter fluid, Compressed gases / Aerosols
                                                                      Oxygen bottles/ Liquid oxygen, Flammable liquids, Pesticides/ Poison, Corrosive material.
                                                                      There are special exceptions for small quantities (up to 70 ounces total) of medicinal and toilet
                                                                      articles carried in your luggage, spare lithium batteries for most consumer electronic devices in
                                                                      carry-on baggage, and certain smoking materials carried on your person.
                                                                      Certain items are required to be carried with you onboard the aircraft. For example, spare lithium
                                                                      batteries for portable electronic devices, cigarette lighters and e-cigarettes must be removed from
                                                                      checked or gate-checked baggage and carried onboard the aircraft. However, e-cigarettes may
                                                                      not be used on-board the aircraft.
                                                                      Traveling with medical oxygen, liquid oxygen, mobility aids and other assistive devices may
                                                                      require airline pre-approval or be restricted from carriage entirely. Passengers requiring these
                                                                      items should contact the airline operator for information on use of such devices.
                                                                      To change your reservation, please call 1-800-433-7300 and refer to your record locator.
                                                                      NOTICE OF INCORPORATED TERMS OF CONTRACT
                                                                      Air Transportation, whether it is domestic or international (including domestic portions of
                                                                      international journeys), is subject to the individual terms of the transporting air carriers, which are


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                                                                                                                                                                     2
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 98 of 258 Page ID #:3677
                                                                          Your trip confirmation-ICYDBN 09OCT
                                                                             herein incorporated by reference and made part of the contract of carriage. Other carriers on
                                                                             which you may be ticketed may have different conditions of carriage. International air
                                                                             transportation, including the carrier's liability, may also be governed by applicable tariffs on file
                                                                             with the U.S. and other governments and by the Warsaw Convention, as amended, or by the
                                                                             Montreal Convention. Incorporated terms may include, but are not restricted to: 1. Rules and
                                                                             limits on liability for personal injury or death, 2. Rules and limits on liability for baggage, including
                                                                             fragile or perishable goods, and availability of excess valuation charges, 3. Claim restrictions,
                                                                             including time periods in which passengers must file a claim or bring an action against the air
                                                                             carrier, 4. Rights on the air carrier to change terms of the contract, 5. Rules on reconfirmation of
                                                                             reservations, check-in times and refusal to carry, 6. Rights of the air carrier and limits on liability
                                                                             for delay or failure to perform service, including schedule changes, substitution of alternate air
                                                                             carriers or aircraft and rerouting.

                                                                             You can obtain additional information on items 1 through 6 above at any U.S. location where the
                                                                             transporting air carrier's tickets are sold. You have the right to inspect the full text of each
                                                                             transporting air carrier's terms at its airport and city ticket offices. You also have the right, upon
                                                                             request, to receive (free of charge) the full text of the applicable terms incorporated by reference
                                                                             from each of the transporting air carriers. Information on ordering the full text of each air carrier's
                                                                             terms is available at any U.S. location where the air carrier's tickets are sold or you can click on
                                                                             the Conditions of Carriage button below.

                                                                             Air transportation on American Airlines and the American Eagle carriers® is subject to American's
                                                                             conditions of carriage..

                                                                             NOTICE: This email and any information, files or attachments are for the exclusive and
                                                                             confidential use of the intended recipient(s). This message contains confidential and proprietary
                                                                             information of American Airlines (such as customer and business data) that may not be read,
                                                                             searched, distributed or otherwise used by anyone other than the intended recipient. If you are
                                                                             not an intended recipient, please do not read, distribute, or take action in reliance upon this
                                                                             message. If you suspect you have received this email in error, please notify the sender and
                                                                             promptly delete this message and its attachments from your computer.

                                                                             NRID: 1913354442540819065344700




Delivered-To:                         robertrundo@gmail.com
Received:                             by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp4187101wrt; Mon, 8 Oct 2018 17:08:34 -0700 (PDT)
X-Google-Smtp-Source:                 ACcGV60feVI9EMFs1Dciu8xn5lHU6njoNgdiVaQwmf1t1NUekfTgjBS1n9xPXoZpqMugnW9aCYE9
X-Received:                           by 2002:aed:3f08:: with SMTP id p8-v6mr21061229qtf.185.1539043714173; Mon, 08 Oct 2018 17:08:34 -0700 (PDT)
ARC-Seal:                             i=1; a=rsa-sha256; t=1539043714; cv=none; d=google.com; s=arc-20160816; b=ko/sOO4/Bc5JGYvQA2x87tcWaeUMV3J7KdXF55bxnc8crz
                                      TFI4Jz0leekZ3E5hfQTOL2oe+x8q/QyrlJhFCe8AqO0xaCdCbao0yk6AkvlBMJeNHxjh XKY7JPfzwrg+j6qlHM0MnG/anPv9xhi8WEb68yrkId8B
                                      we6C0UPEEVHzrvBJ+WrYDmnrhjGSXhJTmbd1BAaejTnCcfANlw0AaikRDJg+ID70IYEP T6il2TOUWQgk+gJ9AuYJ1e6XKpV40lgWvaQENG
ARC-Message-Signature:                i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=content-id:mime-version:subject:message-id:to:from:date :dkim-si
                                      b=cSqGBnBEEOC/+ix6f0mWH8Kghbb5qqf5JnphwMq1s9V6ab56zpl4uLUaG2uBqbf3Du S0+mxjb/0EUd7HoUYcIZpXTUkGSM/FwReBJbLC
                                      of+xp0qjbsKzdV2q9ZqKWgzzayT3NbPmHTQ4HsXlkmrpAtVo3d+NnPc9ed5W4sQya0UO fBge2FvF+syL+wiNHPyCdPVPa3l7X3Kqdckm2Rw
                                      P6EOQxwK2wmgjor8Asdhqdgi96sUKGPTyus9YLuacRPXtMS6DJwfzJzPeRDKWkS6V94p oiNQ==
ARC-Authentication-Results:           i=1; mx.google.com; dkim=pass header.i=@notify.email.aa.com header.s=selector1 header.b=W76HZQYL; spf=pass (google.com: domain o
                                      smtp.mailfrom=no-reply@notify.email.aa.com; dmarc=pass (p=REJECT sp=NONE dis=NONE) header.from=aa.com
Return-Path:                          <no-reply@notify.email.aa.com>
Received:                             from prodamx09.prod.appriss.com (prodamx09.prod.appriss.com. [170.75.215.143]) by mx.google.com with ESMTPS id j36-v6si4054055qtj
                                      cipher=ECDHE-RSA-AES128-SHA bits=128/128); Mon, 08 Oct 2018 17:08:34 -0700 (PDT)
Received-SPF:                         pass (google.com: domain of no-reply@notify.email.aa.com designates 170.75.215.143 as permitted sender) client-ip=170.75.215.143;
Authentication-Results:               mx.google.com; dkim=pass header.i=@notify.email.aa.com header.s=selector1 header.b=W76HZQYL; spf=pass (google.com: domain of no-
                                      smtp.mailfrom=no-reply@notify.email.aa.com; dmarc=pass (p=REJECT sp=NONE dis=NONE) header.from=aa.com
DKIM-Signature:                       v=1; a=rsa-sha256; q=dns/txt; c=relaxed/relaxed; d=notify.email.aa.com; s=selector1; h=Content-ID:Content-Type:MIME-Version:Subject:Me
                                      b=W76HZQYLVeHDUbYjsTWCMmZ08xoupyOi3ZpG3UuUJqempoWFEtXE3iKaP2CX5Jnbkfa04nkmN9ApT+tZW9bYMqMX27Zx3zC35OLN
Received:                             from localhost ([127.0.0.1] helo=prodamx09.prod.appriss.com) by prodamx09.prod.appriss.com with esmtp (Exim 4.71) (envelope-from <no-
                                      ROBERTRUNDO@GMAIL.COM; Mon, 08 Oct 2018 20:08:33 -0400
Message-ID:                           <183938049.1905921.1539043713147@globalnotifications.com>
MIME-Version:                         1.0
Content-Type:                         multipart/alternative; boundary="----=_Part_1905920_1876641572.1539043713145"
Content-ID:                           725650031@localhost




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…                                           3/3
                                                                                                                                                                              3
    Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 99 of 258 Page ID #:3678
                                                                                          Confirm or change flight


 From:                American Airlines <no-reply@notify.email.aa.com>
 Sent:                10/9/2018 9:02:11 AM -0400
 To:                  robertrundo@gmail.com
 Subject:             Confirm or change flight




                                                               You've been rebooked

                                                                      Record locator: ICYDBN


                                           We rebooked your trip from SNA to DFW because one of your flights was canceled.
                                                        Please confirm the new flight or choose another flight.


                                                                     Confirm or change flight


                                                               ■ New arrival: John F Kennedy Intl (JFK)
                                                               ■ New connecting airport
                                                               ■ All passengers rebooked




                                          NEW FLIGHT


                                          SNA to JFK
                                          Tuesday, October 9, 2018


                                          SNA                      PHX                                     Flight #: AA 1141

                                          12:58 PM                 2:20 PM                                 Aircraft: Boeing 737-800

                                          Orange County            Phoenix
                                                                                                           Class: Economy




                                          PHX                   JFK                                        Flight #: AA 1388

                                          3:26 PM               11:20 PM                                   Aircraft: Boeing 737-800

                                          Phoenix               New York Kennedy
                                                                                                           Class: Economy




                                          CANCELED

                                          SNA to DFW
                                          Tuesday, October 9, 2018


                                          SNA                    DFW                                       Flight #: AA 2626

                                          8:12 AM                1:06 PM
                                          Orange County          Dallas/Fort Worth




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                                                                                                                                          4
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 100 of 258 Page ID
                                           #:3679
                                                                                   Confirm or change flight

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 Delivered-To:                         robertrundo@gmail.com
 Received:                             by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp4804922wrt; Tue, 9 Oct 2018 06:02:12 -0700 (PDT)
 X-Google-Smtp-Source:                 ACcGV63vHfqPhCgLBVuDMiKe3177Wvp7vfGnDsZxLJTxLHAMuvq6arRNEkWkbQtEd9zHejnTpAUX
 X-Received:                           by 2002:a0c:9c42:: with SMTP id w2-v6mr23069399qve.194.1539090131910; Tue, 09 Oct 2018 06:02:11 -0700 (PDT)
 ARC-Seal:                             i=1; a=rsa-sha256; t=1539090131; cv=none; d=google.com; s=arc-20160816; b=k83nZKjdrFpWt08mY+e0UZ/cAkjP6TQMyKEzZRM0sNS2
                                       bG07zrENXoZxPtdzbn6zEKYlvmfHtLkBLIxhBgMeCoV031WF1ok01zvaAQGOo3wOA63W JUrgGGutzcRJ6PoWskvA9qcabUg4t8ucr53dBA
                                       5osrh8PvixfQ6VqXwjKbGIzX93JssBvaTt3weI4mIvWAvi6u6yF1K1fp8isqre2lghjl tl8dxC5LckcUthxxcoyDv/kSSwdDD724jpa3mTMM/VNuJzK
 ARC-Message-Signature:                i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=content-id:content-transfer-encoding:mime-version:subject :mess
                                       bh=F/2LNv2/wMtq+V4m6l5ZeQEIAjnbN2XT1TueXK01uIs=; b=VH3mdEwMDXbeSnW2F+EmAqBmSZ6RtPIjpKNxSSv5ch1R5amJMJFXPA
                                       RTZRET7yPTIBm/luppXgGJ5gZrmVEND2gXh5wKbSsuqS2IL3AfgUpIyy73K42vMY6HPf cAjkhd50Ogrj4xJWgH25z984fTlMDXjiT/f2NV9wV
                                       LihTZA47XQfs/cFHsUtSRXehzE+kEXPSNqT9r6j9Zu9NUweEPO9SUOwRvTm0pmmAM3cJ lbhxY4EQTlXfcOY3sw22UOJcc0kGuF9UCas
 ARC-Authentication-Results:           i=1; mx.google.com; dkim=pass header.i=@notify.email.aa.com header.s=selector1 header.b="Spx/PMMN"; spf=pass (google.com: domain
                                       smtp.mailfrom=no-reply@notify.email.aa.com; dmarc=pass (p=REJECT sp=NONE dis=NONE) header.from=aa.com
 Return-Path:                          <no-reply@notify.email.aa.com>
 Received:                             from prodamx07.prod.appriss.com (prodamx07.prod.appriss.com. [170.75.215.142]) by mx.google.com with ESMTPS id i6-v6si2793400qkc
                                       cipher=ECDHE-RSA-AES128-SHA bits=128/128); Tue, 09 Oct 2018 06:02:11 -0700 (PDT)
 Received-SPF:                         pass (google.com: domain of no-reply@notify.email.aa.com designates 170.75.215.142 as permitted sender) client-ip=170.75.215.142;
 Authentication-Results:               mx.google.com; dkim=pass header.i=@notify.email.aa.com header.s=selector1 header.b="Spx/PMMN"; spf=pass (google.com: domain of n
                                       smtp.mailfrom=no-reply@notify.email.aa.com; dmarc=pass (p=REJECT sp=NONE dis=NONE) header.from=aa.com
 DKIM-Signature:                       v=1; a=rsa-sha256; q=dns/txt; c=relaxed/relaxed; d=notify.email.aa.com; s=selector1; h=Content-ID:Content-Transfer-Encoding:Content-Ty
                                       bh=F/2LNv2/wMtq+V4m6l5ZeQEIAjnbN2XT1TueXK01uIs=;
                                       b=Spx/PMMN02PDdJ4E9lARoxEdqaGeWi14bGp+44AsDHHRDyYgG6dK6yxqG3wzpKC40j1whdGeT7Ud3xe8MBjzlLy/B7SKRIbctt5lt+M1T
 Received:                             from localhost ([127.0.0.1] helo=prodamx07.prod.appriss.com) by prodamx07.prod.appriss.com with esmtp (Exim 4.71) (envelope-from <no
                                       ROBERTRUNDO@GMAIL.COM; Tue, 09 Oct 2018 09:02:11 -0400
 Message-ID:                           <1068088552.2218567.1539090131166@globalnotifications.com>
 MIME-Version:                         1.0
 Content-Type:                         text/html; charset="UTF-8"
 Content-Transfer-Encoding:            quoted-printable
 Content-ID:                           725851043@localhost




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…                           2/2
                                                                                                                                                                 5
            Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 101 of 258 Page ID
                                              #:3680
                                                                                                Your refund is complete


 From:                   American Airlines <no-reply@notify.email.aa.com>
 Sent:                   10/10/2018 8:05:24 AM -0400
 To:                     robertrundo@gmail.com
 Subject:                Your refund is complete




                                                                     Your refund is complete


                                             Ticket number: 0012315162248                           Record locator: ICYDBN




                                             ROBERT RUNDO

                                             Refund amount: 193.80 USD

                                             Refund to: VISA ending 5390

                                             Date refund issued: 10/09/2018

                                             You should see your credit in 1-2 billing cycles.




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 Delivered-To:                                robertrundo@gmail.com
 Received:                                    by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp897150wrt; Wed, 10 Oct 2018 05:05:25 -0700 (PDT)
 X-Google-Smtp-Source:                        ACcGV62aHcUWJ8zOuOWF3wYEZrguCAYpIki9dfIfBckhL9BcUJ6Osj+30f2SxiIdpejgVkKz88qv
 X-Received:                                  by 2002:ac8:42dd:: with SMTP id g29-v6mr26796242qtm.162.1539173125195; Wed, 10 Oct 2018 05:05:25 -0700 (PDT)
 ARC-Seal:                                    i=1; a=rsa-sha256; t=1539173125; cv=none; d=google.com; s=arc-20160816; b=DHAYw66tk+Qb5i2BaGoeWwliy/PNfFkMf/AXqN1r/g9mR4
                                              zLl44nqMMb7ESZ0/xOM008aRlP7iy0jVzLrqEUZfb9Fcj5bkxGMkjlPKe/kiPloo5NQT LEycWE6b4Dgte8p4oeCRv41MwC0mKYqk6pZNpeX9j
                                              JyzwFZ90VqKWdb8w+ENLgWL0cGJ5CnxoHbv7FGAXLfnFtuuYwBrwGX1tnOdVhRrESPiJ qqb+O85LqeKVfD8viPv4jXJIpTW1q5cenOVS3
 ARC-Message-Signature:                       i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=content-id:content-transfer-encoding:mime-version:subject :mess
                                              bh=XQ32xyMY0dxr1ZWL7ds8aIF8+fj29htB50bRgDg4Kjk=; b=iXvGPbz3nLQWTHbLP29tFKEtGifCMKTuTtNrmX2cAj7yy2GesiREMldTZehj
                                              knF/0QOrZw284QR9aEdiEQEbthmWkAOBEoy+R6H4nyrzP2ES7Y1dlplMOvqV2IqFywHu D5xDyZV8kor/9k63J4IwLIRTyQ9Pbf7FXunPsB4
                                              Z+AWz50BuOnpNSjbz56ph5aip3pIVpVbaop842UQTd2rho6v6ZpjFpQF9Yd51sYN1qPj 4Cvf1LNtK+8uzDKxQ1CVDjwLtm9vaZapvjtW8knxI


file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…                                 1/2
                                                                                                                                                                       6
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 102 of 258 Page ID
                                           #:3681
                                                                                   Your refund is complete
 ARC-Authentication-Results:           i=1; mx.google.com; dkim=pass header.i=@notify.email.aa.com header.s=selector1 header.b="M/h9OJwO"; spf=pass (google.com: domain
                                       smtp.mailfrom=no-reply@notify.email.aa.com; dmarc=pass (p=REJECT sp=NONE dis=NONE) header.from=aa.com
 Return-Path:                          <no-reply@notify.email.aa.com>
 Received:                             from prodamx07.prod.appriss.com (prodamx07.prod.appriss.com. [170.75.215.142]) by mx.google.com with ESMTPS id y6-v6si6671204qv
                                       cipher=ECDHE-RSA-AES128-SHA bits=128/128); Wed, 10 Oct 2018 05:05:25 -0700 (PDT)
 Received-SPF:                         pass (google.com: domain of no-reply@notify.email.aa.com designates 170.75.215.142 as permitted sender) client-ip=170.75.215.142;
 Authentication-Results:               mx.google.com; dkim=pass header.i=@notify.email.aa.com header.s=selector1 header.b="M/h9OJwO"; spf=pass (google.com: domain of n
                                       smtp.mailfrom=no-reply@notify.email.aa.com; dmarc=pass (p=REJECT sp=NONE dis=NONE) header.from=aa.com
 DKIM-Signature:                       v=1; a=rsa-sha256; q=dns/txt; c=relaxed/relaxed; d=notify.email.aa.com; s=selector1; h=Content-ID:Content-Transfer-Encoding:Content-Ty
                                       bh=XQ32xyMY0dxr1ZWL7ds8aIF8+fj29htB50bRgDg4Kjk=;
                                       b=M/h9OJwO9IhAN+nkWI243zYZQWNWE1rCyrrqvL2Zawfy9sV/SJsosf1NgW+AFofrx4ydKamKoYTayJa8K2pOfoSTKBQBlFUAG3Vr8fvDH
 Received:                             from localhost ([127.0.0.1] helo=prodamx07.prod.appriss.com) by prodamx07.prod.appriss.com with esmtp (Exim 4.71) (envelope-from <no
                                       ROBERTRUNDO@GMAIL.COM; Wed, 10 Oct 2018 08:05:24 -0400
 Message-ID:                           <1641725059.8619.1539173124308@globalnotifications.com>
 MIME-Version:                         1.0
 Content-Type:                         text/html; charset="UTF-8"
 Content-Transfer-Encoding:            quoted-printable
 Content-ID:                           726517244@localhost




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…                           2/2
                                                                                                                                                                 7
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 103 of 258 Page ID
                                  #:3682




                            Exhibit 14
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 104 of 258 Page ID
                                           #:3683
                                                                            Your trip confirmation and receipt


 From:                   "Justfly.com" <noreply@justfly.com>
 Sent:                   10/9/2018 4:10:50 AM -0400
 To:                     Robert <robertrundo@gmail.com>
 Subject:                Your trip confirmation and receipt




                                                  Pack your bags, you're all set to travel!

                                       Your booking is all set and check-in for your flight will be available
                                          24 hours before departure. When it's time, go to the airline's
                                       website and enter your airline confirmation number (below). There,
                                       you'll be able to check in and get your mobile or printable boarding
                                                                       pass.


                                                        Justfly Booking Number: 119-742-731
                                                   Ukraine Intl Airl Confirmation Number: LQXCUK




                                                         With JustFly, you're in control of
                                                                  your booking!

                                      Justfly is the only place where you can fully manage your booking online and
                                      at your convenience. Fine-tune the details of your trip without spending hours
                                                           on hold. Access your booking online and:


                                 Check status of your booking                    Get baggage information

                                 Change your flights                             Select seats

                                 Print or email your receipts                    Cancel Flight




                                                                     Manage my Booking




                                                                      Still Need Help?
                                   Check out out our extensive support section to answer your questions.




                                                                      YOUR ITINERARY

                              Departure

                                New York, NY (JFK) to Kiev, Ukraine (KBP)                                            Nonstop


                                     Ukraine Intl Airl     12:30am              Thu. Oct 11                 New York, NY (JFK)
                                     Flight 232            4:20pm               Thu. Oct 11                         Kiev (KBP)
                                     Terminal 7
                                                                                                                      Economy




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                                                                                                                                          1
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 105 of 258 Page ID
                                           #:3684
                                                                             Your trip confirmation and receipt

                               Total Trip Time: 8h 50m                                                                  Change Flights

                               See Baggage Allowance Details




                                                                          RECEIPTS

                             Date                        Receipt #                  Details                                     Amount

                             October 9, 2018             #109147931                 View Receipt                            $447.84 USD

                                                                                                                    Total: $447.84 USD




                                                                         TRAVELERS

                             Name                                                   E-ticket

                             Robert Paul Rundo                                      Ukraine Intl Airl: 566-7264732797




                                                                              Select your seats!
                                                             Be sure to travel in comfort and select your preferred seat
                                                             online now. Avoid having to arrive at the airport early, and
                                                            secure that scenic window or stress-free aisle seat ahead of
                                                                                        time.


                                                                     Select Seats




                                                                            Need a place to stay?
                                                             We’ve already picked out some great hotels for your trip to
                                                              Kiev. at rates perfect for any budget. Look forward to the
                                                                      comfort of a perfect hotel at a great price.


                                                                     Find a Hotel




                                                                      Car convenience—at train prices
                                                             The convenience of a car makes all the difference when
                                                            exploring a new place. Get a great deal on a rental car and
                                                                          explore on your own schedule.


                                                                     Rent a Car




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                                                                                                                                          2
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 106 of 258 Page ID
                                           #:3685
                                                                           Your trip confirmation and receipt



                                                             Peace of mind, at an affordable price.
                                                        Don't let your trip go south! Avoid the costs of travel mishaps
                                                          like cancellations, medical bills, lost luggage, and other
                                                             unforeseen events with affordable travel insurance.


                                                             Add Insurance




                                                              Need a different flight? No problem.
                                                        If you need to make changes to your itinerary, we're here to
                                                       help. Our site lets you manage your booking online, where you
                                                               can easily change flights at your convenience.


                                                            Change Flights




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                            Delivered-To:                                   robertrundo@gmail.com
                            Received:                                       by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp4534933wrt; Tue, 9 Oct 2018 01:
                            X-Google-Smtp-Source:                           ACcGV60QDo2BO0oEbVCt9M79aKGEyjUamjhCbVX9YDIf0GMaBJo9JhgyBxO3YqD
                            X-Received:                                     by 2002:aed:3c1b:: with SMTP id t27-v6mr21906334qte.226.1539072651384; Tue, 0
                                                                            01:10:51 -0700 (PDT)
                            ARC-Seal:                                       i=1; a=rsa-sha256; t=1539072651; cv=none; d=google.com; s=arc-20160816;
                                                                            b=I4erJHzK/7ffEO97UDNcJhezzoFuBog9f0r/UGd3RKtN/WzptDNpt6om8LAlRktvrP
                                                                            alwvVbpyKvrtXg/tsT8z0D8aaHAX5ghO7QzWty5Lanq5DFF13bXY/CDqlyzJE0y55d53
                                                                            AveEK80gdm5bawbJaW98V08WdwjfwGisqNHBrwIKxEOJlp3tytEZnfhi7h07yvg12eC7
                                                                            H650slBWOyJZsbZW8AMfOcvTdUmInh1gmSwNJ9Au5pY775tpwWpqCYc9fFb4A0w
                                                                            Ki6+4gfPWuXWTWrJFIYt1HTR8U10oMqET4aU3g+qTrySQV2gyCFGLmNjYFyCiyem
                            ARC-Message-Signature:                          i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=mime-vers
                                                                            id:subject:reply-to:from:to:date; bh=HByYo/lq7C4V8Qdf6iiu9eZa7yNYA469uTuQNPo4
                                                                            b=S5qbyNCTHx6SZwpdZlxZq4tzNKfpwH3lKE66xWZO533mdvRAokfoq2BaxozltSxvK
                                                                            ZtNJawwXfYbNDFoxxQT00fnwWnOiuXOradsLYpV56HVPufrUGLlS5vD6TOwxTaMEq
                                                                            IDnzICsDudhiMgiGGQ6Ipr/c+EogKka+pFSpevSpUTZYFIiu9be0z5rJuxWViultKe0T
                                                                            sTc5pqONRkk2tWHz663rThAxYPupZ3RzKcpcR7uE0UAGjwCjOn+5pWzwOdnBbPqq
                                                                            vdSI5V2rSx8GPgGmmxYBd//OszojOJAY+p6ymOxcUz+vrCCenuhKkqeHdSNXoUMD
                            ARC-Authentication-Results:                     i=1; mx.google.com; spf=pass (google.com: domain of noreply@justfly.com designate
                                                                            as permitted sender) smtp.mailfrom=noreply@justfly.com
                            Return-Path:                                    <noreply@justfly.com>
                            Received:                                       from smtp.justfly.com (smtp.justfly.com. [107.21.248.60]) by mx.google.com with ESM
                                                                            v6si1181730qtj.202.2018.10.09.01.10.51 for <robertrundo@gmail.com>; Tue, 09 Oct
                                                                            -0700 (PDT)
                            Received-SPF:                                   pass (google.com: domain of noreply@justfly.com designates 107.21.248.60 as perm
                                                                            client-ip=107.21.248.60;
                            Authentication-Results:                         mx.google.com; spf=pass (google.com: domain of noreply@justfly.com designates 10
                                                                            permitted sender) smtp.mailfrom=noreply@justfly.com
                            Received:                                       from localhost.localdomain (unknown [208.99.79.177]) by smtp.justfly.com (Postfix) w
                                                                            7546C2032C for <robertrundo@gmail.com>; Tue, 9 Oct 2018 04:10:48 -0400 (EDT)
                            Reply-To:                                       "Justfly.com" <noreply@justfly.com>
                            Message-ID:                                     <9f1b6d92dca0cf7ac078b7eacbce0dab@localhost.localdomain>
                            X-Priority:                                     3
                            X-Mailer:                                       PHPMailer 5.2.1 (http://code.google.com/a/apache-extras.org/p/phpmailer/)

file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…              3/4
                                                                                                                                                     3
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 107 of 258 Page ID
                                           #:3686
                                                                      Your trip confirmation and receipt
                            MIME-Version:                              1.0
                            Content-Type:                              multipart/alternative; boundary="b1_9f1b6d92dca0cf7ac078b7eacbce0dab"




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   4/4
                                                                                                                                           4
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 108 of 258 Page ID
                                           #:3687
                                                                      Your reservation has been cancelled


  From:                     "Justfly.com" <noreply@justfly.com>
  Sent:                     10/9/2018 12:41:46 PM -0400
  To:                       Robert <robertrundo@gmail.com>
  Subject:                  Your reservation has been cancelled




                                WE'RE SORRY YOUR PLANS DIDN'T WORK OUT

                            Your reservation has been cancelled as of 2018-10-09. If you would like more
                            details on the reasoning to why your reservation has been cancelled, please
                                                  click on the "Help" section below.

                                       We'll be here for you when you're ready to book a new trip.


                                                           SEARCH FOR FLIGHTS


                                               Justfly Booking Number: 119-742-731

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  Delivered-To:                                  robertrundo@gmail.com
  Received:                                      by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp5069673wrt; Tue, 9 Oct 2018 09:41:47 -0700
                                                 (PDT)
  X-Google-Smtp-Source:                          ACcGV62gDwh0Ctzl3MPAfyn3MehDtjInV0/bI8OpFe2AbH4OQkKdp2u11FYx/x9t6nhhwDAAMw5E
  X-Received:                                    by 2002:a37:5946:: with SMTP id n67-v6mr22744589qkb.202.1539103307009; Tue, 09 Oct 2018
                                                 09:41:47 -0700 (PDT)
  ARC-Seal:                                      i=1; a=rsa-sha256; t=1539103306; cv=none; d=google.com; s=arc-20160816;
                                                 b=Tnhm+VUHeluHQsTFI7fjrmiXDuzw6STe0lPtZdm0vXRkSlJu7159VZVHRdc6CHDmrk
                                                 QhjZ9NeOGm6WyydOw6eIbV/06r6+ACLnK47NL9InylBuV2CcPqCdjl90KKqyx29z3qhE
                                                 /3uQJstnIguSKzLgvm5BVmcwcB5zYRzWwYrfIaBW2JHdBZ8cQSpzjvjZTl/R4r3ACnCn
                                                 moaaOxj+szOpH80/GgfUuR/+hJhiuU/n3rPN4VW4VRMuQcsfAHClEdD1Cj2YiySdZ9SS
                                                 k+wCh85/bdtory8rdJcWs/A1eCYNaSkLgLWUBBmEVJg+uyw5anW+z0T3OI3SBPmcWtDS
                                                 FbuQ==
  ARC-Message-Signature:                         i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=mime-
                                                 version:message-id:subject:reply-to:from:to:date;
                                                 bh=abqbT5dqqWk59tNJ6W+YMKT66wiETy24kV4sz6PcDMU=;
                                                 b=Oe8WO+TP2mFubJVaPukMZOSqWHwWQ8qAWnw7AfTKmE40SSw/trx+0CGMHEOFCRy1Hp
                                                 W4A87dUPdMd/m+AkVQwUDjhsHMftxQYauF/NyVHRiaZzTTE+Ai6ZDxRPpf7kJm+HfNIy
                                                 P0ytdKp7LXUlCo3e15qpD280uKftxsfh20NA6c74X1QYs/hIVQvhCm2/DQyttuyTe1WC
                                                 5SuFYTHY2vGhJ478c6UTIumF+oH+lD9hSY5+GTMezjaLGRGVZvfWHsT2aXz3VZbnvaJC
                                                 Vz78iWrkNsYJiylo14yCBk0CJ8ADbofd3wIcWiiTnl67lThiqcO07I5SUq9jEDnx+OAl 1EwA==
  ARC-Authentication-Results:                    i=1; mx.google.com; spf=pass (google.com: domain of noreply@justfly.com designates
                                                 107.21.248.60 as permitted sender) smtp.mailfrom=noreply@justfly.com
  Return-Path:                                   <noreply@justfly.com>
  Received:                                      from smtp.justfly.com (smtp.justfly.com. [107.21.248.60]) by mx.google.com with ESMTP id a7-
                                                 v6si1322663qke.271.2018.10.09.09.41.46 for <robertrundo@gmail.com>; Tue, 09 Oct 2018
                                                 09:41:46 -0700 (PDT)
  Received-SPF:                                  pass (google.com: domain of noreply@justfly.com designates 107.21.248.60 as permitted sender)
                                                 client-ip=107.21.248.60;
  Authentication-Results:                        mx.google.com; spf=pass (google.com: domain of noreply@justfly.com designates 107.21.248.60
                                                 as permitted sender) smtp.mailfrom=noreply@justfly.com



file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   1/2
                                                                                                                                          5
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 109 of 258 Page ID
                                           #:3688
                                                                     Your reservation has been cancelled
  Received:                                      from localhost.localdomain (unknown [208.99.79.177]) by smtp.justfly.com (Postfix) with ESMTP id
                                                 78A8320C4F for <robertrundo@gmail.com>; Tue, 9 Oct 2018 12:41:46 -0400 (EDT)
  Reply-To:                                      "Justfly.com" <noreply@justfly.com>
  Message-ID:                                    <c1cda419821941f74a72b6aa5b9c93e9@localhost.localdomain>
  X-Priority:                                    3
  X-Mailer:                                      PHPMailer 5.2.1 (http://code.google.com/a/apache-extras.org/p/phpmailer/)
  MIME-Version:                                  1.0
  Content-Type:                                  multipart/alternative; boundary="b1_c1cda419821941f74a72b6aa5b9c93e9"




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   2/2
                                                                                                                                          6
     Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 110 of 258 Page ID
                                       #:3689
                                                                               My JustFly Reservation


                                      Flights     Hotels     Cars                       fi!i!!E USO     Support   My Trips   Robert




  Welcome, Robert!

  My itinerary            Airline confirmation codes




  Flight information


     Travellers
     See an incorrect name? Please chat with us. Fees may apply.



       Passenger 1
     Robert Paul Rundo
     4/28/1995
     Female




  Billing


     Price Summary                                                                                                           Chat with us

     Date                                                           Receipt#                                                 Amount


https://www.justfly.com/service/porta1/detail/f629349957fc447be538e71b0ae90b74                                                              1/2


                                                                                                                                       7
     Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 111 of 258 Page ID
                                       #:3690
                                                                             My JustFly Reservation
     October 9th, 2018 1:10 AM                                   #109147931                           $464.40 USO

    Total Charged:                                                                                                  $464.40 USO


     Please note: Your credit card may be billed in multiple charges totalling the above amount.




https://www.justfly.com/service/porta1/detail/f629349957fc447be538e71b0ae90b74                                                    2/2


                                                                                                                            8
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 112 of 258 Page ID
                                  #:3691




                            Exhibit 15
             Case 2:18-cr-00759-CJC Your
                                    Document        392-2for New
                                         United reservation   Filed
                                                                 York,04/12/24
                                                                       NY, US (LGA -Page  113
                                                                                    LaGuardia)    of 258 Page ID
                                                                                               is processing
                                                         #:3692
  From:                         "United Airlines, Inc." <unitedairlines@united.com>
  Sent:                         10/9/2018 8:26:42 AM -0500
  To:                           robertrundo@gmail.com
  Subject:                      Your United reservation for New York, NY, US (LGA - LaGuardia) is processing




    Add UnitedAirlines@news.united.com to your address book. See instructions.




                                                                                       Tuesday, October 09, 2018




        Thank you for choosing United
                     Advance seat assignments are currently restricted for this flight, but you
                     may be able to select a seat at a later time or date.



                     We're processing your reservation and will send you an eTicket Itinerary and Receipt email
                     once completed. This process usually takes less than an hour, but in rare cases it could take
                     longer. If you don’t receive an eTicket Itinerary and Receipt email within 24 hours, please call
                     the United Customer Contact Center




         Confirmation number:                                                Orange County, CA, US (SNA)
                                                                     to New York, NY, US (LGA - LaGuardia)



         L323VZ                                                                     Manage reservation




         Purchase summary
         1 Adult (18-64)                                                                                     $140.47
         Taxes and fees                                                                                       $33.33
         Total                                                                                               $173.80
         Credit card payment: $173.80 (Visa-**5390)




         Trip summary

        Tue, Oct 09, 2018



                    UA 2401                                                                         1 Connection
                                                                                                     6h 52m total
                                                                                                 Duration: 2h 18m

             8:27 am                                       11:45 am                            United Economy (L)
                                                                                              Snacks for Purchase
             Orange County, CA, US                         Denver, CO, US (DEN)
             (SNA)


                                                           50m Layover


                    UA 1412
                                                                                                                                      1
file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   1/4
            Case 2:18-cr-00759-CJC Your
                                   Document        392-2for New
                                        United reservation   Filed
                                                                York,04/12/24
                                                                      NY, US (LGA -Page   114
                                                                                    LaGuardia)    of 258 Page ID
                                                                                               is processing
                                                        #:3693 Duration: 3h 44m
            12:35 pm                6:19 pm                      United Economy (L)
                                                                 Meals for purchase
            Denver, CO, US (DEN)                                      New York, NY, US (LGA -
                                                                      LaGuardia)




         Travelers
         Robert Rundo              SNA to DEN          --                   Email address:          robertrundo@gmail.com
                                   DEN to LGA         35A                   Home phone:             +1 3479970024




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         Secure more legroom for
         your flight today.



         Learn More




        Additional trip planning tools
        Baggage Policies: View current baggage acceptance allowances.
        Passport and Visa Information: International Travel Documentation requirements



        Carry-on baggage allowed
        United accepts the following items, per customer to be carried on the aircraft at no charge:

        One carry-on bag no more than 45 linear inches or 114 linear centimeters
        One personal item (such as a shoulder or laptop bag)

        Due to FAA regulations, operating carriers may have different carry-on requirements. Please check with
        the operating carrier for more information or go to united.com/baggage.



        Checking bags for this itinerary

        Checked baggage service charges are collected at any point in the itinerary where bags are checked.
        The bag service charges below reflect a maximum outside linear dimension of 62 linear inches (157 cm).

        First and second baggage service charges
        per traveler as listed below:                       1st bag                2nd bag              Weight per bag
                                                                        per                  per
               Tue, Oct 09, 2018
                                                            $30         traveler   $40       traveler   50 lbs (23 kgs)
              Orange County, CA, US (SNA)
              to New York, NY, US (LGA - LaGuardia)

         These amounts represent an estimate of the first and second checked baggage service charges that
         may apply to your itinerary. If your itinerary contains multiple travelers, the service charges may vary by
         traveler, depending on status or memberships.


         First and second bag service charges do not apply to active-duty members of the U.S. military and their
         accompanying dependents. For additional information regarding baggage charges, allowances,
                                                                                                                                      2
file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   2/4
               Case 2:18-cr-00759-CJC Your
                                      Document        392-2for New
                                           United reservation   Filed
                                                                   York,04/12/24
                                                                         NY, US (LGA -Page  115
                                                                                      LaGuardia)    of 258 Page ID
                                                                                                 is processing
                                                           #:3694
           weight/size restrictions, exceptions or embargoes, or charges for overweight, oversized, excess, odd-
           sized baggage, special items or sporting equipment, visit united.com/baggage.


           Check Your First Bag for Free
                                            Save up to $100 per roundtrip. The primary Cardmember and one
                                            companion on the same reservation can check their first standard bag
                                            free on United-operated flights when purchasing tickets with their
                                            Explorer Card. Terms apply.

                                            Learn more



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    The information contained in this e-mail is intended for the original recipient only.

    United MileagePlus
    900 Grand Plaza Dr.
    Houston, TX 77067 USA




  Delivered-To:                                                     robertrundo@gmail.com
  Received:                                                         by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp4836345wrt; Tue, 9 Oct 2018 06:26:43 -0700
                                                                    (PDT)
  X-Google-Smtp-Source:                                             ACcGV611wFQnk/qcY4ftDpwrCELBS0V5djdMBEvqLbriCGqRZ7C1vQNHjls0QGqLMTTJlL+r0kCE
  X-Received:                                                       by 2002:a24:cd02:: with SMTP id l2-v6mr1746119itg.70.1539091603014; Tue, 09 Oct 2018 06:26:43
                                                                    -0700 (PDT)
  ARC-Seal:                                                         i=1; a=rsa-sha256; t=1539091602; cv=none; d=google.com; s=arc-20160816;
                                                                    b=NkQGKIA7Q/oyeSjm8V3f4trg9JlpyZjQF2w7V116m+sMbr04oATbiJsLVU9syElSFq
                                                                    tS9pi+8LngE930ot2QaCOTZJJ3mYVRUd59JQHDNifgLe8G6rur0yE7aGq1tLO5SLomrj
                                                                    YkrIEKW61m1wjQMw3MlGrAvaXGQLOo47/Y2vbXxqDpIZcdPz3BQ32Ozhp8utUloagc9B
                                                                    ukcWxDUwWNJ9TKnOfpkFLXVufZkNz3w0rz+dH4u0xpASchEP4Lsy95sDbyVJfMMnkSTE
                                                                    v7Cy0PhhJNrXiCkaDbyURSmbtHW+NkfgqozL4qUUEyQPglWdggD7PRxbc0noEw9/bS44 K5hw==
  ARC-Message-Signature:                                            i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=content-transfer-
                                                                    encoding:subject:date:to:from:message-id :mime-version;
                                                                    bh=HbRlTIIuTFz2lWjk4eFMg39bb2ecjCC2mouXlgCAWac=;
                                                                    b=hkr7WXyZPUGy9eyoXSRJ3jrCPi22IAW42EH4W1TfYMjtLMVkegP+PdDsi6qu/T++Da
                                                                    Iq3jleDfMv4Omf/LaRqIx4OZ7eZJVxAOYFxYqRIKoVteblCtljQJw5NA1C6BRgt5m3R7
                                                                    oqyzbsfPAVGoN/HkZDLxxIrNoJLhvzT/HOqH1c+fM28/SR3BDn/J23n8CpN23/9RjFOG
                                                                    UihjuG1t7/Bahz0KOqMny7MFr/Z9i/9JoXVwHCZLLeDEKmk31qTuLLjpHK4dz5E5iwrq
                                                                    NfvX7WUw+mbRzQTv7S0u8RlQj2QxIu3vVamrthXgDiYwVFZyel5P+o6MU9ViBQYSMsvf YI4g==
  ARC-Authentication-Results:                                       i=1; mx.google.com; spf=pass (google.com: domain of unitedairlines@united.com designates
                                                                    12.169.195.44 as permitted sender) smtp.mailfrom=unitedairlines@united.com; dmarc=pass
                                                                    (p=NONE sp=NONE dis=NONE) header.from=united.com
  Return-Path:                                                      <unitedairlines@united.com>
  Received:                                                         from mx2.coair.com (mx2.coair.com. [12.169.195.44]) by mx.google.com with ESMTPS id d67-
                                                                    v6si3257764itc.24.2018.10.09.06.26.42 for <robertrundo@gmail.com> (version=TLS1_2
                                                                    cipher=ECDHE-RSA-AES128-GCM-SHA256 bits=128/128); Tue, 09 Oct 2018 06:26:42 -0700 (PDT)
  Received-SPF:                                                     pass (google.com: domain of unitedairlines@united.com designates 12.169.195.44 as permitted
                                                                    sender) client-ip=12.169.195.44;
  Authentication-Results:                                           mx.google.com; spf=pass (google.com: domain of unitedairlines@united.com designates
                                                                    12.169.195.44 as permitted sender) smtp.mailfrom=unitedairlines@united.com; dmarc=pass
                                                                    (p=NONE sp=NONE dis=NONE) header.from=united.com
  X-AuditID:                                                        0af0cd2e-c73ff7000000165f-ac-5bbcac92d24a
  Received:                                                         from VUCOM2DPCSLWS52 (Unknown_Domain [10.232.101.11]) by mx2.coair.com (Symantec
                                                                    Messaging Gateway) with SMTP id C5.88.05727.29CACBB5; Tue, 9 Oct 2018 09:26:42 -0400 (EDT)
  MIME-Version:                                                     1.0
  Message-ID:                                                       <C5.88.05727.29CACBB5@mx2.coair.com>
  Content-Type:                                                     text/html; charset=utf-8
  Content-Transfer-Encoding:                                        base64

                                                                                                                                                     3
file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…                  3/4
            Case 2:18-cr-00759-CJC Your
                                    Document       392-2for New
                                        United reservation   Filed
                                                                York,04/12/24
                                                                      NY, US (LGA -Page  116
                                                                                   LaGuardia)    of 258 Page ID
                                                                                              is processing
  X-Brightmail-Tracker:                                 #:3695
                                   H4sIAAAAAAAAA+NgFnrMJMWRmVeSWpSXmKPExsXC9SKVW3fSmj3RBpc2y1gs633P5sDosXPW
                                                XfYAxigum5TUnMyy1CJ9uwSujB/rjrMVfHrIWnGt5RpLA+OTM6xdjJwcEgImElNbdzN1MXJx
                                                CAnsYJQ4+r2bESTBKyAocXLmExYI20DiyLF3QA0cHGwClhJf7suBhEUEJCX+zJrCDGKzCMhL
                                                7GheygZiCwuES3z+ugKsnFlATWJZqxJImFlAUWJK90P2CYxcs5AsmIVQNQtJ1QJG5lWM4mXJ
                                                xbnJRkUFuenFBoZ6yfmJmUVAMncTI8jrH87q7WB8u9TjEKMAB6MSD++MvN3RQqyJZcWVuYcY
                                                JTiYlUR4RbfvihbiTUmsrEotyo8vKs1JLT7EKM3BoiTOu2jzlmghgfTEktTs1NSC1CKYLBMH
                                                p1QDI8eR/NBKRt/LlybOnX0t0mGxbrXHoYN7WxYZX1wwvU+e2+XEghcfDFfu4JMXbqh0PRXz
                                                8cqrxox/Rqx7G5L+/BaYuHry7gxXzbLNdjfPnzhWYOxsfHfirhSW+HlKPXdP+Z1b5tmrEuBm
                                                8+/bBo37kS9fxH91eqaisO5QreKHgiWGnQkPi4SiPJRYijMSDbWYi4oTAdEraCX2AQAA




                                                                                                                                      4
file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   4/4
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 117 of 258 Page ID
                                  #:3696




                            Exhibit 16
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 118 of 258 Page ID
                                           #:3697
10/10/2018 1:47:47 PM(UTC-7)Direction:Incoming, CN3J35T7 (johnny) => To: robtheroman robtheroman (robtheroman)
I really wish you jad a lawyer figure out what was going on before you fled
Participants:

   Participant                            Delivered                            Read                                  Played
   robtheroman robtheroman

Status: Read
Delivered: 10/10/2018 1:47:47 PM(UTC-7)
Source file: rome’s iPhone/Applications/group.ch.threema/ThreemaData.sqlite : 0x4C645 (Table: ZMESSAGE, ZCONTACT, Size: 2211840 bytes)
rome’s iPhone/Applications/group.ch.threema/Library/Preferences/group.ch.threema.plist : 0x8EE (Size: 14044 bytes)
10/10/2018 1:54:44 PM(UTC-7)Direction:Incoming, CN3J35T7 (johnny) => To: robtheroman robtheroman (robtheroman)
You still dont know what the warrant was for
Participants:

   Participant                            Delivered                            Read                                  Played
   robtheroman robtheroman

Status: Read
Delivered: 10/10/2018 1:54:44 PM(UTC-7)
Source file: rome’s iPhone/Applications/group.ch.threema/ThreemaData.sqlite : 0x4C438 (Table: ZMESSAGE, ZCONTACT, Size: 2211840 bytes)
rome’s iPhone/Applications/group.ch.threema/Library/Preferences/group.ch.threema.plist : 0x8EE (Size: 14044 bytes)
10/10/2018 1:55:35 PM(UTC-7)Direction:Outgoing, robtheroman (robtheroman)
The search warrent?
Status: Sent
Delivered: 10/10/2018 1:55:37 PM(UTC-7)
Source file: rome’s iPhone/Applications/group.ch.threema/ThreemaData.sqlite : 0x4C262 (Table: ZMESSAGE, Size: 2211840 bytes)
rome’s iPhone/Applications/group.ch.threema/Library/Preferences/group.ch.threema.plist : 0x8EE (Size: 14044 bytes)
10/10/2018 1:55:43 PM(UTC-7)Direction:Incoming, CN3J35T7 (johnny) => To: robtheroman robtheroman (robtheroman)
Ya
Participants:

   Participant                            Delivered                            Read                                  Played
   robtheroman robtheroman

Status: Read
Delivered: 10/10/2018 1:55:43 PM(UTC-7)
Source file: rome’s iPhone/Applications/group.ch.threema/ThreemaData.sqlite : 0x4C1FF (Table: ZMESSAGE, ZCONTACT, Size: 2211840 bytes)
rome’s iPhone/Applications/group.ch.threema/Library/Preferences/group.ch.threema.plist : 0x8EE (Size: 14044 bytes)
10/10/2018 1:55:53 PM(UTC-7)Direction:Outgoing, robtheroman (robtheroman)
It was for harresment and to terrorize me
Status: Sent
Delivered: 10/10/2018 1:55:53 PM(UTC-7)
Source file: rome’s iPhone/Applications/group.ch.threema/ThreemaData.sqlite : 0x4C181 (Table: ZMESSAGE, Size: 2211840 bytes)
rome’s iPhone/Applications/group.ch.threema/Library/Preferences/group.ch.threema.plist : 0x8EE (Size: 14044 bytes)
10/10/2018 1:56:26 PM(UTC-7)Direction:Incoming, CN3J35T7 (johnny) => To: robtheroman robtheroman (robtheroman)
Thats not a reason to run
Participants:

   Participant                            Delivered                            Read                                  Played
   robtheroman robtheroman

Status: Read
Delivered: 10/10/2018 1:56:26 PM(UTC-7)
Source file: rome’s iPhone/Applications/group.ch.threema/ThreemaData.sqlite : 0x4FF54 (Table: ZMESSAGE, ZCONTACT, Size: 2211840 bytes)
rome’s iPhone/Applications/group.ch.threema/Library/Preferences/group.ch.threema.plist : 0x8EE (Size: 14044 bytes)
10/10/2018 1:57:22 PM(UTC-7)Direction:Outgoing, robtheroman (robtheroman)
For me it is
Status: Sent
Delivered: 10/10/2018 1:57:22 PM(UTC-7)
Source file: rome’s iPhone/Applications/group.ch.threema/ThreemaData.sqlite : 0x4FD8D (Table: ZMESSAGE, Size: 2211840 bytes)
rome’s iPhone/Applications/group.ch.threema/Library/Preferences/group.ch.threema.plist : 0x8EE (Size: 14044 bytes)
10/10/2018 1:57:39 PM(UTC-7)Direction:Outgoing, robtheroman (robtheroman)
Anyway u can come visits me in Cuba
Status: Sent
Delivered: 10/10/2018 1:57:39 PM(UTC-7)
Source file: rome’s iPhone/Applications/group.ch.threema/ThreemaData.sqlite : 0x4FD15 (Table: ZMESSAGE, Size: 2211840 bytes)
rome’s iPhone/Applications/group.ch.threema/Library/Preferences/group.ch.threema.plist : 0x8EE (Size: 14044 bytes)
10/10/2018 1:58:09 PM(UTC-7)Direction:Outgoing, robtheroman (robtheroman)
And like I said these media are just saying what ever the fuck they want they are going to make us Terri it's
Status: Sent
Delivered: 10/10/2018 1:58:09 PM(UTC-7)
Source file: rome’s iPhone/Applications/group.ch.threema/ThreemaData.sqlite : 0x4FC53 (Table: ZMESSAGE, Size: 2211840 bytes)
rome’s iPhone/Applications/group.ch.threema/Library/Preferences/group.ch.threema.plist : 0x8EE (Size: 14044 bytes)




                                                                                                                                             18
                                                                                                                                         1
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 119 of 258 Page ID
                                  #:3698




                            Exhibit 17
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 120 of 258 Page ID
                                           #:3699
                                                                 Booking 13811237: Confirmed — E-ticket Attached


  From:                         "Kiwi.com" <tickets@kiwi.com>
  Sent:                         10/10/2018 9:34:07 PM +0000
  To:                           robertrundo@gmail.com
  Subject:                      Booking 13811237: Confirmed — E-ticket Attached
  Attachments:                  E-ticket_passenger_8672ad6593d5ca833d8aa4475c178181.pdf




                                                                                                  For more info, visit our
                                                                                                             Help Centre


                                    Booking number:                             Booking status:

                                    13811237                                        CONFIRMED
                                    Passengers (1):                             Baggage:

                                    Robert Rundo Paul                                 1x Cabin baggage 7 kg
                                                                                         55 × 25 × 40 cm

                                                                                      1x Personal item 3 kg
                                                                                         40 × 23 × 30 cm




                                                    Confirmed — E-ticket Attached
                                 Your booking was successful. Print the attached e-ticket and bring it with you on
                                 the trip.
                                 Through Manage My Booking, you can change your flights, update your
                                 information, download your documents, and order additional services like allocated
                                 seating and insurance.



                                                           Enter Manage My Booking




                                          Tijuana - Tijuana International TIJ            Thu Oct 11, 2018        05:00

                                          Monterrey - Monterrey International            Thu Oct 11, 2018        09:54
                                          MTY
                                    Airline: Volaris
                                    Important:
                                    Online check-in is not available for this flight. You must check in at the airport
                                    using your printed e-ticket which you can download below.
                                    We strongly recommend arriving at the airport at least two hours before the
                                    scheduled departure.



                                          Monterrey - Monterrey International            Thu Oct 11, 2018        11:45
                                          MTY
                                          Mexico City - Mexico City International        Thu Oct 11, 2018        13:15
                                          MEX
                                    Airline: Interjet
                                    Important:
                                    Your e-ticket is being issued and will be ready to download within 8 hour(s).
                                    We'll send it to you as soon as it's available.




                                    Booked by                    Robert rundo Paul


file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   1/3
                                                                                                                                          1
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 121 of 258 Page ID
                                           #:3700
                                                              Booking 13811237: Confirmed — E-ticket Attached

                                    Email                      robertrundo@gmail.com

                                    Total paid                 184 USD



                                 Important information:
                                 Recheck your baggage: low-cost carriers and some airlines will not do this for
                                 you. More Info
                                 Visas and documentation: it's your responsibility to ensure that you have the
                                 correct visas, tickets, and boarding passes. Visa Info




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                                             For complete flight info, boarding passes, seating and much
                                                   more, click below to visit Manage My Booking.



                                                         Enter Manage My Booking




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                                                                            Visit our Help Centre for answers. Or contact our
                                                                            Customer Support Team — we're available 24/7.


                                                                                                              www.kiwi.com




  Delivered-To:                                  robertrundo@gmail.com
  Received:                                      by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp1618705wrt; Wed, 10 Oct 2018 14:34:10 -0700
                                                 (PDT)
  X-Google-Smtp-Source:                          ACcGV61y8ecl10e2x12hD8ZhKJeJ6AtTXL557luqLAodsQ/5l6MJjC/IaMiCiOOlNI6sYOgQYKN8
  X-Received:                                    by 2002:a25:5d0f:: with SMTP id r15-v6mr19815202ybb.36.1539207249332; Wed, 10 Oct 2018
                                                 14:34:09 -0700 (PDT)
  ARC-Seal:                                      i=1; a=rsa-sha256; t=1539207249; cv=none; d=google.com; s=arc-20160816;
                                                 b=ITejsXfUIR2UyYia6MYgGsbEvsFgyJnDTaL/4LL1LKd4DWLDibVEOTx3zpldSwsl1m
                                                 a6OCSkwz0pDlG/zx1qqw3wYm9q/zC+jw+qwIdsOibd5zcica9vUO2WKM62n7KYZ44Q9l
                                                 G2j5Qba1BFw9+ltbJM01nLngkNNHeSGs+KwqDQ4skVsORnUj59B3JCTC9byIkSLNEskd
                                                 GA0SPN7DC/STlbPJyTzYH/0Hn6Nqpng2nhElu+GdAW3q2b0AooRCQtHuofFm184UWFnS
                                                 IisCle3L1xfj9T+7RyBL9Jjvr5SrKyBG2zjiVfBehhb/2RoWEKDXmzSyGeco3ufHrhDd lvMg==
  ARC-Message-Signature:                         i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=mime-
                                                 version:date:message-id:to:subject:from:dkim-signature :dkim-signature;
                                                 bh=3NaCn3UHD3Xi8KijGzOp7CRW6ojbJIbVYHTaJNYoxb4=;
                                                 b=Zg/+HGOaK2gMQrb2298Sh1ARN0kbiAFALYK9ouydQ6KdXhGF/1+PM/QlUNpHigx7gR
                                                 erq2Cy+eommFF681iTuIJxsXTCfa5ihO/IdeOtMHI4CbOR8bwJu2ZaDltOrSTFJzQEZk

file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   2/3
                                                                                                                                          2
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 122 of 258 Page ID
                                           #:3701
                                                              Booking 13811237: Confirmed — E-ticket Attached
                                                zmNPlvzUkIpDvLZmGibzhev2zBisg7RKWNHGlA+dp1nsaerI4O8jtKohxQB38ujZnyhi
                                                flYgbGExCbrSEhXSqyR5Iy/pKdZSAxgMjdm5wxaUsZlQwlMu9J0sFHzunQwFuZuwAx+J
                                                Xyg2nxpBapdynVV3rUmS9cTc4I+2mM+vyqUTJ4BmWkSBns7f4PIYQpOhF3ggwDlo+I/T trSw==
  ARC-Authentication-Results:                   i=1; mx.google.com; dkim=pass header.i=@kiwi.com header.s=mandrill header.b=STpmGMyS;
                                                dkim=pass header.i=@mandrillapp.com header.s=mandrill header.b=oTlg+Pvi; spf=pass (google.com:
                                                domain of bounce-md_30178145.5bbe704f.v1-
                                                10aa5279cb0a4b86ae1a0a7f5fa13177@mandrillapp.com designates 198.2.135.10 as permitted
                                                sender) smtp.mailfrom=bounce-md_30178145.5bbe704f.v1-
                                                10aa5279cb0a4b86ae1a0a7f5fa13177@mandrillapp.com
  Return-Path:                                  <bounce-md_30178145.5bbe704f.v1-10aa5279cb0a4b86ae1a0a7f5fa13177@mandrillapp.com>
  Received:                                     from mail135-10.atl141.mandrillapp.com (mail135-10.atl141.mandrillapp.com. [198.2.135.10]) by
                                                mx.google.com with ESMTPS id g131-v6si6493256ybg.130.2018.10.10.14.34.09 for
                                                <robertrundo@gmail.com> (version=TLS1_2 cipher=ECDHE-RSA-AES128-GCM-SHA256
                                                bits=128/128); Wed, 10 Oct 2018 14:34:09 -0700 (PDT)
  Received-SPF:                                 pass (google.com: domain of bounce-md_30178145.5bbe704f.v1-
                                                10aa5279cb0a4b86ae1a0a7f5fa13177@mandrillapp.com designates 198.2.135.10 as permitted
                                                sender) client-ip=198.2.135.10;
  Authentication-Results:                       mx.google.com; dkim=pass header.i=@kiwi.com header.s=mandrill header.b=STpmGMyS; dkim=pass
                                                header.i=@mandrillapp.com header.s=mandrill header.b=oTlg+Pvi; spf=pass (google.com: domain of
                                                bounce-md_30178145.5bbe704f.v1-10aa5279cb0a4b86ae1a0a7f5fa13177@mandrillapp.com
                                                designates 198.2.135.10 as permitted sender) smtp.mailfrom=bounce-md_30178145.5bbe704f.v1-
                                                10aa5279cb0a4b86ae1a0a7f5fa13177@mandrillapp.com
  DKIM-Signature:                               v=1; a=rsa-sha256; c=relaxed/relaxed; s=mandrill; d=kiwi.com; h=From:Subject:To:Message-
                                                Id:Date:MIME-Version:Content-Type; i=tickets@kiwi.com;
                                                bh=3NaCn3UHD3Xi8KijGzOp7CRW6ojbJIbVYHTaJNYoxb4=;
                                                b=STpmGMySzIP5zMHMxZ3+99OWiQ18wDCjpbSH/lmzPtpg4L3ms2QlF4Kh1F9CZKhiLSEr26wcJbEl
                                                CTglbcfnGalTIoAVBWivWVoa4lTk87Eyofwbx1Ll4mHmljr4EeR/3BVAN4Q9316Tdb9YE5ZuShCs
                                                poENEjJGL4zzfsNpqQ0=
  Received:                                     from pmta03.mandrill.prod.atl01.rsglab.com (127.0.0.1) by mail135-10.atl141.mandrillapp.com id
                                                hnpo521sau81 for <robertrundo@gmail.com>; Wed, 10 Oct 2018 21:34:09 +0000 (envelope-from
                                                <bounce-md_30178145.5bbe704f.v1-10aa5279cb0a4b86ae1a0a7f5fa13177@mandrillapp.com>)
  DKIM-Signature:                               v=1; a=rsa-sha256; c=relaxed/relaxed; d=mandrillapp.com; i=@mandrillapp.com; q=dns/txt;
                                                s=mandrill; t=1539207247; h=From : Subject : To : Message-Id : Date : MIME-Version : Content-Type :
                                                From : Subject : Date : X-Mandrill-User : List-Unsubscribe;
                                                bh=3NaCn3UHD3Xi8KijGzOp7CRW6ojbJIbVYHTaJNYoxb4=;
                                                b=oTlg+Pvi8CY6h89fI4VYLc7QGuC+wsqdyjbSTaQ1lca35a3g2EbepePbxEdXZ4N/dqWGk+
                                                aRp8z86je4H92ysidJGm1SX/4UMqCaf8kPoqWXlyjI2lpT2cMNsnO4Vd8uJaJcTP2btdeKA2
                                                cIAk9IJsCJd7BabP5FCrphUpgdglQ=
  Return-Path:                                  <bounce-md_30178145.5bbe704f.v1-10aa5279cb0a4b86ae1a0a7f5fa13177@mandrillapp.com>
  Received:                                     from [52.16.237.132] by mandrillapp.com id 10aa5279cb0a4b86ae1a0a7f5fa13177; Wed, 10 Oct 2018
                                                21:34:07 +0000
  X-Report-Abuse:                               Please forward a copy of this message, including all headers, to abuse@mandrill.com
  X-Report-Abuse:                               You can also report abuse here: http://mandrillapp.com/contact/abuse?
                                                id=30178145.10aa5279cb0a4b86ae1a0a7f5fa13177
  X-Mandrill-User:                              md_30178145
  Message-Id:                                   <30178145.20181010213407.5bbe704fb3ec44.00121005@mail135-10.atl141.mandrillapp.com>
  MIME-Version:                                 1.0
  Content-Type:                                 multipart/mixed; boundary="_av-mzR2eXvNRD65jKComTfNUA"




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   3/3
                                                                                                                                          3
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                                  #:3702




                            Exhibit 18
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 124 of 258 Page ID
                                           #:3703
                                                Booking Confirmed - Flyfar.ca Electronic Ticket - Interjet - Booking Confirmation ND5KYQ


  From:                     Flyfar Sales Department<sales@flyfar.ca>
  Sent:                     10/10/2018 5:40:24 PM -0400
  To:                       robertrundo@gmail.com
  Subject:                  Booking Confirmed - Flyfar.ca Electronic Ticket - Interjet - Booking Confirmation ND5KYQ




                         FlyFar Logo
                      Summary of your Booking/Request is below.
                                                                                                         Date of Transaction: Wed Oct 10 17:40 PM

                       TICKET DETAILS:                                                                       Flyfar.ca Booking ID:7434752


                      Your flight has been booked with Interjet.

                      This email is your electronic ticket to be presented at airport check-in.
                      Online check-in begins 24 hours prior to departure and ends an hour prior to your flight's scheduled departure.

                      Your Interjet Booking ID: ND5KYQ
                      > Reference this number when contacting Interjet or via Online/Airport Check-in.

                      Your FlyFar.ca Booking ID: 7434752
                      > Reference this number when contacting FlyFar.ca


                       PASSENGER INFORMATION:


                         Adult :                 Mr Robert Paul Rundo (Age 28 )


                       DETAILS:

                       Flight Details                                                           Reference/ Confirmation #: ND5KYQ

                      Depart Flight : Thursday October 11, 2018
                       Departs:                             Arrives:                                         Airline:

                       Mexico City - Benito Juarez        Havana - Jose Marti International                  Interjet # 2902
                       International (MEX)                (HAV)
                       Thu Oct 11 3:15pm                  Thu Oct 11 6:50pm
                       Flight Duration : 2h 35m | Economy


                      Reconfirm Your Flights
                      It is your responsibility to reconfirm your flight times with Interjet(4O) at least 24 hours prior to your flight departure.
                      You can also check with your local airport authority for flight status and timings. FlyFar.ca is not responsible for last
                      minute schedule changes made within 48 hours prior to departure. For more information on schedule changes
                      please visit our Terms and Conditions.

                      Suggested Check in times:
                      Within Canada - 60-90 minutes prior to departure
                      To/From US - 90-120 minutes prior to departure
                      To/From International - 180-210 minutes prior to departure

                       Insurance Details                                                                                             DECLINED


                      You have DECLINED travel Insurance. Travel insurance is designed to make travel a worry-free experience.
                      Emergencies can occur even to the most well prepared of frequent traveller. Travel insurance protects you against
                      these unforeseen incidents and ensures that financial help is readily available to you. Purchasing travel insurance is
                      purchasing 'Peace of mind'. For assistance contact our offices at 1-888-775-1099.

                      IMPORTANT NOTE:
                      As of May 1, 2010 travellers must hold proof of health insurance to enter Cuba. Those who
                      cannot provide proof of coverage will be required to purchase health insurance from a Cuban
                      insurance company upon arrival at the Cuban Airport.




                       PAYMENT DETAILS:



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                                                                                                                                                     1
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 125 of 258 Page ID
                                           #:3704
                                                   Booking Confirmed - Flyfar.ca Electronic Ticket - Interjet - Booking Confirmation ND5KYQ
                       Breakdown of Flight Charges


                       Traveller Type              # of Travellers        Fare                 Taxes & Fees                              Total
                       Adult                              1            USD $ 197.04             USD $ 91.40                       USD $ 288.44
                                                                                              Total Charges for Flight            USD $ 288.44
                       Flight charges include a Flyfar Booking Fee

                       Traveller Name                                                                    Type of Bags                     Total
                       Robert Rundo                                                                      Carryon Bags                USD $ 0.00

                                                                                              Total Baggage Charges:                 USD $ 0.00


                       Summary of All Charges


                       Total Charges for all Passengers & Flights                                                                 USD $ 288.44

                                                                                                                Grand Total       USD $ 288.44



                      Your credit card will be charged an approximate total of USD $ 288.44 which includes the base fare, taxes and all
                      surcharges.

                      Important:
                      * Any Coupon Codes applied will be processed as a refund immediately after booking and will appear on your
                      statement within 2-3 business days.

                      ** Any instant or Honoured Discounts applied will be processed as a refund immediately after booking and will
                      appear on your statement within 2-3 business days.

                      Disclosure: Terms and Conditions
                      By making this booking you have accepted the Flyfar.ca's Terms and Conditions and which covers important
                      topicsand which covers important topics like Passports/Visas, Cancellations, Changes and Check-in Times. You
                      understood that even after pressing the Purchase Button that a reservation is not confirmed until receiving a
                      confirmation email mentioning this. You have verified robertrundo@gmail.com is the correct email address.

                      If your credit card payment is declined or if you have not provided us accurate credit card billing information, your
                      reservation is liable to be cancelled without notice. Proof of documents for bookings using third party credit cards
                      may be required.


                       CONTACT/BILLING DETAILS:

                       Contact Name:                    Robert Rundo
                       Email:                           robertrundo@gmail.com
                       Telephone:                       347-997-9924 (Home)
                       Billing Address :                16761 viewpoint lane , Huntington Beach , CA , 92647 , US

                       CHANGES AND CANCELLATIONS:

                      Changes :
                      The minimum change fee for your flight is CAD $100, per passenger, plus any fare difference if permitted by airline.
                      In most cases, tickets are Non-Refundable and Non-Changeable. If airlines do permit changes, their fees can range
                      from $150 - $500 plus any difference in fare along with the additional fee quoted.

                      Cancellations:
                      FlyFar.ca will waive all airline and Flyfar.ca penalties from the date of purchase [EST] up to 11:59 pm EST on that
                      same day if Best Purchase Guarantee is purchased for a fee at the time of Booking. This does not apply to select
                      Charter airline penalties as particular fees must be charged and therefore cannot be waived by Flyfar.ca.

                      Change & Cancellation Penalty Information
                      After 11:59 pm EST , change and cancellation penalties will apply to all bookings. Flight dates and times may be
                      changed with most airlines for an additional fee which can begin at $250 per ticket plus any difference in the fare.
                      For cancellations, the remaining funds may be available within one year of the cancellation however, please note
                      that the travel credit is available only to the passenger listed on the original ticket. This option does not apply to all
                      airlines.

                      No Shows:
                      Customers who do not appear or 'no show' for their flight will forfeit the entire fare paid. To avoid this, please contact
                      FlyFar.ca at least 3 hours before the original departure time of your flight to check the exact fare rules of your ticket.
                      If you arrive at the airport late or are denied boarding you will again forfeit the entire fare paid.


                       MANDATORY INFORMATION:

                      Important Information Please Read

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                                                                                                                                                   2
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 126 of 258 Page ID
                                           #:3705
                                                Booking Confirmed - Flyfar.ca Electronic Ticket - Interjet - Booking Confirmation ND5KYQ
                      ========================================================================================
                      Please double check your booking information in this email to verify the flight details and the passenger names,
                      ensuring they appear as per the passport for international travel and as per photo ID for domestic travel.

                      If there is a problem, please call us at 1-888-775-1099 as soon as possible. We're open 24/7.

                      Your booking is subject to the terms and conditions of our website. Please reconfirm check-in cut off times with the
                      airline directly. All flights must also be reconfirmed with the relevant airlines at least 24 hours prior to the
                      commencement of that leg of the journey unless specifically informed otherwise by that airline.

                      Passports/Visas/Health Requirements:
                      Please note that many countries require that your passport be valid for a period of (a minimum) six months beyond
                      your return date. You should ensure that you meet the passport, visa, affidavit, health and other requirements of the
                      countries you wish to visit and those that you transit (even if it is for a plane change). We accept no responsibility if
                      you should be denied boarding or deported for any reason, including your age.

                      Please check the documentation and/or inoculations needed for your destination(s).

                      For further questions regarding travel documentation please contact Flyfar.ca directly. Our office is open 24/7 for
                      your convenience.

                      Baggage Allowance and Restrictions:
                      In order to avoid paying higher baggage fees at the airport, please select your baggage in advance by visiting your
                      operating airline's website directly in advance of your departure. Please check your electronic ticket for baggage
                      allowances. Baggage allowance and restrictions apply to all airlines and are subject to change at any time. If you
                      have questions about baggage contact the airline you are travelling with directly to verify the specific baggage
                      restrictions. Click Here for telephone numbers for most airlines or visit http://www.flyfar.ca/airlinenumbers.shtml

                      Check-in
                      Please check-in 24 hours before you depart by visiting your operating airline's website directly to avoid paying any
                      additional fees at the airport. Some airlines are now charging fees to print boarding passes at the airport.

                      Advanced Seat Selection: Advanced seat selection is available on some airlines and is subject to availability and
                      the fare type booked. If you are unable to obtain advanced seat selection online, the airlines do hold a percentage of
                      seats until the day of departure for airport check-in. Customers with special needs should contact the operating
                      airline directly for their seating needs. Advanced seat selection is subject to change at any time and is fully controlled
                      by the operating airline(s).

                      Thank you for booking with Flyfar.ca

                      In the event that the airline is unable to process your credit card directly, we will attempt to charge your card
                      internally which will result in the total amount being transacted in Canadian (CAD) dollars.

                      Flyfar.ca
                      3100 Ridgeway Drive
                      Unit #16
                      Mississauga ON, L5L 5M5
                      Tel: (1-888)775-1099
                      Frequently Asked Questions

                      CONFIDENTIALITY NOTICE: This email message, including any attachments may contain confidential and privileged
                      information intended only for the person(s) named above.If you are not the intended recipient or have received this
                      message in error, please notify the sender immediately by reply e-mail and permanently delete the original
                      transmission from us, including any attachments, without disseminating, distributing or making a copy. Any
                      unauthorized review; use or disclosure is prohibited. Thank you.




                                              Flyfar.ca | 16-3100 Ridgeway Drive | Mississauga | ON | L5L 5M5 | Toll Free: 1-888-775-1099
                                                                         Ontario TICO Registration: 3392505




  Delivered-To:                                        robertrundo@gmail.com
  Received:                                            by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp1624274wrt; Wed, 10 Oct 2018 14:40:25
                                                       -0700 (PDT)
  X-Google-Smtp-Source:                                ACcGV63PD1DK05lXAcTJrsPW1QQF+7ThEDBdZkw/T7GKgQ9wtMHJEdYqTi219j9jtco91Riae670
  X-Received:                                          by 2002:a6b:7a05:: with SMTP id h5-v6mr21788947iom.89.1539207624925; Wed, 10 Oct 2018
                                                       14:40:24 -0700 (PDT)
  ARC-Seal:                                            i=1; a=rsa-sha256; t=1539207624; cv=none; d=google.com; s=arc-20160816;
                                                       b=gyevdBOa3UWfYgqhZWoaI0uqrQoixVNdYtckzQrUB4r74+wPEZobmCOWSXhjHRquGX
                                                       NfRkr0tdP5RsGhukOscOehREe2e4UnQzQZRiu366W6M7hxCER+ENGP8HJJugzd29xuaj
                                                       qJ65/szfrWW3f54eF6jW1eaHQf2rWUGLp6HUt9RZ9HZZTvZwBYrcuMt8pnIAVv9/4mCl
                                                       tdUgHjxpvGn9FZQr/vrMF6eMeozBDPP5E24y4GwsyrkjJnIgpky+tcBFZZQzjWnrS6o8
                                                       SrbokLKIxUr2d8ZOma0l/vR6TS+yzGa83h8h4Y3b/FP/PhsyG+SKlRRX7znc6mUDqbk9 8z6g==
  ARC-Message-Signature:                               i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=content-transfer-
                                                       encoding:message-id:subject:to:from:date :mime-version;
                                                       bh=8yzOTac98CmuaxTsAzJZq2/yffmNF3RvU/S32aHt1/Y=;
                                                       b=ubktHF5HQNvtiXiCORGnBQyJccR+V6/39XWX2sOpWcucCnTtzCD0Zm35dXEOkZnGmR
                                                       eVL/nx1eYBxW0BHlFNFPgqoI76x4YOAwOpk0atK+CZ5wg/IfmmaGb+juHRQaiSiZ8Yiy
                                                       sfAeduP8drueHC+bpLVENOLnxvwOvSmgoFN7D72yVRgj5XWxHhVYyBW6GoyPOfJ33JWF
file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…         3/4
                                                                                                                                                   3
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 127 of 258 Page ID
                                           #:3706
                                            Booking Confirmed - Flyfar.ca Electronic Ticket - Interjet - Booking Confirmation ND5KYQ
                                                 xddJXfQyJAmY//azWVpTTCv0j4vfniyxr0Fvan+xxp4XdkPwPN50thxq7v00Ci6S274H
                                                 HTZUOxonAnj5Qvy4HmgTRjGeXzTkybjzqWFNFuwwzm89YVrDF8O+QdrvPftHVlJQeXqq b2JA==
  ARC-Authentication-Results:                    i=1; mx.google.com; spf=pass (google.com: domain of sales@flyfar.ca designates
                                                 158.106.106.144 as permitted sender) smtp.mailfrom=sales@flyfar.ca
  Return-Path:                                   <sales@flyfar.ca>
  Received:                                      from smtp01.ops.prod.cog.fn.pvt (mailrelay.flightnetwork.com. [158.106.106.144]) by
                                                 mx.google.com with SMTP id q74-v6si13336318itb.97.2018.10.10.14.40.24 for
                                                 <robertrundo@gmail.com>; Wed, 10 Oct 2018 14:40:24 -0700 (PDT)
  Received-SPF:                                  pass (google.com: domain of sales@flyfar.ca designates 158.106.106.144 as permitted sender)
                                                 client-ip=158.106.106.144;
  Authentication-Results:                        mx.google.com; spf=pass (google.com: domain of sales@flyfar.ca designates 158.106.106.144 as
                                                 permitted sender) smtp.mailfrom=sales@flyfar.ca
  Received:                                      from ffapi15.ae.prod.cog.fn.pvt (ffapi15.ae.prod.cog.fn.pvt [192.168.15.175]) by
                                                 smtp01.ops.prod.cog.fn.pvt (Postfix) with ESMTP id 763A4A184A; Wed, 10 Oct 2018 17:40:24
                                                 -0400 (EDT)
  Received:                                      from localhost.localdomain (localhost [127.0.0.1]) by ffapi15.ae.prod.cog.fn.pvt (Postfix) with
                                                 ESMTP id 6A097FFBFF; Wed, 10 Oct 2018 17:40:24 -0400 (EDT)
  Content-Type:                                  multipart/mixed; boundary="_----------=_153920762483220"
  MIME-Version:                                  1.0
  X-Mailer:                                      MIME::Lite 3.030 (F2.85; T2.12; A2.13; B3.15; Q3.13)
  Message-Id:                                    <20181010214024.6A097FFBFF@ffapi15.ae.prod.cog.fn.pvt>
  Content-Transfer-Encoding:                     7bit




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                                                                                                                                          4
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 128 of 258 Page ID
                                  #:3707




                            Exhibit 19
           Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 129 of 258 Page ID
                                             #:3708
                                                                                     Your E-Ticket – Ready for your Tri p!


 From:                        "Travel2be" <donotreply@mailer.travel2be.com>
 Sent:                        10/11/2018 1:26:51 AM +0000
 To:                          robertrundo@gmail.com
 Subject:                     Your E-Ticket – Ready for your Tri p!




 Dear ROBERT
 We would like to inform you that the amount has been charged and your booking has been successfully processed. This is your e-ticket. We suggest you print this
 document and that you carry it when you travel.

 The booking code allows you to check in and obtain your boarding passes on the airline’s website or at the airport check-in counter.

 Bear in mind that when online check in is allowed by the airline, the code required to check in online will be the one displayed as “AIRLINE BOOKING CODE” on your
 itinerary information.

 Thank you for choosing us. We wish you a pleasant trip.



  Booking code: PYUUCV                                 Date: 10/11/2018


 Your flight itinerary:
 -------------------------------------------------------------------------------------------------------------------
 Outgoing:
  FLIGHT                  SU 151 - Aeroflot                     10/17/2018
  DEPARTURE:              Havana, CU (Aeropuerto Int. Jose Marti) 10/17/2018 14:25
  ARRIVAL:                Moscow, RU (Sheremetyevo)             10/18/2018 09:00
  AIRLINE BOOKING CODE:SU/EXCRWY
  BOOKING CONFIRMED, Economy                                    DURATION: 11:35


  BAGGAGE ALLOWANCE: 1 Pieces
  STOPS:                  -
  OPERATED BY:            Aeroflot, SU
 -----------------------------------------------------------------------------

 -------------------------------------------------------------------------------------------------------------------

 E-tickets
 -----------------------------------------------------------------------------
 TICKET:5552969311389 - rundo robert


 General Information
 -----------------------------------------------------------------------------
 Please check your travel information:

 http://checkmyflight.travelgenio.com/Home/Index/en-US/236/PYUUCV/rundo


 Tips on online check in:
 In order to get your boarding pass in advance, you should visit the airline’s website and introduce the airline’s booking code as well as the passengers name and/or last
 name as it appears in the booking or the email address given during the booking process. Online check-in conditions might change depending on each airline, therefore
 we suggest you verify the online check-in deadline on your airline’s website.



 Travel2be.com
 Other contacts



 Delivered-To:                                    robertrundo@gmail.com
 Received:                                        by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp1835183wrt; Wed, 10 Oct 2018 18:26:53 -0700 (PDT)
 X-Google-Smtp-Source:                            ACcGV629C4k74drbS6w3jvHcNE9hIH8TNzOGfUgy+H+8y1bEjHMd98SPdyHSiXQhpv9c87wImjY3
 X-Received:                                      by 2002:a17:906:e0d5:: with SMTP id gl21-v6mr35457281ejb.92.1539221213171; Wed, 10 Oct 2018 18:26:53 -0700 (PDT)



file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…                          1/2
                                                                                                                                                                 1
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 130 of 258 Page ID
                                           #:3709
                                                                         Your E-Ticket – Ready for your Tri p!
 ARC-Seal:                                i=1; a=rsa-sha256; t=1539221213; cv=none; d=google.com; s=arc-20160816;
                                          b=uv1u1Aa4jHqp5cbIuGUzM4tj7r8sYgbxksfuoDmtxkXYTZIjL1H/3+uyKL8xWjj8FY
                                          Lh9DFT20ytl0peOM3R1mMWtN9JuKQFkkbXnHLw2tLCFtEkyuopqwVWRJfDCRHqW6Ey5k
                                          ARLVqipMSGOxh+HkKVfKvVIZtWxw800iJ/NcsSDDzXca2ea+wpMhQBoIzIMRPG7HoHTK
                                          5MmIHDT4qdtti93XMpSHAfewArRXEQ5jKPui+vGcrND8QMYFVRBU+B6mh4N1IiYmxh3U
                                          w8YvLe/iMb5G/sYpSW3Armwg+LS36oDskbrj6/szI91f13LCA/fMiZkW+zF8SK9mEm2H 4HwQ==
 ARC-Message-Signature:                   i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=message-id:content-transfer-
                                          encoding:subject:date:to:from :mime-version:dkim-signature:dkim-signature;
                                          bh=LYAA57I6hq5ShVTeEg9WXnu/tXdjxCk6DIjNfM+lGro=;
                                          b=HMxW41iFISVChpb87UwDo+OU5PDQhGeSIlIsfwFBBtb8TrcP351rpahyUA7OJVSRiT
                                          kc/DTazS3foFXUezcskTXPlMZNBOQj2iiidRGnCtxXFGdhmf4aX5uY3yCZTUrHOagIKq
                                          yXhodYPDxNH6k3rQwh0FHcHM9xcO8Ga4nI8a5m0s+RK2WLHSNH7g55vLzKbzCwdqoELm
                                          MHHMUEkQGnX+66jR2+qM8kOr+TVXpkjjEdi0o1z7hxp3OrDoRV6lk9TFLH8lckFqxrsc
                                          x+elnpo74xxGTAwiT1q/B9HqYT0KsRARd7cNUsR4bNxGqsaWLSlNnuFCPQ0N1jcAN1g2 KpQw==
 ARC-Authentication-Results:              i=1; mx.google.com; dkim=temperror (no key for signature) header.i=@mailer.travel2be.com header.s=smtpapi
                                          header.b=V3Nd2FFL; dkim=pass header.i=@sendgrid.info header.s=smtpapi header.b=cEMSGMAy; spf=pass (google.com:
                                          domain of bounces+1430722-2b8f-robertrundo=gmail.com@email.corp.travelgenio.com designates 167.89.45.32 as permitted
                                          sender) smtp.mailfrom="bounces+1430722-2b8f-robertrundo=gmail.com@email.corp.travelgenio.com"
 Return-Path:                             <bounces+1430722-2b8f-robertrundo=gmail.com@email.corp.travelgenio.com>
 Received:                                from o1.email.corp.travelgenio.com (o1.email.corp.travelgenio.com. [167.89.45.32]) by mx.google.com with ESMTPS id m17-
                                          v6si2741413ejj.272.2018.10.10.18.26.52 for <robertrundo@gmail.com> (version=TLS1_2 cipher=ECDHE-RSA-CHACHA20-
                                          POLY1305 bits=256/256); Wed, 10 Oct 2018 18:26:53 -0700 (PDT)
 Received-SPF:                            pass (google.com: domain of bounces+1430722-2b8f-robertrundo=gmail.com@email.corp.travelgenio.com designates
                                          167.89.45.32 as permitted sender) client-ip=167.89.45.32;
 Authentication-Results:                  mx.google.com; dkim=temperror (no key for signature) header.i=@mailer.travel2be.com header.s=smtpapi
                                          header.b=V3Nd2FFL; dkim=pass header.i=@sendgrid.info header.s=smtpapi header.b=cEMSGMAy; spf=pass (google.com:
                                          domain of bounces+1430722-2b8f-robertrundo=gmail.com@email.corp.travelgenio.com designates 167.89.45.32 as permitted
                                          sender) smtp.mailfrom="bounces+1430722-2b8f-robertrundo=gmail.com@email.corp.travelgenio.com"
 DKIM-Signature:                          v=1; a=rsa-sha1; c=relaxed/relaxed; d=mailer.travel2be.com; h=mime-version:from:to:subject:content-type:content-transfer-
                                          encoding; s=smtpapi; bh=V7nEr40vhN43eNLy3Vm5gDcWXeE=; b=V3Nd2FFLah744UIKbk
                                          /twJkCsW7djQLMOhpRGXtmAvmq966dHOOjmfMVv/1S3zdS1mtQ+dT3A3KWelerO/
                                          qfKQX5Jz6en96aCBuIdyp4Qhb6vLLUadDXAvVOVbpQvTs1/evwoRqKAJmWufhwX9 XSspwmyxlBvOeqocyGaPOMExo=
 DKIM-Signature:                          v=1; a=rsa-sha1; c=relaxed/relaxed; d=sendgrid.info; h=mime-version:from:to:subject:content-type:content-transfer-
                                          encoding:x-feedback-id; s=smtpapi; bh=V7nEr40vhN43eNLy3Vm5gDcWXeE=; b=cEMSGMAyWtc+49CPQE
                                          y0yxjCmQQmLUaT5STt1nrt0B0GoU1rxxmF5tL1RwHhjRvHhRKCj4h29ZyAM5YINU
                                          JCBveebxxJxc3GsTB/QJIVGsEVR2QRrI9vLOcERbDCbsFqSTfE9ckkxc76E3fw/W iCf7iY7QMv//KIf2sPsc0OY6Y=
 Received:                                by filter0099p3iad2.sendgrid.net with SMTP id filter0099p3iad2-23256-5BBEA6DB-25 2018-10-11 01:26:51.666303918 +0000
                                          UTC m=+441750.072713618
 Received:                                from smtpdx21.travelgenio.com (smtpdx21.travelgenio.com [138.201.114.46]) by ismtpd0002p1lon1.sendgrid.net (SG) with
                                          ESMTP id rStucS2uTb6-ph877b7gIA Thu, 11 Oct 2018 01:26:51.305 +0000 (UTC)
 Received:                                from vDE114 (unknown [10.1.5.210]) by smtpdx21.travelgenio.com (Postfix) with ESMTP id 25310DF931; Thu, 11 Oct 2018
                                          03:26:51 +0200 (CEST)
 MIME-Version:                            1.0
 Content-Type:                            text/html; charset=utf-8
 Content-Transfer-Encoding:               base64
 Message-ID:                              <rStucS2uTb6-ph877b7gIA@ismtpd0002p1lon1.sendgrid.net>
 X-SG-EID:                                VlM3MsPsHRZs81aGC1xkcJcPHlaEf9SSri3Sk9Skl9bPa/YeIrfVddfAbHIDle9V6FdQOziIBp+69U
                                          3o4LT4k9cjRifwkvjRelHNpTOM5xuGej0LA6FsTM5JH3MBeWrD5zK5BJyJN0RRwMRhNS4IYZTMqACZ
                                          +daM2dhwq/v0FUK5cW1VhfnpmkdiCgdKfPoqiTlXF+Wfdw7ZGtiMdiZTjvTlU9KW3pd6z9RXOMbCC4 0=
 X-Feedback-ID:                           1430722:OupodkKAkRdaSNc7ef8kk7uFWjBBczLlmoEvbxHiCfU=:OupodkKAkRdaSNc7ef8kk7uFWjBBczLlmoEvbxHiCfU=:SG




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                                                                                                                                                         2
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                                  #:3710




                            Exhibit 20
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 132 of 258 Page ID
                                           #:3711
                                            Booking Confirmed - FlightNetwork Electronic Ticket - Flydubai - Booking Confirmation R3JPGS


  From:                    Flight Network Sales Department <sales@flightnetwork.com>
  Sent:                    10/17/2018 12:33:39 PM -0400
  To:                      robertrundo@gmail.com
  Subject:                 Booking Confirmed - FlightNetwork Electronic Ticket - Flydubai - Booking Confirmation R3JPGS




                          flightnetwork.com
                       Summary of your Booking/Request is below.
                                                                                                        Date of Transaction:Wed Oct 17 12:33 PM

                        TICKET DETAILS:

                       Your flight has been booked with Flydubai.

                       This email is your electronic ticket to be presented at airport check-in.
                       Online check-in begins 24 hours prior to departure and ends an hour prior to your flight's scheduled departure.

                       Your Flydubai Booking ID: R3JPGS
                       > Reference this number when contacting Flydubai or via Online/Airport Check-in.


                       Your Flight Network Booking ID: 7449761
                       > Reference this number when contacting Flight Network


                        PASSENGER INFORMATION:


                          Adult :                Mr Robert Paul Rundo


                        DETAILS:

                        Flight Details                                                          Reference/ Confirmation #: R3JPGS

                       Depart Flight : Thursday October 18, 2018
                        Departs:                             Arrives:                                      Airline:

                        Moscow - Sheremetyevo Intl (SVO)   Dubai - Dubai International (DXB)               Flydubai # 918
                        8:20am Thu Oct 18                  2:40pm Thu Oct 18
                        Flight Duration : 5h 20m | Economy



                       Reconfirm Your Flights
                       It is your responsibility to reconfirm your flight times with Flydubai(FZ) at least 24 hours prior to your flight
                       departure. You can also check with your local airport authority for flight status and timings. Flight Network is not
                       responsible for last minute schedule changes made within 48 hours prior to departure. For more information on
                       schedule changes please visit our Terms and Conditions.

                       Suggested Check in times:
                       Within Canada - 60-90 minutes prior to departure
                       To/From US - 90-120 minutes prior to departure
                       To/From International - 180-210 minutes prior to departure



                        PAYMENT DETAILS:


                        Breakdown of Flight Charges


                        Traveller Type          # of Travellers      Base Price          Taxes & Fees                                  Total
                        Adult                          1            USD $ 163.67          USD $ 89.52                           USD $ 253.19
                                         Total Charges for Flight (Visa will show charges from FlightNetwork®)                  USD $ 253.19

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                                                                                                                                                  1
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 133 of 258 Page ID
                                           #:3712
                                              Booking Confirmed - FlightNetwork Electronic Ticket - Flydubai - Booking Confirmation R3JPGS
                        Flight charges include a Flight Network Booking Fee


                        Summary of All Charges


                        Total Charges for all Passengers & Flights                                                               USD $ 253.19

                                                                                                               Grand Total       USD $ 253.19



                       Your credit card will be charged an approximate total of USD $ 253.19 which includes the base fare, taxes and all
                       surcharges.

                       Important:

                       *Upon redemption, any Price Drop Protection Dollars will be refunded in the form of a cheque and mailed to the
                       credit card holders mailing address on file. Please allow 7-10 days for delivery.

                       ** Any Coupon Codes applied will be processed as a refund immediately after booking and will appear on your
                       statement within 2-3 business days.

                       *** Any instant or Honoured Discounts applied will be processed as a refund immediately after booking and will
                       appear on your statement within 2-3 business days.

                       Disclosure: Terms and Conditions
                       By making this booking you have accepted FlightNetwork®'s Terms and Conditions; and which covers important
                       topics like Passports/Visas, Cancellations, Changes and Check-in Times. You understood that even after pressing
                       the Purchase Button that a reservation is not confirmed until receiving a confirmation email mentioning this. You
                       have verified robertrundo@Gmail.com is the correct email address.

                       If your credit card payment is declined or if you have not provided us accurate credit card billing information, your
                       reservation is liable to be cancelled without notice. Proof of documents for bookings using third party credit cards
                       may be required.


                        CONTACT/BILLING DETAILS:

                        Contact Name:                    Robert Rundo
                        Email:                           robertrundo@Gmail.com
                        Telephone:                       347-997-0824 (Home)
                        Billing Address :                16761 Viewpoint Lane , HuntingtonBeach , CA , 92647 , US

                        ADD TO YOUR FLIGHT :

                           fn-img-2                                     fn-img-3                            fn-img-4


                        Change and Cancellation:

                       If you need to change or cancel your Flydubai reservation, please call us immediately within North America
                       at 1-800-577-0470. Alternate numbers can be found at the bottom of this email. We are open 24/7 for your
                       convenience.

                       Changes :
                       The minimum change fee for your flight is CAD $ 100, per passenger, plus any fare difference if permitted by Airline.
                       In most cases, tickets are Non-Refundable and Non-Changeable. If airlines do permit changes, their fees can range
                       from $150 - $500 plus any difference in fare along with the additional fee quoted.

                       Cancellations:
                       For all other cancellations, a minimum fee of CAD $ 50, per passenger, is charged at the time of cancellation and an
                       airline fee is applied at the time of rebooking. If permitted by the airline,the remaining funds may be available within
                       one year of the cancellation. However, please note that the travel credit is available only to the passenger listed on
                       the original ticket.

                       No Shows:
                       Customers who do not appear or 'no show' for their flight will forfeit the entire fare paid. To avoid this, please contact
                       Flight Network at least 3 hours before the original departure time of your flight to verify the exact fare rules of your
                       ticket. If you arrive at the airport late or are denied boarding, you will again forfeit the entire fare paid.


                        MANDATORY INFORMATION:

                       Important Information Please Read
                       ========================================================================================
                       Thank you for booking with FlightNetwork.com. Please double check your booking information in this email to verify
                       the flight details and passenger names, ensuring they appear as per the passport for international travel and as per
                       photo ID for domestic travel.

                       If there is a problem, please call our Flight Reservations Department at 1-877-496-4815 or at 1-905-829-8699 as

file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…          2/4
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         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 134 of 258 Page ID
                                           #:3713
                                             Booking Confirmed - FlightNetwork Electronic Ticket - Flydubai - Booking Confirmation R3JPGS
                       soon as possible. We are open 24/7.

                       Your booking is subject to the terms and conditions of our website. Please reconfirm check-in cut off times with the
                       airline directly. All flights must also be reconfirmed with the relevant airlines at least 24 hours prior to the
                       commencement of that leg of the journey unless specifically informed otherwise by that airline.

                       Passports/Visas/Health Requirements: Please note that many countries require that your passport be valid for a
                       period of (a minimum) six months beyond your return date. You should ensure that you meet the passport, visa,
                       affidavit, health and other requirements of the countries you wish to visit and those that you transit (even if it is for a
                       plane change). We accept no responsibility if you should be denied boarding or deported for any reason, including
                       your age.

                       Please check the documentation and/or inoculations needed for your destination(s).

                       For further questions regarding travel documentation please contact Flight Network directly. Our office is open 24/7
                       for your convenience.

                       Baggage Allowance and Restrictions-
                       In order to avoid paying higher baggage fees at the airport, please select your baggage in advance by visiting your
                       operating airline's website directly in advance of your departure. Please check your electronic ticket for Baggage
                       Allowances. Baggage Allowance and Restrictions apply to all airlines and are subject to change at any time. If you
                       have questions about Baggage contact the airline you are travelling with directly to verify the specific Baggage
                       restrictions. Click Here for Airline contact information including online check-in, baggage and seat selection or visit
                       http://www.flightnetwork.com/pages/airline-information/

                       Check-in
                       Please check-in 24 hours before you depart by visiting your operating airline's website directly to avoid paying any
                       additional fees at the airport. Some airlines are now charging fees to print boarding passes at the airport.

                       Advanced Seat Selection: Advanced seat selection is available on some airlines and is subject to availability and
                       the fare type booked. If you are unable to obtain advanced seat selection online, the airlines do hold a percentage of
                       seats until the day of departure for airport check-in. Customers with special needs should contact the operating
                       airline directly for their seating needs. Advanced seat selection is subject to change at any time and is fully controlled
                       by the operating airline(s).

                       Thank you for booking with FlightNetwork®

                       In the event that the airline is unable to process your credit card directly, we will attempt to charge your card
                       internally which will result in the total amount being transacted in USD.

                       FlightNetwork®
                       1 Toronto Street, Suite 1000
                       Toronto, Ontario
                       Canada
                       M5C 2V6

                       CALL US FROM THE FOLLOWING COUNTRIES :

                       Within Canada : 1 (877) 496-4815
                       Within United States : 1 (855) 976-9378

                       Outside North America
                       Within Argentina : 1152197792
                       Within Australia : 1300 764 316 or +61 2 8806 3764
                       Within Austria: 43800802899
                       Within Belgium: 3280026896
                       Within Brazil : 1149502287
                       Within Chile : 800914351
                       Within Colombia : 8005184639
                       Within Denmark : 4580820090
                       Within Finland : 87 53 25 16 35
                       Within France : 9 75 18 82 77
                       Within German: 498000004656
                       Within Italy: 39800593870
                       Within Mexico City : 8002694546
                       Within New Zealand : 9887 9881
                       Within Norway: 4780025093
                       Within Peru : 17008757
                       Within Sweden: 46218138112
                       Within United Kingdom : 1444 300036
                       Within Singapore : 653 159 1623
                       Within All Other Countries : +00 1 905 829 8699


                       E-mail: sales@flightnetwork.com

                       Frequently Asked Questions


                       CONFIDENTIALITY NOTICE: This email message, including any attachments may contain confidential and privileged
                       information intended only for the person(s) named above.If you are not the intended recipient or have received this
                       message in error, please notify the sender immediately by reply e-mail and permanently delete the original
                       transmission from us, including any attachments, without disseminating, distributing or making a copy. Any
                       unauthorized review; use or disclosure is prohibited. Thank you.


file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…           3/4
                                                                                                                                                     3
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 135 of 258 Page ID
                                           #:3714
                                            Booking Confirmed - FlightNetwork Electronic Ticket - Flydubai - Booking Confirmation R3JPGS


                                    FlightNetwork®.com | 2947 Portland Drive | Oakville | ON | L6H 5S4 | Toll Free: 1-877-496-4815 | Fax: 905-829-9102
                                                                          Ontario TICO Registration: 3392505




  Delivered-To:                                       robertrundo@gmail.com
  Received:                                           by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp1004097wrt; Wed, 17 Oct 2018 09:33:40 -0700
                                                      (PDT)
  X-Google-Smtp-Source:                               ACcGV63Zr8yIZvWwtgUOrVXfNIgzUUfZ2KfDeVqZpNzSE/gUOwgwJ2wn6j4JDRWOWUJ6reRDANSW
  X-Received:                                         by 2002:a6b:b5cf:: with SMTP id e198-v6mr17806567iof.137.1539794020054; Wed, 17 Oct 2018
                                                      09:33:40 -0700 (PDT)
  ARC-Seal:                                           i=1; a=rsa-sha256; t=1539794019; cv=none; d=google.com; s=arc-20160816;
                                                      b=om2H/Fg3EjZDWoag90zMtTYd13nPUxNbK+srUrLiJXl0bT4OzS3B0IF5+YVHmjC1hm
                                                      GFLzcy3kBe8YeNd7d2+dTKi2JliNyMise4dqP9y2QfNYwbv0xIm4wTFuOmB0gW1LLLKy
                                                      MRLmVrJSDzVP8KBs6N/G16g1frujRr/bUe5S3jqf5HOF3AdVNxLkynl+Q1/O6B+HxmuV
                                                      eGJF5qHwfTn3SwVxo9nIK5Clv5pl2W2Hoh9ktXo3FRfhZ2Q3p73zglbpirDXCPmefNoS
                                                      pEyY2X2zBrHavXZ1Uqjr0Euv3TjGUcL5edwzPsd4nVl7j1tHFOo21TAcYXj1hxZE/mwq /LHw==
  ARC-Message-Signature:                              i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=content-transfer-
                                                      encoding:message-id:subject:to:from:date :mime-version;
                                                      bh=EtA+1a0iJVFp6+LtiU1uTnEe+MBoARm/RIv+Ilh7S2I=;
                                                      b=XZ+had7OBVu/m8cHlsroCR+mAjd80F5WcfLjD6wrGS97m2IqwEAq30TzeiSn5NgHFc
                                                      4pkXW1c8+8HmXjoWVL6d/AaGLOa1aAQc6lT5drgCiFyTJSTYtm/huB9qVJpyvc57Q+B/
                                                      GHdQ0HirP5h+UEheH9VUJPLC1GlGFIrRYTw1ouZAgTgQaU+x4KJ3oUQAihwZsDJIKuRj
                                                      VNzcAm5KwGlpPLsjuqG5uRRm9gqvl6wZ/UjBdHwT49DnW8k9aFSADU/C1uh6/N8AW02A
                                                      zL6wvTaRg96uuwpPsi3Ugrv8w7iPNXB/dPIeH1Lc6cDAvTMS1VZe5IELuUDKOHwe2/ts PWPA==
  ARC-Authentication-Results:                         i=1; mx.google.com; spf=pass (google.com: domain of sales@flightnetwork.com designates
                                                      158.106.106.144 as permitted sender) smtp.mailfrom=sales@flightnetwork.com
  Return-Path:                                        <sales@flightnetwork.com>
  Received:                                           from smtp01.ops.prod.cog.fn.pvt (mailrelay.flightnetwork.com. [158.106.106.144]) by mx.google.com
                                                      with SMTP id c3-v6si11289188iod.59.2018.10.17.09.33.39 for <robertrundo@gmail.com>; Wed, 17 Oct
                                                      2018 09:33:39 -0700 (PDT)
  Received-SPF:                                       pass (google.com: domain of sales@flightnetwork.com designates 158.106.106.144 as permitted
                                                      sender) client-ip=158.106.106.144;
  Authentication-Results:                             mx.google.com; spf=pass (google.com: domain of sales@flightnetwork.com designates
                                                      158.106.106.144 as permitted sender) smtp.mailfrom=sales@flightnetwork.com
  Received:                                           from fnapi33.ae.prod.cog.fn.pvt (fnapi33.ae.prod.cog.fn.pvt [192.168.15.53]) by
                                                      smtp01.ops.prod.cog.fn.pvt (Postfix) with ESMTP id 8EAD4A1DB0; Wed, 17 Oct 2018 12:33:39 -0400
                                                      (EDT)
  Received:                                           from localhost.localdomain (localhost [127.0.0.1]) by fnapi33.ae.prod.cog.fn.pvt (Postfix) with ESMTP
                                                      id 8034B2012C; Wed, 17 Oct 2018 12:33:39 -0400 (EDT)
  Content-Type:                                       multipart/mixed; boundary="_----------=_1539794019141090"
  MIME-Version:                                       1.0
  X-Mailer:                                           MIME::Lite 3.030 (F2.85; T2.12; A2.13; B3.15; Q3.13)
  Message-Id:                                         <20181017163339.8034B2012C@fnapi33.ae.prod.cog.fn.pvt>
  Content-Transfer-Encoding:                          7bit




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…               4/4
                                                                                                                                                         4
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 136 of 258 Page ID
                                           #:3715
                                     RE: Booking reference: R3JPGS Payment reference: 39406138 #06033066 [ ref:_00Db0dBTz._5000N1ZCzjz:ref ]


 From:                      "letstalk" <letstalk@flydubai.com>
 Sent:                      11/1/2018 8:03:46 AM +0000
 To:                        robertrundo@gmail.com
 Subject:                   RE: Booking reference: R3JPGS Payment reference: 39406138 #06033066 [ ref:_00Db0dBTz._5000N1ZCzjz:ref ]


 Hello Robert,

 Thank you for your email regarding cancellation enquiry.

 We apologise for the delay in response.

 Since you have contacted us within 24 hours prior to flight departure, please note that A fee of AED 365 per person, per sector. A flydubai voucher will be issued for the
 balance amount. The voucher will be valid for 06 months after the date of issue and can be used to book future flight with flydubai.

 Please provide your acceptance on voucher issuance.

 Looking forward to hearing from you.

 Kind Regards

 Heena |The flydubai team
 +971 600 544 445 (from UAE) | 24x7
 letstalk@flydubai.com | flydubai.com


 --------------- Original Message ---------------
 From: work smart [robertrundo@gmail.com]
 Sent: 17/10/2018 22:28
 To: letstalk@flydubai.com
 Cc: letstalk@flydubai.com
 Subject: Booking reference: R3JPGS Payment reference: 39406138 #06033066


 Booking reference: R3JPGS
 Payment reference: 39406138

 This was a mistake on the card Please cancel this flight and refund the tickets

 Sent from my iPhone




 Delivered-To:                                     robertrundo@gmail.com
 Received:                                         by 2002:a5d:65ca:0:0:0:0:0 with SMTP id e10-v6csp418553wrw; Thu, 1 Nov 2018 01:04:04 -0700 (PDT)
 X-Google-Smtp-Source:                             AJdET5fmvqW2VvEgL+ypic8qvU+nd5QaxKf2cqkZWTdBkqjqUz7G+iu5j4hFqSxZ/IVjX7tdvaLS
 X-Received:                                       by 2002:a24:36d2:: with SMTP id l201-v6mr5038590itl.130.1541059444464; Thu, 01 Nov 2018 01:04:04 -0700 (PDT)
 ARC-Seal:                                         i=1; a=rsa-sha256; t=1541059444; cv=none; d=google.com; s=arc-20160816;
                                                   b=wQKx1gLdkc3n1p77wtlYxwvsDqZB+GGhT0E1v3XwCyoepwihHmT7xatVtgN3aVQJiQ
                                                   aIhMOETuYq44wZcVBtOGl4sp9O9vgUO5x0E5+KH2ItCNRnLNK1e7PJN1d5yOkWLwDUNa
                                                   3hGKWfMVjNGpLumDl3X+MaddNmyHBLg7ZXw3V+dII0YylIB7ruMLVXM8hYYOK3tK2yNZ
                                                   P14Cksia1L3kvmc3LMl5/TJEXfr+pNx161C5ifztwBdrRn4NiG9uJITFY2gPRvCoVKH6
                                                   KDWEz4c/uPJPwfLNA0rDCkMM0ivVRyKLvA8vqKurdK6XmZtjlA+Xq+eoHMeHz5XZxz9/ Y0dw==
 ARC-Message-Signature:                            i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=sendermailbox:msgid:list-
                                                   unsubscribe:mime-version:to:date:from :subject:message-id:domainkey-signature:dkim-signature;
                                                   bh=kE3TTrCYAMLDDu6lUBPtSkltVO2Pd/zF5xNR4Rdtbjc=;
                                                   b=q2LkECQ2owVx/VXFetJw4qTv5CQbQADnx0eHqkP8fx051Apf4jJ/yK1Dkj3TKY7GgR
                                                   JIhvkQ9F8QtcCUdRylFev4d3BujDPOy9qdxlIfu2MAQWd0gFupfTW2bNAJJPLIQwYQT0
                                                   TxWQSZM8g9nMoQrs01sWMXjI/ak1trmXoXgdf13EuE2XHuE6XlXcXm0zDxi5avL2ztqO
                                                   pFiy1NyHVgxo9/wkyouVuA/f6YeduaDiXz2bq5ZN9uceHoGW6XU5IOXKvQTgKyGM5mpq
                                                   R8AIyTLE1QvW7RHlP8qhbo9JnDcdy3VY2EuUFRUKf9pDRQYHwknPeIQRtBh7wpxnNuo3 mE1A==
 ARC-Authentication-Results:                       i=1; mx.google.com; dkim=pass header.i=@flydubai.com header.s=flydubai header.b=ig74TJYN; spf=pass
                                                   (google.com: domain of letstalk@flydubai.com designates 173.244.184.249 as permitted sender)
                                                   smtp.mailfrom=letstalk@flydubai.com
 Return-Path:                                      <letstalk@flydubai.com>
 Received:                                         from xl31-e.jsmtp.net (xl31-e.jsmtp.net. [173.244.184.249]) by mx.google.com with ESMTPS id w16-
                                                   v6si16872769itc.92.2018.11.01.01.04.03 for <robertrundo@gmail.com> (version=TLS1_2 cipher=ECDHE-RSA-
                                                   AES128-SHA bits=128/128); Thu, 01 Nov 2018 01:04:04 -0700 (PDT)
 Received-SPF:                                     pass (google.com: domain of letstalk@flydubai.com designates 173.244.184.249 as permitted sender) client-
                                                   ip=173.244.184.249;
 Authentication-Results:                           mx.google.com; dkim=pass header.i=@flydubai.com header.s=flydubai header.b=ig74TJYN; spf=pass (google.com:
                                                   domain of letstalk@flydubai.com designates 173.244.184.249 as permitted sender)
                                                   smtp.mailfrom=letstalk@flydubai.com
 DKIM-Signature:                                   v=1; a=rsa-sha1; q=dns/txt; c=relaxed/relaxed; d=flydubai.com; s=flydubai; h=X-Feedback-ID:Message-
                                                   ID:Subject:From:Date:To:MIME-Version:X-Mailer: List-Unsubscribe:X-UserID:X-VConfig:Content-
                                                   Type:MsgID:SenderMailbox: Authentication-Results:X-SFDC-LK:X-SFDC-User:X-mail_abuse_inquiries: X-
                                                   SFDCOrgRelay:X-SFDC-Binding:X-SFDC-EmailCategory:X-SFDC-EntityId: X-SFDC-Interface:X-SFDC-Restrict:X-
                                                   SFDCRelayAddr:X-SFDCRelayPort: X-SFDCTLS; t=1541059437; bh=boYKs8gR7bgEE2bjVMqcoB0QYZU=;
file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…                                1/2
                                                                                                                                                                    5
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 137 of 258 Page ID
                                           #:3716
                                RE: Booking reference: R3JPGS Payment reference: 39406138 #06033066 [ ref:_00Db0dBTz._5000N1ZCzjz:ref ]
                                            b=ig74TJYNuVLrl5lx6n/znuGx4QTtei4ctDNb1r1eZFOyZQ1oOHeqVuyXIq8sCXViiDBrPx
                                            wly9AKwnMMXCNxvz3+9+oU+eW6K8FgUEcQN+AlpIwM90N1+ISmbLMYPAM2dcuPKBSMi2is
                                            vRvzlPMBKUzEB4IpTgmaJxHuDBGgWos=
 DomainKey-Signature:                       a=rsa-sha1; c=nofws; d=flydubai.com; h=X-Feedback-ID:Message-ID:Subject:From:Date:To:MIME-Version:X-Mailer:
                                            List-Unsubscribe:X-UserID:X-VConfig:Content-Type:MsgID:SenderMailbox: Authentication-Results:X-SFDC-LK:X-
                                            SFDC-User:X-mail_abuse_inquiries: X-SFDCOrgRelay:X-SFDC-Binding:X-SFDC-EmailCategory:X-SFDC-EntityId:
                                            X-SFDC-Interface:X-SFDC-Restrict:X-SFDCRelayAddr:X-SFDCRelayPort: X-SFDCTLS; q=dns; s=flydubai;
                                            b=DNWGx0XzOSg8tivzAwLjxeBrFXeuokwMAFgOpSEtjhbxXajrn2/y19FltpK50/22Y+Jj10
                                            uDZSzmpi9N0wkqXMAaYwHl+9aTlT2sJIWshwKNvtcwl8BTIAEOiGKEbOBpgwwmr8hJsCUH
                                            XeVYpIgMn//aZoSbSqZZmr7qRriAdxo=;
 X-Feedback-ID:                             T:290692:699546:JangoMail
 Message-ID:                                <1p0BK000000000000000000000000000000000000000000000PHI92800mqEhqgxVQ9SG_oOsdOOTgg@sfdc.net>
 MIME-Version:                              1.0
 X-Mailer:                                  N/A
 List-Unsubscribe:                          <http://track.flydubai.jmsend.com/u.z?195b00301db14c0aa8d92ff1ae36da0c>,<mailto:flydubai@jangomail.com?
                                            Subject=Unsubscribe>
 X-UserID:                                  699546.11750280121T290692
 X-VConfig:                                 T.11750280121
 Content-Type:                              multipart/alternative; boundary="----=_Part_22836_1236234110.1541059425562"
 MsgID:                                     201811010803467071
 SenderMailbox:                             <letstalk=flydubai.com__0-7bynery60869vu@4g7qibz1pook25.b-dbtzeam.eu8.bnc.salesforce.com>
 Return-Path:                               <letstalk=flydubai.com__0-7bynery60869vu@4g7qibz1pook25.b-dbtzeam.eu8.bnc.salesforce.com>
 Authentication-Results:                    mx3-par-sp1.mta.salesforce.com x-tls.subject="/C=US/ST=California/L=San Francisco/O=salesforce.com,
                                            inc./OU=0:app;1:par;2:par-sp1;3:eu8;4:prod/CN=eu8-app2-14-par.ops.sfdc.net"; auth=pass (cipher=ECDHE-RSA-
                                            AES256-GCM-SHA384)
 X-SFDC-LK:                                 00Db0000000dBTz
 X-SFDC-User:                               005b0000001AxaQ
 X-mail_abuse_inquiries:                    http://www.salesforce.com/company/abuse.jsp
 X-SFDCOrgRelay:                            00Db0000000dBTz
 X-SFDC-Binding:                            1WrIRBV94myi25uB
 X-SFDC-EmailCategory:                      emailAuthorEmail
 X-SFDC-EntityId:                           5000N00001ZCzjz
 X-SFDC-Interface:                          internal
 X-SFDC-Restrict:                           ^(.*)
 X-SFDCRelayAddr:                           relay.jangosmtp.net
 X-SFDCRelayPort:                           25
 X-SFDCTLS:                                 0




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…      2/2
                                                                                                                                              6
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 138 of 258 Page ID
                                  #:3717




                            Exhibit 21
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 139 of 258 Page ID
                                           #:3718
                                                                 Booking 14787773: Confirmed — E-ticket Attached


  From:                         "Kiwi.com" <tickets@kiwi.com>
  Sent:                         10/17/2018 4:40:06 PM +0000
  To:                           robertrundo@gmail.com
  Subject:                      Booking 14787773: Confirmed — E-ticket Attached
  Attachments:                  E-ticket_passenger_3e7d377b3c73ba307593e40ab7883120.pdf




                                                                                                  For more info, visit our
                                                                                                             Help Centre


                                    Booking number:                             Booking status:

                                    14787773                                        CONFIRMED
                                    Passengers (1):                             Baggage:

                                    Robert Rundo Paul                                 1x Cabin baggage 10 kg
                                                                                         55 × 20 × 40 cm

                                                                                      1x Personal item 5 kg
                                                                                         35 × 13 × 20 cm

                                                                                      1x Checked baggage 23 kg




                                                   Confirmed — E-ticket Attached
                                 Your booking was successful. Print the attached e-ticket and bring it with you on
                                 the trip.
                                 Through Manage My Booking, you can change your flights, update your
                                 information, download your documents, and order additional services like allocated
                                 seating and insurance.



                                                           Enter Manage My Booking




                                         Moscow - Sheremetyevo International             Thu Oct 18, 2018        10:10
                                         SVO
                                         Baku - Heydar Aliyev International GYD          Thu Oct 18, 2018        14:10

                                    Airline: Aeroflot Russian Airlines
                                    Important:
                                    Online check-in is not available for this flight. You must check in at the airport
                                    using your printed e-ticket which you can download below.
                                    We strongly recommend arriving at the airport at least two hours before the
                                    scheduled departure.



                                         Baku - Heydar Aliyev International GYD          Thu Oct 18, 2018        22:35

                                         Dubai - Dubai International DXB                  Fri Oct 19, 2018       01:30

                                    Airline: Azerbaijan Airlines
                                    Important:
                                    Online check-in is not available for this flight. You must check in at the airport
                                    using your printed e-ticket which you can download below.
                                    We strongly recommend arriving at the airport at least two hours before the
                                    scheduled departure.




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   1/3
                                                                                                                                          1
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 140 of 258 Page ID
                                           #:3719
                                                              Booking 14787773: Confirmed — E-ticket Attached



                                                                   Download E-ticket




                                    Booked by                  Robert rundo Paul

                                    Email                      robertrundo@gmail.com

                                    Total paid                 331 USD



                                 Important information:
                                 Recheck your baggage: low-cost carriers and some airlines will not do this for
                                 you. More Info
                                 Visas and documentation: it's your responsibility to ensure that you have the
                                 correct visas, tickets, and boarding passes. Visa Info




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                                 Choose from more than a million
                                 properties worldwide.

                                   Find a Room


                                             For complete flight info, boarding passes, seating and much
                                                   more, click below to visit Manage My Booking.



                                                         Enter Manage My Booking




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                                                                            Visit our Help Centre for answers. Or contact our
                                                                            Customer Support Team — we're available 24/7.


                                                                                                              www.kiwi.com




  Delivered-To:                                  robertrundo@gmail.com
  Received:                                      by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp1013371wrt; Wed, 17 Oct 2018 09:40:23 -0700
                                                 (PDT)
  X-Google-Smtp-Source:                          ACcGV62BcUkMT9Ili5k5Dqhv9rhqVaXOK2+a5+cG4grYgAJOuOAdxZPPG24pM+rRMYRClJDQphra
  X-Received:                                    by 2002:a25:d001:: with SMTP id h1-v6mr15135156ybg.306.1539794422308; Wed, 17 Oct 2018
                                                 09:40:22 -0700 (PDT)

file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   2/3
                                                                                                                                          2
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 141 of 258 Page ID
                                           #:3720
                                                              Booking 14787773: Confirmed — E-ticket Attached
  ARC-Seal:                                     i=1; a=rsa-sha256; t=1539794422; cv=none; d=google.com; s=arc-20160816;
                                                b=fgWBhqZFhmNuqvEZBFIu0VXeX8rwadNELKS+GQVXKAPnutUI7QFWuUJ7YboJQgDJRt
                                                j1e9q3a2We+D022I7xw7/5fUr6TxiHUM7c2Omc1/5Ec0siiMg9JcyGDmoDMiASvKXOQy
                                                ywFUG0MqI1PQLDKEBPkBFN2H3YCZWr7Hzl/WEdnkqZaz4ggIJpGEQEwpyDiMZk0qHjk0
                                                H/iRG7WE0qBq3zbiVDW5Y4HOilYTO86k45tpRqSZVOAmXwEJZRkr1tJAptAIiWq+1449
                                                BuJinBPT5qKSeyFb2GPKK6wo0YOqkDn2b3H8m3Hy8Doxui5D9Ij5ywULzqxtTro08Ay4 c24w==
  ARC-Message-Signature:                        i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=mime-
                                                version:date:message-id:to:subject:from:dkim-signature :dkim-signature;
                                                bh=BIAjl9Nvcgzej7WTqXipBoWFw/M8ytqf5PNQKLkQQ5I=;
                                                b=O6eywVC1fcv5w5rbsv9ExlRyVAkR2K3S3o8JR7GWsoFALz815EUR/5BKtVnS0xtiFF
                                                yAWRlpmVbBy3mIfTqhz77c8yXLdkc12e9sEtFnpRP0s+B/PA4p6Tn6Ve7gfOlVXIMmJa
                                                xKe4g8cRMNVrp6DPzau64ffyuFtPP3DkFO0L91rqhOzIRLxUmge+yNx6N7hVD3Ji/HGK
                                                SvJZ77P7a+TrHP1zvMxIxk0bLkIkk4kfj7qCsolAyPxGNX9GXQUCAd9AIVNfMIu1YCOM
                                                g9iS06EtugUVheynMxA1iy1yuQm1yIEDgQ5zBdBU+fKWUdIUYWHVrV1GCvOKKcQn61T6 4FRA==
  ARC-Authentication-Results:                   i=1; mx.google.com; dkim=pass header.i=@kiwi.com header.s=mandrill header.b=bQFDvzJx;
                                                dkim=pass header.i=@mandrillapp.com header.s=mandrill header.b=ELsnuqGX; spf=pass
                                                (google.com: domain of bounce-md_30178145.5bc765e6.v1-
                                                2ad2b9e47a8546ecaa3f9f43e6669627@mandrillapp.com designates 198.2.136.11 as permitted
                                                sender) smtp.mailfrom=bounce-md_30178145.5bc765e6.v1-
                                                2ad2b9e47a8546ecaa3f9f43e6669627@mandrillapp.com
  Return-Path:                                  <bounce-md_30178145.5bc765e6.v1-2ad2b9e47a8546ecaa3f9f43e6669627@mandrillapp.com>
  Received:                                     from mail136-11.atl41.mandrillapp.com (mail136-11.atl41.mandrillapp.com. [198.2.136.11]) by
                                                mx.google.com with ESMTPS id v3-v6si5961252ywv.17.2018.10.17.09.40.22 for
                                                <robertrundo@gmail.com> (version=TLS1_2 cipher=ECDHE-RSA-AES128-GCM-SHA256
                                                bits=128/128); Wed, 17 Oct 2018 09:40:22 -0700 (PDT)
  Received-SPF:                                 pass (google.com: domain of bounce-md_30178145.5bc765e6.v1-
                                                2ad2b9e47a8546ecaa3f9f43e6669627@mandrillapp.com designates 198.2.136.11 as permitted
                                                sender) client-ip=198.2.136.11;
  Authentication-Results:                       mx.google.com; dkim=pass header.i=@kiwi.com header.s=mandrill header.b=bQFDvzJx; dkim=pass
                                                header.i=@mandrillapp.com header.s=mandrill header.b=ELsnuqGX; spf=pass (google.com: domain
                                                of bounce-md_30178145.5bc765e6.v1-2ad2b9e47a8546ecaa3f9f43e6669627@mandrillapp.com
                                                designates 198.2.136.11 as permitted sender) smtp.mailfrom=bounce-md_30178145.5bc765e6.v1-
                                                2ad2b9e47a8546ecaa3f9f43e6669627@mandrillapp.com
  DKIM-Signature:                               v=1; a=rsa-sha256; c=relaxed/relaxed; s=mandrill; d=kiwi.com; h=From:Subject:To:Message-
                                                Id:Date:MIME-Version:Content-Type; i=tickets@kiwi.com;
                                                bh=BIAjl9Nvcgzej7WTqXipBoWFw/M8ytqf5PNQKLkQQ5I=;
                                                b=bQFDvzJx/Tbtgb9Ero/9MA42gB3+to4W/2n3zrW4S9Wi3F0VUvChRHIYdvZjpC9aOqLsXxQb+WWT
                                                mB6zpcIywV39yTCgm72z9J0wdtE39hhob5MfsHUVzlUfMnaiJYWEyL7UYdi40a5Ks0xjVSt71iOs
                                                s+139DOroO6igMske3M=
  Received:                                     from pmta04.mandrill.prod.atl01.rsglab.com (127.0.0.1) by mail136-11.atl41.mandrillapp.com id
                                                hotivc1sb1km for <robertrundo@gmail.com>; Wed, 17 Oct 2018 16:40:07 +0000 (envelope-from
                                                <bounce-md_30178145.5bc765e6.v1-2ad2b9e47a8546ecaa3f9f43e6669627@mandrillapp.com>)
  DKIM-Signature:                               v=1; a=rsa-sha256; c=relaxed/relaxed; d=mandrillapp.com; i=@mandrillapp.com; q=dns/txt;
                                                s=mandrill; t=1539794406; h=From : Subject : To : Message-Id : Date : MIME-Version : Content-Type
                                                : From : Subject : Date : X-Mandrill-User : List-Unsubscribe;
                                                bh=BIAjl9Nvcgzej7WTqXipBoWFw/M8ytqf5PNQKLkQQ5I=;
                                                b=ELsnuqGXksWfCwVTfyczvWrqICFNigr6AADQIYgvh1gUnWomd9635E9GFTIqreLhM1lvv0
                                                CPyJPGjGaMWadwVoIVNh5IaJxu4ll80XyTWYcb9KKlAhXYcAcXBKCWVKO5ZMQ3Ndrz92MZCY
                                                L5usXAETNtGS5PLzP8LRvfo5WB3w8=
  Return-Path:                                  <bounce-md_30178145.5bc765e6.v1-2ad2b9e47a8546ecaa3f9f43e6669627@mandrillapp.com>
  Received:                                     from [52.16.237.132] by mandrillapp.com id 2ad2b9e47a8546ecaa3f9f43e6669627; Wed, 17 Oct
                                                2018 16:40:06 +0000
  X-Report-Abuse:                               Please forward a copy of this message, including all headers, to abuse@mandrill.com
  X-Report-Abuse:                               You can also report abuse here: http://mandrillapp.com/contact/abuse?
                                                id=30178145.2ad2b9e47a8546ecaa3f9f43e6669627
  X-Mandrill-User:                              md_30178145
  Message-Id:                                   <30178145.20181017164006.5bc765e68fa826.01939692@mail136-11.atl41.mandrillapp.com>
  MIME-Version:                                 1.0
  Content-Type:                                 multipart/mixed; boundary="_av-I1MMyjlqRBrriht04udIQQ"




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                                                                                                                                          3
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 142 of 258 Page ID
                                  #:3721




                            Exhibit 22
            Case 2:18-cr-00759-CJC Document 392-2      Filed- Volaris
                                                 My Itinerary 04/12/24         Page 143 of 258 Page ID
                                                                      reservations

From:                notificaciones@volaris.com #:3722
Sent:                     10/18/2018 12:35:15 PM -0500
To:                       robertrundo@gmail.com
Subject:                  My Itinerary - Volaris reservations




                                                                                     Thanks for choosing
                                                                                       to fly with Volaris.
                                                                                       Purchase date: 18/Oct/2018


                                                                                        Volaris Reservation code:
                                                                                                            VD1TNA



                                                                            Total cost of your trip: $ 389.82 USD

                                     Volaris provides your electronic                  Download your itinerary here
                                     invoice here (Mexico)




                                                                                                           Customers
                       Customer No.                                       Customer Name
                            1                                            ROBERT RUNDO


                                                                                         Reservation details
                         Flight date      Departure / Arrival time                      To / From                  Flight
                        Friday 19 Oct     06:00 AM / 07:11 AM           Ciudad de México, Benito Juárez T1 (MEX) - Q6
                                                                            Guatemala, La Aurora Tnorte (GUA)      4069
                                                                                         Operated by
                                                                                      Volaris Costa Rica
                        Friday 19 Oct     08:11 AM / 09:12 AM            Guatemala, La Aurora Tnorte (GUA) - San       Q6
                                                                              Salvador, El Salvador (SAL)             4093
                                                                                                                                      1
file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   1/4
            Case 2:18-cr-00759-CJC Document 392-2    Filed- Volaris
                                               My Itinerary 04/12/24         Page 144 of 258 Page ID
                                                                    reservations
                                              #:3723             Operated by
                                                                                              Volaris Costa Rica


                                                                           The fare you purchased includes:

                                                         checked bag.                                          cabin bags.
                                                         Up to 55 lbs. and 62                                  Up to 22 lbs. between
                                                         total inches.                                         both of them and that
                                                                                                               don’t exceed 22.4 x 15.7
                                                                                                               x 12.9 inches each.


                          *Does not apply for international flights purchased
                          before November 1st 2017, or if you relinquished your
                          checked bag.


                                                            Check our Baggage Policy




                                     Calculate the cost of the baggage you need for your trip.
                                          Try out our Additional Services Calculator.



                                                                              YOUR CALL additional services:
                                                                                        Customer name (1): ROBERT RUNDO

                          Departure / Arrival: MEX - GUA                          Departure / Arrival: GUA - SAL


                          •      TripAssistance                                   •     TripAssistance
                          •      DNI                                              •     DNI




                                Your call! Complete your flight with what you need. It's cheaper
                                                                     than at the airport counter!




                                 Add weight to your cabin                                     Choose your seat
                                        baggage
                                                                                      Make sure you pick the seat you like the
                              Add up to 22 extra lbs., to carry a total of                            most.
                              44 lbs. between both of your cabin bags.


                                           Purchase Here                                          Purchase Here




                                                                                                                                          2
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            Case 2:18-cr-00759-CJC Document 392-2    Filed- Volaris
                                               My Itinerary 04/12/24         Page 145 of 258 Page ID
                                                                    reservations
                                              #:3724




                                     Extra checked bags                                                   TripAssistance
                            Check up to 4 additional 55 lbs. and 62                          It has your back from the moment you
                                           in. bags.                                         book your ticket and until your trip has
                                                                                                              ended.


                                            Purchase Here                                                    Purchase Here




                                 VERY IMPORTANT INFORMATION FOR INTERNATIONAL FLIGHTS


                                  Print your boarding pass or do a Mobile Check-in.
                                  From 1 to 24 hours before your flight.
                                  Personal Assistance:
                                  If you don't wish to print your boarding pass you can go directly to the counter and we'll help you
                                  print it, for an extra charge.
                                  Arrive at the airport.
                                  International flight: 3 hrs. before your flight.
                                  If you DON'T CHECK baggage:
                                  Go to the counters to validate your documents. Remember not to exceed the measures of your
                                  small cabin bags or an extra charge will apply. Check prices here.
                                  If you DO CHECK baggage:
                                  Check your bags 2 hrs. prior to your flight. Present your documents and if your checked bag
                                  weighs over 55 lbs. an extra charge will apply. Check prices here.
                                  Present your documents.
                                  Passport and Visa (if needed).
                                  Show up at the boarding gate.
                                  International flight: 1 hour before your flight.
                                  Check which additional documents you need to travel with:
                                  infant(s), unaccompanied minor(s), special services, pet, sports equipment, musical instruments
                                  and/or restricted items.

                          Route or date change up to 4 hours before your flight here. Name change through the call center: Mexico (55) 1102
                          8000 / USA - Puerto Rico 1 855 8652747 / Guatemala 502 2301 3939 / Costa Rica 506 4002 7462.

                          For flights to and from the United States and/or Puerto Rico a cancellation or a booking change will be allowed
                          within the 24 hours after the purchase with no extra charge or penalization as long as bookings were made within 7
                          or more days prior to the flight's departure date. For any itinerary change, the corresponding nivelation fare will
                          apply.

                          * If any of your payments was made with a debit or credit card, you must bring that same card and show it at the moment of
                          your check-in at the airport, in order to verify such payment.



                                                                    Get out of town prices.

                                                                                                                                                       3
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            Case 2:18-cr-00759-CJC Document 392-2    Filed- Volaris
                                               My Itinerary 04/12/24         Page 146 of 258 Page ID
                                                                    reservations
                     Download App here:       #:3725             Follow us:




                         Contact phone numbers:


                               01 (55) 1102-8000          506-4002-7462                502-2301-3939                503-2504-5540

                               1 855 865-2747             505-2251-2198




                         Concesionaria Vuela Compañía de Aviación, S.A.P.I. de C.V.
                         Av. Antonio Dovalí Jaime No. 70, Torre B, Piso 13 Col. Zedec Santa Fe, Del. Álvaro Obregón, C.P. 01210
                         Ciudad de México, México.




Delivered-To:                                      robertrundo@gmail.com
Received:                                          by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp2685047wrt; Thu, 18 Oct 2018 10:35:16
                                                   -0700 (PDT)
X-Google-Smtp-Source:                              ACcGV63Uhxy1jXbxDlL2NwPZ4ZGY6ZVNlVa/kc5KNiy9l8YA3jLb3Rmgg1D0ndZozHeucXewImYK
X-Received:                                        by 2002:ae9:c307:: with SMTP id n7-v6mr29549789qkg.70.1539884116163; Thu, 18 Oct 2018
                                                   10:35:16 -0700 (PDT)
ARC-Seal:                                          i=1; a=rsa-sha256; t=1539884116; cv=none; d=google.com; s=arc-20160816;
                                                   b=lO/MP9lS9G+Yn3Z9Mqnw9TFX+orAqGvQxj8zxPcg3kWGPuEENLRVX58uaubNaNzT1n
                                                   5cXkcMERc/dzsxrrb26eXyLBRW2kogPJZNuKGhFCY7ygaWJTjPwkbvXSQLsZvnbQWk3z
                                                   ZBxy+6Nb1AANuM842ZhtQnMGjxG1A+fylVYCJ994yLwMN1v5lduro3XMDQF33hGPg9Ux
                                                   KgccoKjgIOGHmLs4G9QMcQAkWAPXAkH2DdmRMIiA5mrt2xNinjYIqjB4rl+Q4BbXey/d
                                                   1MLPrMpXesaFZrfU7W1ZFaTBq33lwJfmZRb1gdd20+wwxEJ1xDpEe38mZ09CZtfDuA1j gZmw==
ARC-Message-Signature:                             i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=message-
                                                   id:subject:date:reply-to:to:from:mime-version;
                                                   bh=Wq897t5svZ1k1BgBpjC6WrREWSJ7NGAIk0LoMffK59o=;
                                                   b=FS8owPn7vRHjT20gq//ne6GQgsOhGY/q4b23yiofYSQRMKn9he7xQ6B1at/qnrEVHb
                                                   5apY7kR/0uhCMGURgJas0/KFII3+ECx6ps2SWMX8GxEUIrBufiSOH5uNf9LJB4i/Qs7X
                                                   H+6oNm0sK2lSPck5hQpa4HPnRr7qVaZWt6I3k42/SILq3Z9jxfQb8LPhHtVJSCOemvQ7
                                                   X9qJOzx8BPXxCozdr3UbmvcGWq45RSEbM9okoDndVXFe1X/DaDb0lOmyI7kE9R1Uvq8F
                                                   jm3LnaLkq12acLEKEMMv0KzeO84CBKoz83LCAoU67QajyZxfcXZibOLpqRM4wYxkGFez OijQ==
ARC-Authentication-Results:                        i=1; mx.google.com; spf=pass (google.com: domain of notificaciones@volaris.com designates
                                                   52.54.26.227 as permitted sender) smtp.mailfrom=notificaciones@volaris.com
Return-Path:                                       <notificaciones@volaris.com>
Received:                                          from Y4AVSMTP01 (ec2-52-54-26-227.compute-1.amazonaws.com. [52.54.26.227]) by
                                                   mx.google.com with ESMTP id u31-v6si8530256qtu.230.2018.10.18.10.35.15 for
                                                   <robertrundo@gmail.com>; Thu, 18 Oct 2018 10:35:16 -0700 (PDT)
Received-SPF:                                      pass (google.com: domain of notificaciones@volaris.com designates 52.54.26.227 as permitted
                                                   sender) client-ip=52.54.26.227;
Authentication-Results:                            mx.google.com; spf=pass (google.com: domain of notificaciones@volaris.com designates
                                                   52.54.26.227 as permitted sender) smtp.mailfrom=notificaciones@volaris.com
Received:                                          from Y4RZPWMNS100 ([149.122.50.15]) by Y4AVSMTP01 with Microsoft
                                                   SMTPSVC(8.5.9600.16384); Thu, 18 Oct 2018 12:35:12 -0500
MIME-Version:                                      1.0
Reply-To:                                          notificaciones@volaris.com
Content-Type:                                      multipart/alternative; boundary=--boundary_702460_b16836d1-ce11-4987-a96a-9f0306083f0d
Return-Path:                                       notificaciones@volaris.com
Message-ID:                                        <Y4AVSMTP01z8B8ign2E0003010c@Y4AVSMTP01>
X-OriginalArrivalTime:                             18 Oct 2018 17:35:12.0760 (UTC) FILETIME=[EC9B7F80:01D46708]




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file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…   4/4
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 147 of 258 Page ID
                                  #:3726




                            Exhibit 23
                                                                                          Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 148 of 258 Page ID
                                                                                                                            #:3727
                                                                                                                    Your priceline itinerary for Istanbul, Turkey - Sunday, October 21, 2018 (Itinerary# 119-448-654-70)


  From:                                                                                               "Priceline.com" <trans@priceline.com>
  Sent:                                                                                               10/19/2018 9:15:27 AM -0400
  To:                                                                                                 robertrundo@gmail.com
  Subject:                                                                                            Your priceline itinerary for Istanbul, Turkey - Sunday, October 21, 2018 (Itinerary# 119-448-654-70)


  Here is your itinerary for Istanbul, Turkey. Thank you for booking with priceline.com




                                                                                                                                                                                    Hotels    Cars     Flights




                                                                                                  Have a great time Robert!                                                      Priceline Trip Number:
                                                                                                                                                                                     119-448-654-70
                                                                                                  Thanks for booking your flight with priceline.com via

                                                                                                  View printer friendly itinerary




                                                                                                 San Salvador, El Salvador                    Istanbul, Turkey
                                                                                                 Sun Oct 21 2018 - Mon Oct 22 2018

                                                                                                 To view your airline confirmation numbers, click here.



                                                                                                   Passengers :               Robert Paul Rundo
                                                                                                                              Ticket Number: 2357216983291




                                                                                                   Sun Oct 21                 San Salvador            Istanbul

                                                                                                   SAL      PTY               07:11 AM - 10:19 AM
                                                                                                                              Turkish Airlines Flight 9558
                                                                                                                              Operated by Copa
                                                                                                                              2h 8m, 721 miles

                                                                                                                               Depart: Óscar Arnulfo Romero Intl Airport (SAL), San Salvador
                                                                                                                               Arrive: Tocumen Intl Airport (PTY), Panama City

                                                                                                                              Economy Class - Boeing 737-700


                                                                                                                                    2h 21m layover in Panama City


                                                                                                   PTY      IST               12:40 PM - 09:55 AM
                                                                                                                              Overnight Flight
                                                                                                                              Turkish Airlines Flight 800
                                                                                                                              13h 15m, 6,726 miles


                                                                                                                               Depart: Tocumen Intl Airport (PTY), Panama City
                                                                                                                               Arrive: Ataturk Intl Airport (IST), Istanbul

                                                                                                                              Economy Class - Airbus A330-200


                                                                                                   Important Information

                                                                                                   Airline change penalties and restrictions apply.

                                                                                                   Airline Tickets are non-transferrable. Name changes or adjustments are not allowed

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                                                                                                                                                                                                                           1
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 149 of 258 Page ID
                                           #:3728
                                           Your priceline itinerary for Istanbul, Turkey - Sunday, October 21, 2018 (Itinerary# 119-448-654-70)

                        You will be issued electronic tickets. All travelers will need a valid passport and you may also need
                        to show additional documentation at your destination and/or in connecting countries

                        Children under the age of 18 may require additional documentation when traveling internationally.

                        Federal law forbids the carriage of hazardous materials such as aerosols, fireworks, and
                        flammable liquids aboard aircraft in your luggage or on your person. For full details on prohibited
                        materials contact your airline or visit the FAA website.




                       Need a Rental Car?                                                                         See all Rental Cars
                       We've got amazing deals from the top rental car brands!


                       Pick-up:         Mon October 22 - 10:30 AM                                                      Change Search
                       Drop-off:        Tue October 23 - 09:30 AM



                          Reserve Your Car Now Before Rates Go Up!




                          $12 / day                            $36 / day                          $40 / day
                          Mini Car                             Economy Car                        Compact Car


                           man     ac                            5      1     man     ac            5      1     man     ac

                              Pay at Pick-up                         Pay at Pick-up                     Pay at Pick-up
                              Free Cancellation                      Free Cancellation                  Free Cancellation


                             Choose                                  Choose                             Choose




                      Prices are per day in USD                                       Don't see something you like? See More Cars




                      Add a Hotel                                                                                        See all Hotels


                      Check-in:         Mon October 22
                      Check-out:        Tue October 23




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                                                                                                                                                  2
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 150 of 258 Page ID
                                           #:3729
                                             Your priceline itinerary for Istanbul, Turkey - Sunday, October 21, 2018 (Itinerary# 119-448-654-70)


                                                  Dilek Hotel                                                       Avcilar Dedem Hotel
                                                  Topkapi - Aksaray - Yeni...                                       Esenyurt - Beylikduzu - ...

                                                                      From $18                                                          From $19


                                                  Avcilar Inci Hotel                                                Elit Suits Pendik
                                                  Esenyurt - Beylikduzu - ...                                       Sabiha Gokcen Intl Airpo...

                                                                      From $22                                                          From $24



                       Prices are per night in USD




                       Frequently Asked Questions


                           What identification will I need at check-in?
                           Can I change or cancel my reservation?
                           Reserving seats
                           Online check-in
                           What are the baggage / carry-on restrictions and fees?


                           See All




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                                                                                                        Book and view your itinerary on the go!

                                                   More Details »                                       More Details »



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                     Responses to this e-mail will not go to a customer care representative. To contact our customer care team directly, please go to the
                     customer care page of our website.

                     This is a transactional email from priceline.com LLC - 800 Connecticut Ave. Norwalk, CT 06854




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                                                                                                                                                            3
         Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 151 of 258 Page ID
                                           #:3730
                                        Your priceline itinerary for Istanbul, Turkey - Sunday, October 21, 2018 (Itinerary# 119-448-654-70)

  Delivered-To:                                  robertrundo@gmail.com
  Received:                                      by 2002:a5d:60cd:0:0:0:0:0 with SMTP id x13-v6csp3907560wrt; Fri, 19 Oct 2018 06:15:28 -0700
                                                 (PDT)
  X-Google-Smtp-Source:                          ACcGV601xCGBFgwekTJWMjZGXBx+LCh+o0yJfWJzc2NR8I59EjVMsLJWCeIzmGbNrgFsgrn9c1GW
  X-Received:                                    by 2002:a0c:d0a2:: with SMTP id z31mr9235341qvg.179.1539954928309; Fri, 19 Oct 2018 06:15:28
                                                 -0700 (PDT)
  ARC-Seal:                                      i=1; a=rsa-sha256; t=1539954928; cv=none; d=google.com; s=arc-20160816;
                                                 b=CC3Uim4GXmGrGXUgxRPUarvxc8CVQCBF3H2o5NHH6OmE3o3kCs2ZmhpT9jynBa86hn
                                                 pF3IkU6p1u5BmcSjaxqaoKfyBNAT4ZGka4cWav2zEGXRSPWlPKMSnU82QAftPlP2XpO7
                                                 tBuo3vKmMH0GeNWqwCPHFQ0oyn9obZj73gisPK90OOYJHqZHNvBgTMzPe64AAGQxbhJm
                                                 14VX/s4M9y41Fya5HaPVytTgiVWpz9Y2fFNcukPeEyCNHLFLTux7ec/mJupep/c36WNj
                                                 L35/K2+nQgfudN/pUekMpp56hoxmMSr04waMGLdQcBXiCh/exZ2ODcqbXkGx6vbqwnLv F3rQ==
  ARC-Message-Signature:                         i=1; a=rsa-sha256; c=relaxed/relaxed; d=google.com; s=arc-20160816; h=return-to:content-transfer-
                                                 encoding:mime-version:subject:to :reply-to:from:date:message-id:dkim-signature:dkim-filter;
                                                 bh=d0eY8MqBHpIw3ICQGnYBNCrHGck4tWnx+L6RqNsH1Wo=;
                                                 b=vkyYtkdzW+C/tG0zLSxrctmpb2iFDy4AqrEfjjVrkP5ekmpJvr7uf+HmvV1ClEY++u
                                                 URWcAF5UB0iq2s6bA4nLGNJ8x8w+tGShFHZo+qkNmh9oXf6GefYbdNhAQWN2fNZpfYj5
                                                 /DecOTT9LkLJb86+Mn9SfMolUoUYA7ZWxmpXaryl9afyrNFz0CJ8R/J+eHI1/rL0cGMu
                                                 c5c5TBC+DQlnfJ7ATdUFA/72jGsE3OWUSe+mXpj31Xk9DJxzYRl/262bjhnbpXfSXGUK
                                                 qQ9xA/qTUgEexC59RSyEBFOqBUJ7PWV2+ewYoi+6XZPZrDbKYFIBXxanCYs0R0WwvqE/ JJmQ==
  ARC-Authentication-Results:                    i=1; mx.google.com; dkim=pass header.i=@priceline.com header.s=corp-def2014
                                                 header.b=PUYwaz5Y; spf=pass (google.com: domain of trans@priceline.com designates 64.6.30.6 as
                                                 permitted sender) smtp.mailfrom=trans@priceline.com; dmarc=pass (p=QUARANTINE
                                                 sp=QUARANTINE dis=NONE) header.from=priceline.com
  Return-Path:                                   <trans@priceline.com>
  Received:                                      from ash1-smtp-dmz02.dmz.priceline.com (ash1-smtp-dmz02.dmz.priceline.com. [64.6.30.6]) by
                                                 mx.google.com with ESMTPS id g8-v6si1996712qtk.14.2018.10.19.06.15.28 for
                                                 <ROBERTRUNDO@gmail.com> (version=TLS1 cipher=AES128-SHA bits=128/128); Fri, 19 Oct 2018
                                                 06:15:28 -0700 (PDT)
  Received-SPF:                                  pass (google.com: domain of trans@priceline.com designates 64.6.30.6 as permitted sender) client-
                                                 ip=64.6.30.6;
  Authentication-Results:                        mx.google.com; dkim=pass header.i=@priceline.com header.s=corp-def2014 header.b=PUYwaz5Y;
                                                 spf=pass (google.com: domain of trans@priceline.com designates 64.6.30.6 as permitted sender)
                                                 smtp.mailfrom=trans@priceline.com; dmarc=pass (p=QUARANTINE sp=QUARANTINE dis=NONE)
                                                 header.from=priceline.com
  Received:                                      from ash1-smtpfwd-401.corp.priceline.com (ash1-smtpfwd-401.corp.priceline.com [10.5.115.2]) by
                                                 ash1-smtp-dmz02.dmz.priceline.com (8.14.7/8.14.5) with ESMTP id w9JDFRoe014213 for
                                                 <ROBERTRUNDO@GMAIL.COM>; Fri, 19 Oct 2018 09:15:27 -0400
  DKIM-Filter:                                   OpenDKIM Filter v2.8.0 ash1-smtp-dmz02.dmz.priceline.com w9JDFRoe014213
  DKIM-Signature:                                v=1; a=rsa-sha256; c=relaxed/relaxed; d=priceline.com; s=corp-def2014; t=1539954927;
                                                 bh=d0eY8MqBHpIw3ICQGnYBNCrHGck4tWnx+L6RqNsH1Wo=; h=Date:From:Reply-To:To:Subject;
                                                 z=Date:=20Fri,=2019=20Oct=202018=2009:15:27=20-0400=20(EDT)|From:=2
                                                 0"Priceline.com"=20<trans@priceline.com>|Reply-To:=20no-reply@pric
                                                 eline.com|To:=20ROBERTRUNDO@GMAIL.COM|Subject:=20Your=20priceline=
                                                 20itinerary=20for=20Istanbul,=20Turkey=20-=20Sunday,=20October=202
                                                 1,=0D=0A=202018=20(Itinerary#=20119-448-654-70);
                                                 b=PUYwaz5YmfUEx2Zs29RABNcCPyUQO5wPtMMqV2wbAnsBxT/sSWBCWPFSRc+p4ZMf7
                                                 lHGhxEko88uiWdfz3WdCPd8KygJlBJyXa7KHcv0S+TDXkE7vRDrQScYf60tLf4ZeGx
                                                 HX8LiloSmMkHsf3sZWWQWMTIyZiKLiQtA6nQ+e48=
  Received:                                      from ash1-dets-401 (ash1-dets-401.prod.pcln.com [10.5.68.11]) by ash1-smtpfwd-
                                                 401.corp.priceline.com (8.14.7/8.14.5) with ESMTP id w9JDFRrn028195 for
                                                 <ROBERTRUNDO@GMAIL.COM>; Fri, 19 Oct 2018 09:15:27 -0400
  Message-ID:                                    <1700301906.1539954927564.JavaMail.dets@ash1-dets-401>
  Reply-To:                                      no-reply@priceline.com
  Mime-Version:                                  1.0
  Content-Type:                                  text/html; charset=utf-8
  Content-Transfer-Encoding:                     quoted-printable
  X-priceline-ets-request-id:                    fbede999-42d1-4f02-acf5-c7906638e313
  X-priceline-ets-audit-id:                      43701693207
  X-priceline-ets-sent_email-id:                 43048517007
  Return-TO:                                     234234.bounce@production.priceline.com




file:///E:/Discovery/Individuals/Robert Rundo/Emails/4 Emails (Riseabovemvnt@gmail.com, robertrundo@gmail.com, diynationalism@gmail.com, ourp…     4/4
                                                                                                                                               4
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 152 of 258 Page ID
                                  #:3731




                            Exhibit 24
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 153 of 258 Page ID
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                                  #:3736




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 158 of 258 Page ID
                                  #:3737




                           Exhibit 25
                       (filed under seal)
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 159 of 258 Page ID
                                  #:3738




                            Exhibit 26
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 160 of 258 Page ID
                                  #:3739




                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                 CASE NUMBER:

                                   PLAINTIFF,                         ~~~~      No. CR 18-759-CJC


 ROBERT PAUL RUNDO,
                                                             WARRANT FOR ARREST
                                   DEFENDANTS)

 To:     UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STATES OFFICER

 YOU ARE HEREBY COMMANDED to arrest ROBERT PAUL RUNDO,
 and bring him/her forthwith to the nearest Magistrate Judge to answer an Indictment
 charging him/her with Conspiracy and Riots, in violation of Title 18, United States
 Code, Sections 371, 2101.




 Kiry K. Gray                                                   ~
 rra~ of issulrrG oFFicEx                                   April~f'2022                  L       Angeles, CA
 Clerk of Court                  ~~~~~~
 TITLE OF ISSUING OFFICER                                   DATE AND LOCATION      S          E

~                                                      By: HON. MICHAE
 SIGNATURE OF DEP TY CL             ~,~ ~                   NAME OF NDICIAL OFFICER


                                     X245      RETURN

 THIS WARRANT WAS RECEIVED AND EXECUTED WITH THE ARREST OF THE ABOVE-NAMED DEFENDANT AT(LOCATION)




 DATE RECEIVED                                              Nf1ME OF f1RRESTING OFFICER


 DATE OF ARREST                                             TITLE



 DESCRIPTIVE INFORMATION FOR DEFENDANT                      SIGNATURE OF ARRESTING OFFICER
 CONTAINED ON PAGE TWO




CR-12(08/10)                           WARRANT FOR ARREST                                             Page 1 of2
                                                                                                                   1
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 161 of 258 Page ID
                                  #:3740




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                             CASE NUMBER:

                                            PLAINTIFF,                                          No. CR 18-759-CJC

                                  v.
 ROBERT PAUL RUNDO,
                                                                           WARRANT FOR ARREST
                                             DEFENDANTS)

                                 ADDITIONAL DEFENDANT INFORMATION

 RACE:             SEX:         HEIGHT:            WEIGHT:   HAIK:          EYES:        OTHER:


 YEAR OF BIItTH:                PLACE OF BII2TH:             SOCIAL SECURITY NO.:        DRIVER'S LICENSE    ISSUING
                                                                                         Na '                sTaTE
            1990
 ALIASES:                       SCARS,TATTOOS OR OTHER DISTINGUISHING MARKS:


 AUTO YEAR:        AUTO MAKE:   AUTO MODEL:                  AUTO COLOR:                 AUTO LICENSE NO.:   ISSUING


                                                                                                             STATE



 LAST KNOWN RESIDENCE:                                       LAST KNOWN EMPLOYMENT:




 FBI NUMBER:



 ADDTTIONAL INFORMATION:




 INVESTIGATNE AGENCY NAME:                                   INVESTIGATIVE AGENCY ADDRESS:

                            FBI
NOTES:




CR-12(08/10)                                        WARRANT FOR ARREST                                         Page 2 of2

                                                                                                                            2
   Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 162 of 258 Page ID
                                     #:3741

                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                    CASE NUMBER:

                                    PLAINTIFF,                     CR 18-759(A)-CJC-1
                             v.
 ROBERT RUNDO
                                                               WARRANT FOR ARREST
                                    DEFENDANT(S)

 To:     UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STATES OFFICER

 YOU ARE HEREBY COMMANDED to arrest ROBERT RUNDO
 and bring him/her forthwith to the nearest Magistrate Judge to answer an Indictment
 charging him/her with Conspiracy and Rioting, in violation of Title 18, United States
 Code, Sections 371 and 2101.




 Kiry K. Gray
 NAME OF ISSUING OFFICER                                       January 4, 2023             Los Angeles, CA
 Clerk of Court
 TITLE OF ISSUING OFFICER                                      DATE AND LOCATION OF ISSUANCE
  V. VELASCO
                                                        By:    KAREN STEVENSON
 SIGNATURE OF DEPUTY CLERK                                     NAME OF JUDICIAL OFFICER

                                                RETURN

 THIS WARRANT WAS RECEIVED AND EXECUTED WITH THE ARREST OF THE ABOVE-NAMED DEFENDANT AT (LOCATION)




 DATE RECEIVED                                                 NAME OF ARRESTING OFFICER


 DATE OF ARREST                                                TITLE



 DESCRIPTIVE INFORMATION FOR DEFENDANT                         SIGNATURE OF ARRESTING OFFICER
 CONTAINED ON PAGE TWO




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CR-12 (08/10)                            WARRANT FOR ARREST                                        Page 1 of 2
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                                      #:3742

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                            CASE NUMBER:

                                           PLAINTIFF,                          CR 18-759(A)-CJC-1
                                 v.
 ROBERT RUNDO
                                                                          WARRANT FOR ARREST
                                           DEFENDANT(S)

                               ADDITIONAL DEFENDANT INFORMATION

 RACE:            SEX:         HEIGHT:           WEIGHT:    HAIR:          EYES:     OTHER:


 YEAR OF BIRTH:                PLACE OF BIRTH:              SOCIAL SECURITY NO.:     DRIVER’S LICENSE NO.   ISSUING STATE

            1900
 ALIASES:                      SCARS, TATTOOS OR OTHER DISTINGUISHING MARKS:


 AUTO YEAR:       AUTO MAKE:   AUTO MODEL:                  AUTO COLOR:              AUTO LICENSE NO.:      ISSUING STATE


 LAST KNOWN RESIDENCE:                                      LAST KNOWN EMPLOYMENT:




 FBI NUMBER:


 ADDITIONAL INFORMATION:




 INVESTIGATIVE AGENCY NAME:                                 INVESTIGATIVE AGENCY ADDRESS:

                           FBI
NOTES:




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CR-12 (08/10)                                     WARRANT FOR ARREST                                             Page 2 of 2
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                            Exhibit 27
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                            Exhibit 28
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 167 of 258 Page ID
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                                  #:3748




                           Exhibit 29
                        (filed manually)
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 170 of 258 Page ID
                                  #:3749




                            Exhibit 30
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 171 of 258 Page ID
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                            Exhibit 31
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                                  #:3752
                                                                 Q09652467
                    CRIMINAL COURT OF THE CITY OF NEW YORK
                         PART APAR, COUNTY OF QUEENS


    _____________________________________
     THE PEOPLE OF THE STATE OF NEW YORK |       STATE OF NEW YORK
                                          |      COUNTY OF QUEENS
                      V.                  |
                                          |
      ROBERT RUNDO                        |
                   DEFENDANT              |
                                          |
    _____________________________________



    DETECTIVE FRANCIS JOHNSTON OF QNS DET AREA 109, TAX REG#: 910273,
    BEING DULY SWORN, DEPOSES AND SAYS THAT ON OR ABOUT MAY 10 2009 AT
    ABOUT 11:10PM, AT THE NE INTERSECTION OF 159 STREET AND 43 AVENUE,
    COUNTY OF QUEENS, STATE OF NEW YORK

    THE DEFENDANT COMMITTED THE OFFENSES OF:
    PL 120.07 GANG ASSAULT IN THE FIRST DEGREE
    PL 120.06 GANG ASSAULT IN THE SECOND DEGREE
    PL 120.10-1 ASSAULT IN THE FIRST DEGREE
    PL 120.05-1 ASSAULT IN THE SECOND DEGREE
    PL 120.05-2 ASSAULT IN THE SECOND DEGREE (2 COUNTS)
    PL 265.01-2 CRIMINAL POSSESSION OF A WEAPON IN THE FOURTH DEGREE

    IN THAT THE DEFENDANT DID:    WITH INTENT TO CAUSE SERIOUS PHYSICAL
    INJURY TO ANOTHER PERSON AND WHEN AIDED BY TWO OR MORE OTHER PERSONS
    ACTUALLY PRESENT, HE CAUSES SERIOUS PHYSICAL INJURY TO SUCH PERSON OR
    TO A THIRD PERSON; WITH INTENT TO CAUSE PHYSICAL INJURY TO ANOTHER
    PERSON AND WHEN AIDED BY TWO OR MORE OTHER PERSONS ACTUALLY PRESENT, HE
    CAUSES SERIOUS PHYSICAL INJURY TO SUCH PERSON OR TO A THIRD PERSON;WITH
    INTENT TO CAUSE SERIOUS PHYSICAL INJURY TO ANOTHER PERSON, CAUSE SUCH
    INJURY TO SUCH PERSON OR A THIRD PERSON BY MEANS OF A DEADLY WEAPON OR
    DANGEROUS INSTRUMENT;WITH INTENT TO CAUSE SERIOUS PHYSICAL INJURY TO
    ANOTHER PERSON, CAUSE SUCH INJURY TO SUCH PERSON OR TO A THIRD PERSON
    WITH INTENT TO CAUSE PHYSICAL INJURY TO ANOTHER PERSON, CAUSE SUCH
    INJURY TO SUCH PERSON OR A THIRD PERSON BY MEANS OF A DEADLY WEAPON OR
    A DANGEROUS INSTRUMENT;POSSESS A DAGGER, DANGEROUS KNIFE, DIRK, RAZOR,
    STILETTO, IMITATION PISTOL, SHIRKEN OF KUNG FU STAR OR ANOTHER
    DANGEROUS OR DEADLY INSTRUMENT OR WEAPON WITH INTENT TO USE THE SAME
    UNLAWFULLY AGAINST ANOTHER PERSON


    THE SOURCE OF DEPONENT'S INFORMATION AND THE GROUNDS FOR DEPONENT'S
    BELIEF ARE AS FOLLOWS:

    DEPONENT STATES THAT HE IS INFORMED BY THE COMPLAINANT,            THAT AT THE A
    BOVE MENTIONED DATE, TIME AND LOCATION OF OCCURRENCE, HE AND HIS FRIEND,
             , WERE AT THE STORE WHEN THEY WERE APPROACHED BY THE DEFENDANT AND FOUR
     UNAPPREHENDED OTHERS, AND THAT THE DEFENDANT ASKED HIM WHY HE WAS WEARING BLUE.


    DEPONENT STATES THAT HE IS FURTHER INFORMED BY THE COMPLAINANT THAT THE DEFENDAN
    T AND ONE OF THE UNAPPREHENDED OTHERS DISPLAYED KNIVES, AND THAT HE AND
        THEN FLED THE STORE, WITH THE DEFENDANT AND A NUMBER OF THE UNAPPREHENDED OT
    HERS CHASING THEM.

    DEPONENT STATES HE IS FURTHER INFORMED BY THE COMPLAINANT THAT HE TRIPPED WHILE
    RUNNING AWAY FROM THE SCENE, AND THAT WHILE HE WAS ON THE GROUND ATTEMPTING TO G
    ET UP THE DEFENDANT STABBED HIM IN HIS RIGHT HAND, ON HIS RIGHT ELBOW, ON HIS LE
    FT ARM, ON THE BACK OF HIS NECK AND IN HIS CHEST.

    DEPONENT STATES HE IS FURTHER INFORMED BY                  THAT HE ATTEMPTED TO
    PULL HIS FRIEND,          AWAY FROM THE ATTACK, BUT THAT HE WAS SET UPON BY ONE
    OF THE UNAPPREHENDED OTHERS WHO HIT HIM IN THE FACE WITH AN UNKNOWN OBJECT, CAUS
    ING A LACERATION TO HIS FOREHEAD THAT REQUIRED STITCHES TO CLOSE.

    DEPONENT STATES HE IS FURTHER INFORMED BY COMPLAINANT      THAT ONE OF THE UNAPP
    REHENDED OTHERS HIT HIM IN THE FACE WITH AN UNKNOWN OBJECT, CHIPPING FOUR OF HIS
     TEETH.

    DEPONENT STATES HE IS INFORMED BY BOTH COMPLAINANTS THAT THEY RECEIVED TREATMENT
     FOR THEIR ABOVE MENTIONED INJURIES AT A LOCAL HOSPITAL.

    DEPONENT STATES HE IS INFORMED BY COMPLAINANT      THAT AS OF SEPTEMBER 1, 2009,
     HIS RIGHT HAND IS STILL SWOLLEN, AND THAT HE CANNOT CLOSE IT COMPLETELY OR WITH
    OUT PAIN DUE TO NERVE AND TENDON DAMAGE FROM THE ABOVE DESCRIBED ATTACK.

    DEPONENT STATES THAT HE HAS RECOVERED AND OBSERVED SURVEILLANCE VIDEO WHICH SHOW
    S MUCH OF THE ABOVE MENTIONED INCIDENT, AND HE OBSERVED THAT ON THAT VIDEO A PER


                                                                                       1
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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 174 of 258 Page ID
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    SON RESEMBLING THE DEFENDANT AND TWO UNAPPREHENDED OTHERS CHASED THE COMPLAINANT
    S, AND THAT ONE OF THE UNAPPREHENDED OTHERS CARRIED SOME SORT OF CLUB AND THAT T
    HE OTHER UNAPPREHENDED OTHER USED IT TO STRIKE EACH OF THE COMPLAINANTS.




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Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 182 of 258 Page ID
                                  #:3761
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 183 of 258 Page ID
                                  #:3762
Case 2:18-cr-00759-CJC Document 392-2 Filed 04/12/24 Page 184 of 258 Page ID
                                  #:3763
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                            Exhibit 32
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                                  #:3767
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                                 UNCLASSIFIED//LES
Title:     (U) 20240222 SD SOG Surveillance
Re:                            04/11/2024




              B. H. Crawford
              Paul R. McCarthy

Details:

Surveillance Agent                      Surveillance Agent


SA Mika E. Hosek (1601)                 SA B.H. Crawford (1612)




                          T
SA Heather A. Jackson (1602) (TL)       SA Paul R. McCarthy (1615) (Log)


Scott Brady (1605)
                       AF
Signal      Time           Activity


1602,       12:12 pm       Assumed surveillance duties from San Diego
1615                       FBI, Squad DT-1, in the vicinity of the
DR
                           intersection of Main Street and 8th Street,
                           Ramona, California (CA). Three males walked
                           to a green Toyota Tacoma, bearing CA license
                           plate:         (known vehicle). One of the
                           males, wearing a white tee shirt, appeared to
                           be Robert Paul Rundo (Rundo).



                           (Photos)


1612,       12:14 pm       The three males walked away from the green
1615                       Tacoma.

                                 UNCLASSIFIED//LES
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                            UNCLASSIFIED//LES
Title:   (U) 20240222 SD SOG Surveillance
Re:                        , 04/11/2024




1601      12:18 pm       The three males walked in to "La Cocina"
                         Mexican restaurant, at 681 Main Street,
                         Ramona, CA.


1602      1:56 pm        The three males exited the Mexican
                         restaurant. They walked west and into a
                         business named: Auto Detailing Studio ", at




                        T
                         225 8th St, Ramona, CA.



                         (Photos)


1602      2:22 pm
                     AF  The three males exited the Auto Detailing
                         Studio. One of the males, wearing a black
                         tank top, separated from the group.


1602,     2:24 pm        The male in the black tank top was believed
1605                     to be                             He entered
DR
                         the known black Ford Ranger.


1615      2:25 pm        Rundo and the other male walked to the known
                         green Tacoma. The other male entered the
                         driver's seat. Rundo entered the passenger
                         seat, and the green Tacoma departed.


1612      2:27 pm        The green Tacoma briefly stopped in the
                         vicinity of the Auto Detailing Studio. Rundo
                         exited the truck briefly, and then returned
                         to the Tacoma. The vehicle departed with the
                         two males.


                            UNCLASSIFIED//LES
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                            UNCLASSIFIED//LES
Title:   (U) 20240222 SD SOG Surveillance
Re:                        , 04/11/2024




  Observation:
  (U//FOUO) Please refer to the Details section for complete
  surveillance log.
  Observer(s):             (FBI) Paul R. McCarthy




♦♦




                       T
                    AF
DR


                            UNCLASSIFIED//LES
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                                     #:3776
                                                                                               Serial 1113
                                                                         - 1 of 2 -
FD-302 (Rev. 5-8-10)
                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       02/29/2024



           Pursuant to an arrest warrant issued in the Central District of
        California, Special Agents and Task Force Officers (TFOs) of the Federal
        Bureau of Investigation located and arrested ROBERT RUNDO on a public
        sidewalk in front of 801 Main St, Ramona, CA 92065. The following agents and
        TFOs took part in the arrest operation:

            •    Special Agent Sean MacDougall
            •    TFO Sgt. Nick Ketchum
            •    TFO Devin Hankard
            •    TFO Alex Roti
            •    TFO Jordan Good
            •    Special Agent Kimberly Elias
            •    Special Agent Andrew Schalin
            •    TFO Jesse Zaldivar
            •    TFO Dennis Coughlin

        The following events occurred at the noted approximate times:

        1703: RUNDO and G     M        were observed exiting AUTO DETAILING STUDIO,
        225 8th St, Ramona, CA 92065. RUNDO and M        walked south on 8th St and
        turned west on Main St.

        1704: TFO Hankard and TFO Roti pulled a marked San Diego Sheriff's
        Department (SDSD) patrol vehicle, with emergency lights activated, alongside
        RUNDO and M        on Main St. TFO Hankard and TFO Roti exited the vehicle
        wearing SDSD duty vests and arrested RUNDO and detained M        on the
        sidewalk in front of 801 Main St, Ramona, CA 92065 without incident.

        1705: RUNDO was searched and placed inside the back of the SDSD marked
        patrol vehicle. During the search incident to arrest, TFO Hankard seized a
        wallet containing only cash and a mobile phone. M        was patted down for
        weapons and seated on a nearby bench.

        1705: SA MacDougall asked M        questions related to agent/TFO safety
        about other persons inside AUTO DETAILING STUDIO.




   Investigation on    02/22/2024           at   Ramona, California, United States (In Person)

   File #                                                                                                                    Date drafted    02/23/2024
        Sean Patrick MacDougall, KETCHUM NICHOLAS CHARLES, ROTI ALEXANDER DAVID, HANKARD
        DEVIN RONAN, JORDAN W. GOOD, ELIAS KIMBERLY LORRAINE, Andrew Phillip Schalin,
   by   ZALDIVAR JESSE RYAN, COUGHLIN DENNIS
  This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
  to be distributed outside your agency.
                                                                                                                                                            10
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                                          #:3777




                                                         Serial 1113
FD-302a (Rev. 5-8-10)


          266N-LA-2595943
Continuation of FD-302 of (U)   Arrest of Robert Rundo         , On   02/22/2024   , Page   2 of 2




          1710: M        was released from investigative detention and escorted from
          the immediate area.

          1723: RUNDO was transferred into the custody of FBI SA Scott Bierwirth for
          transport. RUNDO's wallet and phone were also transferred to SA Bierwirth.

          The arrest warrant is attached in a digital 1A.




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                                     #:3778
                                                                                               Serial 1110
                                                                         - 1 of 1 -
FD-302 (Rev. 5-8-10)
                                                             UNCLASSIFIED//FOUO
                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       02/27/2024



           Special Agents Scott Bierwirth and Rachel Fletcher transported Robert
        Rundo after he was arrested in the vicinity of 803 Main Street, Ramona,
        California (CA) 92065 to the West Covina Jail at 1444 W Garvey Avenue South,
        West Covina, CA 91790 on February 22, 2024. Rundo's arrest will be
        documented separately. Rundo was provided water upon Agents taking custody,
        and advised that whenever he got hungry, Agents would pull over to acquire
        dinner at a place of his choosing.

        5:24 pm- Agents took custody of Rundo from arresting Agents, including the
        receipt of property found on Rundo incident to his arrest.

        5:30 pm- Began transport of Rundo.                                        Starting mileage 56,439.

        6:15 pm- Agents switched Rundo from being handcuffed behind his back to
        handcuffed in front with a bellyband.

        7:32 pm- Agents pulled over to a 76 gas station, located at 2240 Compton
        Avenue, Corona, CA 92881, to allow Rundo to use the bathroom and pick out
        whatever food he wanted. Agents bought a sandwich, juice, and gum for Rundo
        to eat while in transit, or to take with him into the jail.

        7:41 pm- Agents resumed the transport.

        8:17 pm- Agents arrived at West Covina Jail.                                                  Ending mileage 56,553.

        8:24 pm- West Covina jail officers took custody of Rundo.




                                                                UNCLASSIFIED//FOUO

   Investigation on    02/22/2024           at   West Covina, California, United States (In Person)

   File #                                                                                                                    Date drafted    02/26/2024

   by   BIERWIRTH SCOTT JAMES, FLETCHER RACHEL A
  This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
  to be distributed outside your agency.
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                                     #:3779
                                                                                               Serial 1109
                                                                         - 1 of 1 -
FD-302 (Rev. 5-8-10)
                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       02/27/2024



           On February 23, 2024, Special Agents (SA) Christian Holm and Geoffrey
        Morris, pursuant to the execution of a Federal Arrest Warrant, transported
        Robert Rundo (RUNDO) in SA Morris's vehicle to the United States Marshal
        Service at the United States Courthouse located at 350 West 1st Street, Los
        Angeles, California 90012 from the West Covina Police Department’s Detention
        Center located at 1444 West Garvey Avenue South, West Covina, California
        91790. Starting time 8:04 AM, starting mileage 119,003, ending time 9:03 AM,
        ending mileage 119,024.

           The afternoon of February 23, 2024, it was determined RUNDO would have an
        appearance at the Ronald Reagan Federal Building and United States
        Courthouse. Agents transported RUNDO in SA Shane Andersen's vehicle to the
        Ronald Reagan Federal Building and United States Courthouse located at 411
        West Fourth Street, Santa Ana, California 92701 from the United States
        Marshal Service at the United States Courthouse located at 350 West 1st
        Street, Los Angeles, California 90012. Starting time 2:31 PM, starting
        mileage 106,576, ending time 3:48 PM, ending mileage 106,608.




   Investigation on    02/23/2024           at   Los Angeles, California, United States (In Person)

   File #                                                                                                                    Date drafted    02/26/2024

   by   HOLM CHRISTIAN RANDOLPH, ANDERSEN SHANE M, MORRIS GEOFFREY RYAN
  This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
  to be distributed outside your agency.
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                            Exhibit 33
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                                                            CRIMINAL COMPLAINT
              UNITED STATES DISTRICT COURT                                                 CENTRAL DISTRICT 01 CENTRALDISTRICTOFCALIFOR>'lA
                                                                                                                          BY:                DEPUTY

                                                                                   DOCKET NO.
                  UNITED STATES OF AMERICA
                                            V.
                                                                                   MAGISTRATE'S CASE NO.
       ROBERT PAUL RUNDO, ROBERT BOMAN,
         TYLER LAUBE, and AA ON EASON

                               Complaint for violation of Title 18, United States Code, Sections 2101, 371

  NAME OF MAGISTRATE JUDGE                                                                                         LOCATION
                                                                                   UNITED STATES
  THE HONORABLE STEVE KIM                                                          MAGISTRATE JUDGE                Los Angeles, California

  DATE OF OFFENSE                                PLACE OF OFFENSE                  ADDRESS OF ACCUSED (IF KNOWN)

  March 25, 2017 - February                      Los Angeles County
  2018
  COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

                                                                    [ 18 u.s.c. §§ 2 101, 371 ]

       Between at least March 25, 2017, and February 12, 2018, in Los Angeles County, within the Central District of California, and
  elsewhere, defendants ROBERT PAUL RUNDO, ROBERT BOMAN, TYLER LAUBE, and AARON EASON were part ofan
  agreement to use, and in fact used facilities of interstate or foreign commerce with intent to incite, organize, promote, encourage,
  participate in, or carry on riots, or to commit acts of violence in furtherance of a riot, or to aid or abet any person in inciting or
  participating in or carrying on a riot or committing any act of violence in furtherance of a riot, and during such use, performed or
  attempted to perform an overt act for one or more of the purposes specified above, in violation of Title 18, United States Code,
  Sections 2 101, 371.




  BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

             (See attached affidavit which is incorporated as part of this Complaint)

  MATERJAL WITNESSES IN RELATION TO THIS CHARGE:              N/A
                                                             SIGNATURE OF COMPLAINANT
 Being duly sworn, I declare that the
 foregoing is true and correct to the                        SCOTT BIERWIRTH
 best of my knowledge.                                       OFFICIAL TITLE
                                                             S      •       ent, Federal Bureau of Investi ation
 Sworn to before me and subscribed in my presence,

                                                                                                                      DATE

                                                                                                                      October 20, 2018
IIJ See Federal Rules of Criminal Procedure 3 and 54

AUSA David Ryan x4491 REC: Detention




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                                      AFFIDAVIT

     I , SCOTT J . BIERWIRTH , being duly sworn , declare and state as

     follows:

                                 I.   INTRODUCTION
          1.     I am a Special Agent with the Federal Burea u of

     Investigation ("FBI") in Los Angeles, California and have been

     so employed for approximately ten months .       I am currently

     assigned to a counter-terrorism squad , where I specialize in the

     investigations of domestic terrorist groups .        I attended 21

     weeks of New Agent Training at the FBI Academy in Quantico ,

     Virginia.    Prior to joining the FBI, I was an Infantry Officer

     in the United States Army , where I trained for counter- terrorism

     related missions across the globe for over four years .

          2.     Through my training and experience in the FBI and the

     United States Army , I am familiar with terrorist organizations '

    methods of operations, including their use of social media to

     communicate regarding coordination of strategic ideological

     goals, recruit and radicalize individuals , and coordinate

     v i olent extremist activities and other criminal activities to

     generate funds for the terrorist organization .

                          II . PURPOSE OF THE AFFIDAVIT
          3.     I make this affidavi t in support of criminal

     complaints and arrest warrants for Robert Rundo ("RUNDO" ),

     Robert Boman ("BOMAN" ) , Tyler Laube ("LAUBE"), and Aaron Eason

     ("EASON") for violations of Title 18 , United States Code ,

    Sections 2101 (Riots) and 371 (Conspiracy) .



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          4.    The facts set forth in this affidavit are based upon

    my personal observations, my training and experience, and

     information obtained from other agents and witnesses.           This

     affidavit is intended to show merely that there is sufficient

    probable cause for the requested complaints and warrants and

    does not purport to set forth all of my knowledge of o r

     investigation into this matter.          Unless specifically indicated

    otherwise, all conversations and statements described in this

    affidavit are related in substance and in part only with

    original typographical errors and all dates are approximate.

                         III . SUMMARY OF PROBABLE CAUSE
          5.    As described more fully below, RONDO, BOMAN, LAUBE,

    and EASON (collectively, t he "defendants " ) are members of the

    "Rise Above Movement" ("RAM"), a white supremacy extremist group

    headquartered in Southern California .         Throughout 2017, the

    defendants and other RAM members traveled to political rallies,

    incl uding in Huntington Beach, California on March 25, 2017 ,

    Berkeley, California on April 15, 2017, San Bernardino,

    California on June 10, 2017 , and Charlottesville, Virginia on

    August 11 - 12 , 2017.   RAM members violently attacked and

    assaulted counter-protestors at each of these events .

          6.    On October 10 , 2018, four RAM members were indicted in

    the Western District of Virginia for Conspiracy to Riot and

    Riots, in violation of 18 U.S . C. §§ 371, 2101, as a result of

    their participation in the events at Huntington Beach , Berkeley,




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     and Char l ottesville , Virginia.          See United States v . Daley et

     al ., 3 : 18- CR- 00025 (W . D. Va.) . 1

              7.     The defendants and other RAM members used fac i lities

     of interstate commerce wi t h the intent to organ i z e , promote ,

     encourage , participate in , or carry on riots i n at least two

     ways .        First, the defendants used the Internet to coordinate

     combat training in preparation for the events , to arrange t r avel

     to the events , to coordinate attendance at the events , and to

     celebrate their acts of violence in order to recruit members for

     future events.        Second , the defendants and other RAM members

     traveled to the April 15 , 2017 event in Berkel ey in a van that

     EASON rented using his Visa credit card.

                             IV . STATEMENT OF PROBABLE CAUSE
              8.     Based on my training and experience , my personal

     investigation into this matter , my conversations with other law

     enforcement officers , and my review of open - source materials and

     law enforcement reports, I know the following :

              A.     Background on RAM
              9.     RAM was founded in or around the winter of 2016 - 2017

     by severa l fou nding members , including RONDO and Ben Daley

     ("Daleyu) .       According to private Facebook messages sent by Daley

     in or around June 2017 , RAM was originally branded as the "DI Y



          1 On October 2, 2018 , Uni ted States Magistrate Judge Jean P .
    Rosenbluth i ssued search warrants for the premises of several
    RAM members, including RONDO and BOMAN , in Case Numbers 2 : 1 8-MJ-
    2592 , and 2 : 18 - MJ- 2598 (C . D. Cal . ) . During those searches,
    agents received physical evidence of RONDO and BOMAN ' s
    participati on in RAM, as well as several digital devices, which
    are still being reviewed .

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     DIVISION," but formally rebranded to the Rise Above Movement in

     2017. 2

           10 .     RAM represents itself publicly, through videos and

     other public online postings, as a combat-ready, mil itant group

     of a new nationalist white supremacy/identity movement.           For

     example, RAM members maintained a Twitter account with the use r

     name "@RiseAboveMvmt" (the "RAM Twitter account"), which posted

     videos and pictures of RAM members conducting training in hand-

     to-hand combat, often interspersed with video clips of RAM

     members assaulting people at political events, with their faces

     partially obscured by distinctive skeleton or American flag

     masks .      RUNDO, BOMAN , and LAUBE appear i n several of these

     videos and photographs.       The photographs below, pos ted by the

     RAM twitter account , depict RUNDO and Daley training above the

     words "WHITE UNITY ," and several RAM members, with RUNDO front

     and center, posing in skeleton masks .




           2 I reviewed contents from Daley's Facebook page pursuant
     to a search warrant issued on April 4 , 2018 from the Honorable
     Joel C. Hoppe , United States Magistrate Judge, Western District
     of Virginia, in Case Number 3:18-MJ-00007 {W . D. Va . ).

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           11.   Based on my review of private messages sent by the RAM

     Twit ter account, I believe the account was operated by RUNDO.

     For example, on April 11, 2018, the RAM Twitter account sent a

     direct message to another Twitter user stating, " I am going over

     to Europe next week and will be competing in a pan European

     [mixed martial arts) event."      Based on my review of Customs and

     Border Protection ("CBP") records , law enforcement databases ,

     and subsequent interviews with RUNDO, I know that RUNDO traveled

     to Europe in April 2018 and participated in a mixed martial arts

     event .

           12.   The RAM Twi tter account regularly posted content in

     support of the group's white supremacy extremist ideology.            For

     example, on February 5 , 2018, the RAM Twitter account posted a

    photograph of RAM members covering their faces with books with

     the accompanying text, "When the squads not out smashing commies

          . #nationalist #lifestyle . "       On March 9, 2018 , the RAM

     Twitter account posted a photograph of RAM members posing with

     the ir faces partially covered with black skeleton masks and the

    hashtags, "#nationalist #ultraright."           On March 20 , 2018, the

     RAM Twitter account posted a photograph of a man doing physical

     exercises next to a banner depicting one person kicking another

     and the text , " GOOD NIGHT LEFT SIDE ," appearing to endorse the

     use of physical violence against others who do not share RAM's

     "ultraright" ideology.

           13.   Based on my review of private social med i a

     communications    between RAM members, I know that RAM leaders

    discourage RAM members from using explicitly violent or

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     extremist langu age in public social media postings in order to

     avoid generating unwanted attention or dissuading potential

     recr uits .     For example , in private Facebook messages on August

     25 , 2017 , an associate of Daley ' s complimented Daley on a recent

     RAM promotional video and said he was interested in getting

     involved with RAM .      Daley wrote , "Yeah man.    If your still in LA

     area it ' l l probably be me meeting up with you .      We go for the

     implicit look so you'll have to change your [style] up a bit

    when your with us . 11      The associate responded , "Yea that ' s fine

     [I] can grow my hair out if need be , drop the boots a nd braces

     look etc . "     Daley responded with an image of an "OK" symbol, and

    stated, "Trust I did it for a long time too but ultimately the

     80s in that style of nationalism proved to be inef f ective .

     [I] thi nk its time to reimagine the nationalist look and

    playbook, we have become predictable that needs to change . "            In

     January 2018 , in private Facebook messages to another associate,

     Daley wrote : "I would be mindful of saying anything that could

    be misconstrued as a call to violence .         I know people who

     literally have had feds show up at there door over posts .         [J]ust

     food for though t.      Trust I ' m not speaking in terms of morality

     rather practicality . 11

           14.      Notwithstanding Daley ' s admonishment , RAM and its

    members documented their white supremacy extremist ideology in

    both private and public Internet postings.           In a video taken by

     a RAM associate , later posted online , the RAM associate asked

     RUNDO to say the "14 words . "      Based on my training and

     experience , I know that "14 words" refers to a slogan commonly

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     known and used by white supremacy extremists and neo-Nazis that

     states : " We must secure the existence of our people and a future

     for white children .   11
                                 RONDO responded , " I ' m a big supporter of

     the fourteen ,   I ' ll say that .   11




          15 .    RAM members also used graffiti to promote their white

     supr emacist ideology.      On January 12 , 2018 , law enforcement

     officers took photographs of graffiti in the Aqua Chinen Wash

     Tunnel in Irvine , California , where RAM members have posted

     videos of t he group conducting physical training exercises .          The

     photographs showed the words " RAM" and " RISE ABOVE " written in

     yellow spray paint inside the tunnel , as well as a Celtic cross

     wi t h the number " 14 " over the top in black spray paint .      As

     discussed above , the number " 14 " is commonly used among white

     supremacy extremists and nee - Nazis to refer to the " 14 words ."

     Based on my training and experience , I know that the image of

     the Celtic cross , combined with the number 14 , is commonly used

    by white supremacy e x tremists and nee-Nazis to express their

     ideology .

          16 .    In the Spring of 2018 , according to reports of

     interviews conducted by Customs and Border Protection officers

    as well as public posts on soc i al media accounts of RAM and

    several of its members , several RAM members , including RONDO ,

     Daley, and Michael Miselis ("Miselis" ) traveled to Germany ,

    Ukraine , and Italy to celebrate Adolf Hitler ' s birthday and meet

    with members of European white supremacy ext remist groups ,

     including a group known as White-Rex .        Shortly after that trip,

     the RAM- affiliated clothing company Right Brand Clothing , of

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     which RUNDO is the registered owner, posted several photographs

     on its Instagram page of RUNDO and other RAM members in Germany,

     Ukraine, and Italy, slap-tagging stickers on various buildings

     and poles with the RAM logo and the words "RAf?EFUGEES ARE NOT

    WELCOME HERE," "FCK ANTIFA," and "REVOLT AGAINST MODERN .

    ACTIVITISM-ATHLETICS-VIRTUE .         . RIGHT SIDE."     RAM members also

    posted online a video showing Daley in the Ukraine performing a

    salute known to be associated with the western Hammerskins, a

    well - established violent white supremacy extremist group that is

     associated with RAM, and of which Daley was a member before co-

     founding RAM.

          17.   On August 1, 2018, an Instagram user "tagged" Right

    Brand Clothing's account in a post containing a photograph of

    RAM members during their trip to Germany, Ukraine, and Italy

    meeting with Olena Semenyaka, the leade r of the International

     Department for the National Corps, which is a political party in

     the Ukraine that was founded in 2016 out of a regiment of the

    Ukranian military called the Azov Battalion.           Based on my

     training and experience , I know that the Azov Battalion is a

    paramilitary unit of the Ukranian National Guard which is known

     for its association with neo - Nazi ideology and use of Nazi

     symbolism, and which is believed to have participated in

     training and radicalizing United States-based white supremacy

     organizations.    The text associated with the post stated,

     "@ rightbrandwear it was an honor to meet the singer and patriot

     from #818th #nationalist #blackmetal #ukraine #antiantifa."



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          B.    March 25 , 2017 : RUNDO , BOMAN , LAUBE , and Other RAM
                Members Attacked Counter-Protesters at a Political
                Rally in Huntington Beach , California
          18.   Based on my review of law enforcement reports, videos

     and photographs posted online , and public and private

     communications between RAM members, I know that groups of RAM

    members have attended public rallies together, acted in concert

     to commit acts of violence, and planned such acts in advance

     using the Internet.

          19.   For example , I reviewed a recording of a December 2016

     RAM group phone call in which Daley shared RAM's strategic plan

     to attend rallies in 2017 in order to provide "security.u           Based

     on my training and experience, evidence gathered in this

     investigation, and the context of this discussion, Daley and the

    RAM group, who had no official role in the rallies they planned

     to attend, appeared to be discussing appearing as security

    personnel at the rallies so they could be prepared to engage in

     violent confrontations that may erupt at the rallies.          On the

     call, Da ley instructed lis teners to wear specific clothing, such

    as polo-style shirts and khakis, to get military style haircuts,

    and to maintain an organized presence at the events.

          20.   On March 25, 2017, at least several hundred people

    attended a "Make America Great Again" rally at the Balsa Chica

    State Beach in Huntington Beach, California.          The rally, and the

    violence that ensued, were captured on video by numerous

     journalists and participants.      Throughout the morning, the

    attendees engaged in various activities, including chanting and




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     making speeches.    As those activities were ongoing, a small

     group of counter- protestors gathered nearby on the beach .

          21 .   Videos uploaded online show hundreds of rally

     attendees marching south along the beach.        At the same time, to

     the north of the marchers , videos show a small group of rally

     attendees, including several RAM members carrying signs that

     read "DEFEND AMERICA" and ''Da Goyim Know," did not march south ,

     but instead confronted the counter- protestors.        Based on my

     training and experience, I know that the phrase "da goyim know"

     is commonly used by white supremacist extremists to refer to

     their supposed knowledge of a Jewish conspiracy to control world

     affairs .

          22 .   Videos show several rally attendees confronting ,

    pushing , and then punching two journalists from a local news

    publication .    As the journalist stumbled backward, LAUBE grabbed

     the journalist ' s shoulder with his left hand, and punched him

     three times in the face .    A counter- protestor then released

    pepper spray, leading the crowd to momentarily disperse.            LAUBE

     is depicted assaulting the journalist in the screenshot below .




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             23.    Videos show a group of approximately three to five

     counter- protestors then turned away from the group of rally

     attendees and walked north along the beach while a small group ,

     led by RUNDO , BOMAN , LAUBE, Daley , and other RAM members pursued

     them.

             24 .   Approximately 20 seconds later, videos show that BOMAN

     caught up to one of the counter-protestors and kicked him in the

    back, as depicted below.




             25 .   A second counter-protestor turned and approached

    Daley, who shoved the counter-protestor in response .          The

    counter - protestors continued walking nort h away from the RAM

    members, as the RAM members continued pursuing them.           Another

    rally attendee walking alongside the RAM members approached one

    of the counter - protestors and punched him in the face , knocking

    him to the ground .



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             26.   Seconds later, videos show RUNDO approached another of

     the counter-protesters from behind and punched him in the back

     of the head.      BOMAN ran up behind RUNDO toward the counter -

    protestor, but turned back after a second counter-protester

     released pepper spray .     RUNDO then turned to the second counter-

    protestor , punched him in the back of the head , grabbed the back

     of his neck, and threw him to the ground, landing on top of him .

     RUNDO then held the counter-protester down with his left hand

     and threw several punches at the counter-protestor' s head while

     other RAM members looked on, cheered, and prevented others from

     interveni ng , as depicted in the screenshot below .




             27.   After several seconds, video shows the counter-

    protestor released pepper spray, leading RUNDO to back away from

    h im .    The counter-protestor then ran northeast from the beach

     into a parking lot , while other ra lly attendees pursued him,

    pushing him and hitting him with f l ag poles.        According to



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     eyewitnesses , another RAM member pursued the counter- protestor

     and threw a large rock at him , striking him in the chest .

           28.   During and after these violent confrontations , videos

     show the majority of the rally attendees continued peaceful l y

     marching south down the beach, while RONDO , BOMAN , LAUBE , Daley,

     and other RAM members , remained in the same area with a group of

     other ra l ly attendees .   Approximately 20 minutes later ,

     approximately five counter - protestors arrived at the beach near

     where the location where the RAM members remained gathered .           The

     RAM members , including RONDO, BOMAN, LAUBE , and Daley, led a

     group of 15-20 men who pursued the counter-protestors for over a

    minute as the counter- protestors walked north along and the

     beach to the parking lot .

          C.     March-April 2017 : RAM Members Celebrated Their
                 Assaults at Huntington Beach and Prepared for Berkeley
          29 .   Based on my review of the contents of Da l ey ' s cell

    phone , I know that later on March 25, 2017 , Daley sent a text

    message to another RAM member , stating , "Front page of the

     stormer we did it fam ."     Based on my training and experience , I

     know that the "Daily Stormer" is a news website and online

     community foru m that i s well known among neo-Nazis and white

     supremacy extremists , which publ ished an article after the

     Huntington Beach event titled "Trumpenkriegers Physically Remove

    Antifa Homos in Hu ntington Beach." 3      Based on my review of the



          3 Based on my training and experience , I know that
     "Trumpenkriegers" is intended to mean "Fighters for Trump . "
     "Physical removal" is a term commonl y used by white supremacy
     extremists to refer to the goal of separat i ng or "physically

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     contents of BOMAN's Facebook account, I know that BOMAN posted

     the Daily Stormer article on his Facebook page, along with the

     comment , "We did it fam ." 4

          30.   I reviewed photographs of the Huntington Beach rally

    published on the Internet.       One i mage, which appears to have

    been posted by the DIY Division' s Instagram account, depicts

     RUNDO punching a counter-protester , with the words "Physical

     Removal" superimposed across the top .      That image is depicted

    below.




          31.   The RAM Twitter account later posted a picture of RAM

    members, including RUNDO, BOMAN, and Daley , at the Huntington

    Beach rally, standing behind a sign stating "Defend America,"

    with the accompanying text, "Shortly after this pie antifa was



    removing" those with viewpoints or lifestyles that are viewed as
    undesirable .
         4 I reviewed contents from BOMAN's Facebook page pursuant to

    a search warrant issued on September 4, 2018 from the Honorable
    Paul L. Abrams , United States Magistrate Judge , Central District
    of California , in Case Number 2 : 18-MJ-02307 (C . D. Cal . ).

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     btfo i n Hun tington Beach.u       Based on my training and experience,

     I know that "BTFOu stands fo r "Blown The Fuck Out ."

             32 .   Based on my review of the contents of Miselis ' s cell

     phone ,    I know that , on March 27 , 2017 , EASON sent a text message

     to Miselis, who appears to have first been introduced to the

     other RAM members at the Huntington Beach rally , inviting him to

     the rally in Berkeley on April 15 , 20 1 7 .      EASON wrote , "It's

    Aaron from the HB rally .         I wanted to let you know that the

     organizers of the free speech rally at Berkeley on April 15 are

    paying for r ooms for our guys .               We ' re expecting about 15

    sol i d guys i n our caravan coming up from So Cal and we can

     accomodate as many as you can give .         Quality only of course.       If

     you have good people who aren ' t cut out for security, the

     organ i ziers are looking for people to fill roles like

    photography . Anyone who doesn't come will wish they had .              Oh and

    we have hand to hand and format i on fighting training in San

    Clemente this Saturday. It ' s not required,         but we ' d like to get

    everyone we can there ."

             33.    Later on March 27 , 2017 , Daley wrote to Miselis to

     invite him to the Berkeley rally, and Miselis replied , "Right

    on , Aaron from the rally mentioned some folks were going up .

     I ' ll drop the line on our end and see if anyone else can make

    it . "     Daley replied, "Preciate we need all heads we can get ."

             34 .   On March 29 , 2017 , EASON wrote to MISELIS aga i n ,

    stating , "Training is a go.         Saturday at 11 am .   Marblehead

    Park, San Clemente .              We ' ll probably h ave equipment for

    shield and stick training and our formation tactics ready . "

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             35 .   On April 12, 2017, Daley wrote to Miselis, "Got a 11

     van reserved for Friday. 11      Asking everyone to kick in 20 or 40.

     Thinking of leaving around 1130.           Does that time work for you? 11

     Miselis replied, "Absolutely . "

             36.    According to reco rds received from Airport Van Rental,

     on April 14 , 2017 , EASON rented a 12 - 15 passenger van for

     $493 . 87, using a Visa credit card with account number ending in

     0807.        Photographs posted online show BOMAN, Daley, Miselis, and

     other RAM members posing in front of the van following the event

     in Berkeley on Apri l 15 , 2017.

             D.     April 15 , 2017: RUNDO , BOMAN , EASON , and Other RAM
                    Members Attacked Counter-Protesters at a Political
                    Rally in Berkeley , California
             37.    On April 15, 2017, RUNDO, BOMAN, EASON, Daley, and

     other RAM membe rs attended a political rally at Martin Luther

     King Jr. Civic Center Park in Berkeley, California.            Videos

    posted online also show RONDO, BOMAN, EASON, and Daley standing

     alongside other RAM members displaying a sign that stated

     "Defend America" with their hands taped in the manner of a boxer

     or mixed martial arts fighter, wearing grey and black athletic

    shirts with their faces partially covered by the distinctive

    skeleton masks shown in RAM training videos .           Videos posted

    online show that ral ly attendees and counter-protesters were

     initially separated by orange fencing.           After several minutes,

    several RAM members crossed the orange fencing and assaul ted

     counter-protesters.       I n one video, BOMAN is shown punching a

    counter- protester in the face.        In another video, BOMAN is shown

    punching a person while holding the person down on the ground.

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     The i mages below dep i ct BOMAN at the Berkeley ral l y preparing to

     fight with his hands taped and then BOMAN p u nching a counter-

     p r otestor while EASON, Miselis , and other RAM members stood

     beside him .




          38 .    In another video , anoth e r RAM member is shown

     repe a ted ly pun ching a p e rson while two unidenti f ied people and a

     second RAM member a ppear to hold the person down in a crouched

    pos it ion.     In another video , Misel i s , Daley , and two other RAM

    members are shown r epeatedly kicking and punching a counter-

    protestor who was crouching i n a defens i ve pos i tion , u nti l

    police intervened and p u shed them away .       In another video , RUNDO

     is shown approaching a counter- protestor and punching him in the

    side of the head.

          39 .    Minutes later , after several RAM members and rally

    attendees had crossed the orange fencing separating them from

     the counter-protesters , RUNDO , BOMAN , EASON , Daley, Miselis

     confronted several counter-protestors .       Videos show RUNDO,

    BOMAN, and Daley attempting to pull away a banner held by

    several of the counter-protesters .        After one of the counter-

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    protestors fell to the ground, videos show RUNDO began throwing

    punches at multiple different people, including one person who

    was falling to the ground.       According to Berkeley Po li ce

     Department ("BPD") officers, a BPD officer saw RUNDO punching

     the apparently defenseless person in the head , and ordered RUNDO

     to stop, but RUNDO did not respond .      The BPD officer knocked

    RUNDO to the ground to stop the ongoing assault, and RUNDO

    punched the officer twice in the head before BPD officers

    subdued and arrested him .

          40.     Several minutes later , EASON, Daley and other RAM

    members and rally attendees pursued counter-protestors out of

    the park through public streets, chanting "hey, hey , hey,

    Goodbye . "    Videos show BOMAN confronting counter-protestors and

    hitting a counter-protestor in the face .        Videos s how Daley

    climbing over over a barricade separating protestors and

    counter-protestors , kicking counter-protestors as they fall down

    due to the falling barricade, and then chasing a counter-

    protestor and kicking him in the back.         Pictures posted online

    from after the event show BOMAN, Daley, Miselis, and other RAM

    members holding up in celebration the banner that they pulled

    away from counter-protestors during the rally.

          E.      April-August 2017: RAM Members Celebrated Their
                  Assaults at Berkeley and Prepared for More Events
          41 .    On April 16, 2017 , the day after the Berkeley rally ,

    BOMAN posted a photograph on his Facebook page showing him

    punching counter-protestors at what appears to be the rally in

    Berkeley the previous day.       BOMAN then "liked" the photograph on


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     Facebook.    Another RAM member commented on the post, "You can't

     like your own photo you idiot ," and BOMAN responded, " Offff

     couuuuurssseeee you can,!!!"

          42.    On April 16 , 2017, BOMAN posted a photograph on his

     Facebook page showing himself and fellow RAM members pulling

     what appears to be a banner or poster away from counter-

     protestors at the Berkeley rally.

          43 .   On April 1 6, 2017, another RAM member sent a text

     message to Miselis describing a video showing Miselis at the

     Berkeley event, and Miselis replied, "Hell yeah man .         I was

     about to jump into that but our guys were just wrecking them,

     like not even any room to get a hit in.        I was like alrite, u

     guys got it handled then lol . " 5    Later that day, Miselis sent

     another text message describing how one of the guys "up their

     fighting with us .      . was pretty based too, apparently he hit

     an antifa so hard he dislocated his shoulder."         Miselis wrote,

     "I ' ve been dealing with my hand all day.      Just found a video on

     that site where you can see me breaking it on a guys head lol ."

     The other RAM member responded , "I've been looking at videos .

     There's a grey-shirted storm trooper at the fucking front every,

     single, time .    You guys were lions . "   Miselis replied, "Total

     Aryan victory."

          44.    On April 21 , 2017, EASON sent a text message to

     Miselis asking if his broken hand was strong enough to attend




          5   "Lal" is an acronym meaning "laugh out loud ."

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     another event at Berkeley on April 27, 2017, stating, " I 'm

    driving up to deny antifa a face-saving victory."

          45 .    On May 15 , 2017, the RAM Twitter account sent a

    message to another Twitter use r who had proposed interviewing

    RAM leaders for a podcast .       The RAM Twitte r account replied,

    "Maybe if there [is] enough time could mention berekly how we

    were the first guys to j ump over the barrier and engage and how

    that had a huge impact . "

          46.     On June 1, 2017, Daley sent a private Facebook message

    to an associate stating that he and his group "stole yevet

     farlarkas banner at the April 1 5 th riots lol."      Daley's associate

    responded, "That subhuman professor from CA.             . She needs the

    rope[,]" appearing to suggest that t he professor should be

    hanged .     Daley responded, "Yep lo l . "   The associate responded,

    "My boy supposedly kicked her in the face."          Based on my review

    of publicly available media accounts of the rally in Berkeley on

    April 1 5 , 2017, Yvette Felarca was a leader of a local group of

    antifa counter- protestors who attended the rally.

          47.     In May 2017 , BOMAN posted a picture on Facebook

    showing himself and another RAM member box ing in a garage with

    various white supremacist signs and banners posted on the walls.

    One of the signs states, "Da Goyim know," and appears to be the

    same sign BOMAN and other RAM members were photographed carrying

    at the Huntington Beach rally in March 2017.          Another of the

    banners appears to be the same banner that Daley claimed he and

    his associates stole from Yvette Felarca during the Berkeley

    rally in April 2017.

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           48.     On August 10, 2017, BOMAN posted a photograph on his

     Facebook page showing himself punching a counter- protestor.

     Another Facebook user later commented on the photograph, "U in

     Charlottesville?"      BOMAN responded, "Naw tha t was in Berkley . "

           F.      August 11-12 , 2017: Other RAM Members Committed
                   Violent Assaults at the Unite the Right Rally in
                   Charlottesville , Virginia
           49 .    Based on my review of RAM members text messages and

     Facebook communications, photographs and videos posted online ,

     and law enforcement reports, I know that , between April and

     August 2017, RAM members engaged in regular combat training

     sessions and attended additional political events where they

     confronted counter-protestors and others who do not share their

     ideo logy .    For example , videos posted online show that, on June

     10, 2017, RUNDO, Daley, and other RAM members attended an "Anti -

     Islamic Law" rally in San Bernardino , California, where they

     engaged in violence agains t counter-protestors , leading to

     arrests of three RAM members.       On June 13, 2017, Daley wrote a

     text message to an associate stating, "We smashed some antifa as

     they were leaving."      The associate responded , " If it wasn ' t for

     the White Nationalists nothing would ever get done .         Daley

     replied, "This is true would've been no victory in Huntington or

     Berkeley."

           50.     On August 12 , 2017, several RAM members , including

     Daley and Miselis, attended the " Unite the Right" ra lly i n

     Charlottesville, Virginia.      RAM members coordinated the ir

     attendance at that rally in the previous months.         For example, I

     reviewed a screenshot from a group chat on the c hatroom hosting

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     service Discord , from a subgroup labeled "lodging_wanted" within

     a group labeled "Charlot tesville 2 . 0," in which a user named

     "Ben Daley" stated on July 24, 2017, "need room for at least

     three Goys from CA.       For Friday and Saturday night.      Solid sober

     respectful experienced at these events all were in Berkeley

     riots .      Plz let me know ."     Based on my training and experience

     and facts learned in this investigation, I believe that in t h is

     message , "Ben Daley" was offering his and his associates '

     "experience" and presence at the "Berkeley riots" as bona fides,

     demons t rating h is intent to travel to Charlottesvil le to create

     another riot there , and seeking lodgi ng amongst other white

     supremacists willing to host "Goys."

           51 .     I reviewed anot her statement posted using Discord, in

     a chat subgroup labeled "general l," within the "Charlottesville

     2.0" group , in which unknown users discussed whether the permit

     for the Unite the Right rally had been revo ked.          After the users

     confi rmed that the permit had been renewed, user "Ben Daley"

     responded , "Good stuff.          Regardless we should all still go.   Im

     flying out from CA with a handful regardless .          Fuck these jews ."

           52.     On July 25, 2017 , RUNDO sent a text message to Miselis

    stating, "Hey, if you can get in touch with ben, I may have a

    place for you guys to stay in Charlottesville ."

           53 .    Videos uploaded to YouTube and published by

     individuals and news organizations show Daley, Miselis , and

     other RAM members at the rally in Charlottesville with their

    hands taped in the manner of a boxer or mixed martial arts

     fighter, committing multiple assaults against multiple victims .

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     One video shows Daley approach ing a man from behind as the man

     stood still on t h e side of the street watching the protestors

    march down the street .      Daley raised his right hand a nd punched

     the man in the back of the head , causing him to fal l to the

     ground .     Daley then walked up t o various cou nter-protestors who

     were standing in the path of the Unite the Right protestors,

     punched some counter-protestors in the face , and threw others to

     the ground .

          G.      August 2017-February 2018: RAM Members Celebrated
                  Their Assaults and Prepared for More Events
           54 .   Based on my review of RAM members text messages and

     Facebook communications , photographs and videos posted online,

     and law enforcement reports , following the Charl ottesville

     event , RAM members continued to engage in regular combat

     training sessions and post photographs and videos on social

    media promoting their assaults at prior rallies .          For example ,

     on September 14 , 2017 , the RAM Twitter accou nt posted a p i cture

     of RUNDO and another RAM member assaulting counter- protestors at

     the Berkel ey rally , with the accompanying text : " #antiantifa,

     #goodnightleftsisde , #riseabovemovement . "

           55 .   On September 25, 2017, EASON sent a text message to

     Miselis stating , " Im back in a position to go hard with

     activism.      I got sidetracked after Berkeley . "    Mise lis responded

     that "for the time being I think everyone is laying a little low

     on account of [Charlottes vil le ] fallout . "

           56 .    In November 2017, RUNDO and Miselis exchanged several

     text messages about creating a video promoting RAM .          On December


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     17, 2017, the "Rise Above Movement" YouTube account posted a RAM

    promotional video combining video of RUNDO, BOMAN, LAUBE, and

     other RAM members assaulting counter- protestors with photographs

     and video of RAM members training in hand- to- hand combat.          Based

     on my review of text messages between RUNDO and Miselis , in

    which RUNDO described putting together a RAM promotional video

    and the clips he was using for the video , I believe tha t RUNDO

    orchestrated the creation of the video.

          57 .    On January 1 0 , 2018, the RAM Twitter account wrote,

    "Wha t 's up with giving a shoutout to t he only alt right crew

     that actually beats antifa senseless and wins ra l lies."

          58 .    On January 17 , 2018 , the RAM Twitter account wrote,

    "From the guys that [won] very rally they ever attended and

    always chased out antifa . "

          59 .    On February 12, 2018, Da l ey sent a private Facebook

    message to an associate stating, "We ' re not going be going to

    rally's for a few months cause we got a big trip planned but

    defin ite ly after that we' 11 be back on the scene .      Some good

    scenes from the April 15 Berkeley riots halfway thru this

    video."      The associate responded, "I ' ve never heard of you guys .

    Just nationalists or white nationalists? "        Daley responded ,

    "Huwhite.      We were the only reason shit was popping off at socal

    right wing events .     Were not hostile to non whites we just do

    our thing the way all other races do theirs.          Didn ' t want you

    thinking I was just some lop critiquing from the sidelines lol . "

          60 .    As described above, RUNDO, BOMAN, LAUBE, and EASON

    along with other RAM members , have used the Internet to prepare

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     to incite and participate in violence at various political

     events, have committed violent assaults while at those events,

     and have applauded each other for it and publicly documented

     thei r assaults in order to recruit more members to engage in

     further assaults .

                                  V.   CONCLUSION

          61.   Based on the foregoing , there is probable cause to

     believe RUNDO , BOMAN, LAUBE, and EASON violated Title 18, United

     States Code, Sections 2101 (Riots) and            (Conspirvacy).
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                                                             Special Agent
                                       Federal Bur    u of Inves tigat ion

     Subscribed to and sworn
     before me on October ~ , 2018



     THE HONORABLE STEVE KIM
     UNITED STATES MAGISTRATE JUDGE




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   UNITED STATES O F AM ERICA

                                           driminalAction No.3:18CR00025-001
   BENJAM IN DRAKE DALEY



          In the presence ofLisa Lorish,my counsel,who has full
                                                              y explained the charges

   contained in the indictm entagainstme,and having received a copy ofthe indictment

   from the United States Attorney before being called upon to plead,lhereby plead guilty

   to said indictm entand CountO ne thereof.Ihave been advised ofthe m axim um

   punishm entw hich m ay be im posed by the courtforthis offense.My plea ofguilty is

   m ade knowingly and voluntarily and withoutthreatofany kind orwithoutprom ises other

   than those disclosed here in open court.




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                                                                             ATCHARLO-I   VESVIUE,tvC  /'
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                                          IN TH E
                             UM TED STATES DISTRICT COURT                            At 23 2210
                                         FO R TH E                              2UL C.DUDLEY,CLERK
                             W ESTERN D ISTR ICT O F VIR G INIA               BY:
                               CH A RLO TTESV ILLE D IV ISIO N

   U M TED STA TES O F A M ER ICA                    CriminalNo.3:18CR 00025@ KM )
                                                 :
             V.


   BEYJAMIN DRAKEDALEY
                                  STA TEM EN T O F O FFEN SE
    .     Theoffensesdescribed below occurred within the W estern DistrictofVirginia,aswellas
   other districts. This Statement of Facts brietly summarizes the facts and circum stances
   surrotmdingthedefendant'scrlminalconduct.Itdoesnotcontainalloftheinformationobtained
   during this investigation and applicable to an accm ate Presentence Report and Sentencing
   Guidelinescalculation.

         Thisstatem entoffactsisnotprotectedby profferagreementorany otheragreement,and
   shallbe wholly adm issible attrialin the eventthis plea is laterwithdrawn notwithstanding any
   Rulesorstatutestothe contrary,includingbutnotlimited to,FederalRulejofEvidence408 and
   410,and FederalRule ofCriminalProcedtlre 11,unless1the Courtrejectsthe plea agreement
   tmderRule11(c)(1)(C).
          The defendant,BENJAM W DRAKE DALEY,acknowledgesand agreesthat,in proving
   the elem ents ofthe crim es to which he is pleading guilty,the United States can establish the
   following factsbeyond a reasonable doubt,and thatthese factsconstitute an adequate basis for
   hispleaofguiity.

          Inearly2017,thedefendantBenjaminDrakeDaley and otherindividualsparticipated in
   an organization originally known as the tGDIY Division''thatwas laterre-branded asthe GGltise ,
   Above M ovem ent''or :111.AMè.'' RAM was located in the greater Los Angeles,California area
   and represented itself as a combat-ready,m ilitant group of a new nationalist white identity
   m ovement. RAM regularly heldhand-to-hand and othercombattrainlng forRAM m embersand
    associatesto prepare to engage in violentconfrontationswith protestorsand otherindividuals at
   purported Gtpolitical''rallies. They attended these rallies with the exjectation thatphysical
   contlictwith counter-protestors would occur,and they celebrated violence ithappened. RAM
   leadersorgnnized thetraining sessionsand attendance atpoliticalralliesthrough phone callsand
   textm essages. In 2017,thedefendantattended severalsuch com battraining eventsand rallies.

          Through vmious socialm edia platforms,RAM would publicly postphotographs of its
   m em bers with their faces partially concealed. These photographs would be accompanied by

   Defendant'sInitials:


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   statementssuch asGtW henthesquadl'lsnotoutsmashingcommies,''GWrightwingdeathsquad,''or
   tGlgoodnightleftside.''Thedefendantposedinsomeofthesegroupphotographs.
          1.     H untington B each,C alifornia on M arch 25,2017

           On M arch 25, 2017, the defendant attended a political rally in Htmtington Beach,
   California along with severalRAM mem bers. Atthatevent,severalRAM m embersengaged in
   physicalfights with protestors and otherpersons. Following thatrally,photographs depicting
   RAM membersassaulting protestorsand otherpersonswerecovered on thenewsand on various
   N eo-N azi,white suprem acistwebsites. ItAM m em bers celebrated this coverage,and used the
   Intem etto poststatem ents,photographs,and videosofassaultscom mitted by RAM m embersat
   thisrally in orderto recruitm em bersto engage in violentconfrontations atfuture èvents. For
   exnmple, on the evening after the rally,the defendant sent a text m essage to fellow ILAM
   members:tdFrontpage ofgwebsitejwe did itfam.'' In referencingthese eventsatHtmtington
   Beach,the RAM Twitteraccountlaterposted a photograph showing severalIIAM m embersat
   the event,with themessage,Gtshortly afterthispic antifawasbtfo gi.e.,blown thef- k outqin
   Huntington Beach.''

          II.    B erkeley Riots on A pril15,2017

           In early 201.
                       7,apurportedpoliticalrally wasscheduled to occurin M artin LutherKing Jr.
    Civic CenterPark in Berkeley,Califom ia.

          In anticipation ofthisrally,thedefendanthelped to organizea RAM training on Sunday,
   April9,2017,inSanClemente,Califomia,theweekendbeforetherally.Atthistraining,oneof
   the subjectsoffocuswould be hand-to-hand fighting and formation fighting. The defendant
   attended thesetrainings.

          Priorto the event,on oraboutApril14,2017,the defendant,using hisdebitcard and his
   phone nllm ber,reserved and rented a van from Aim ortVan Rentalslocated atthe LosAngeles
   International Airport to transport the defrndant and other RAM m embers from southern
    Californiato Berkeley,California. On theeveningofFriday,April14,20t7,thedefendantand
    severalRAM mem bersdrovetogetherto Berkeley,Califom ia.

           On April15,2017,severalhtmdred people- to includethedefendmltand theotherRAM
   members- attended tv rally. Thedefendantand otherR.AM membersweredressed in gray
   clothing, goggles, and with black scarfs or m asks to cover the lower half of their faces.
   Throughout the day,there were several violent clashes between som e rally attendees and
   individualsprotesting the rally. ln one ofthefirstsuch instances,the defendantand otherRAM
   mem bers crossed the banierseparating the attendees and protestors,and physically foughtwith
   protestors.

          As the rally broke up, rally attendees and protestors dispersed onto the streets of
    downtown Berkele'y. The defendant, alongside other RAM mem bers, followed a group of

   Defendant'sInitials:


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    protestors w ho w ere leaving the area. Other RAM m em bers attacked a protestor,ptm ching him
    severaltim esand stompihg on him once. ThedqfendantZckèd down afencethatwasblocking .
                               ,

    thestreet,aild then ran up to a protestor and kicked him 9om behind. Theprotestorthen sprayed
    thedefendantwiih achemicalirritant.

           Follow ing the rally, photop aphs depicting the defendant and other R AM m em bers
    assaulting protestorsand otherpersonswerecovered on the pews and on variousNeb-Nazi,
    wllite supremacistwebsites. RAM members celebrated thiscoverage,alid used the Internetto
    postphotograph and videosofassaultscom m itted by RAM m em bers in orderto recm itm em bers
    to engage in violentcoO ontations atfuture events. For exnm ple,on M ay 15,2017,the R AM
    Instagrnm accotmtposted aphotovaph ofaRAM memberwearinj a'black skullmask atthe
    Berkeley event along w ith the com m ent, O rightwingdeathsquad.'' On M ay 31, 2017, the
                                   x


    defendantpostedonFacebook:çEW hitenationalistlsjwerethereason thebattleonBerkeley on
    April 15th w as a victory.'' On Janumy 10,2018,the RAM Tw itter accotmt posted a m essage
    describing itself as Rthe only altrightcrew thatacm ally beats antifa senselessand w insrallies.''
    OnFèbruary 14,2018,theRAM èab accotmtpostedaphotbpaphofaRAM memberptmching
    aprotestoratthe Berkeley eventalong w ith the text,R'ralk shitgethitl''

           Because bne of the R AM m em bers had broken his hand by punching som eone in
    Berkeley, futurè R AM trainings events w ould include training on using Kçpalm strikes'' and
    elbows. Overthesumm erof2017,the (
                                     Jefendanthelped organizethese trainingsto prepare for
    future rallies.

            111.      Preparations ànd Travelto Charlottesville in A ugust2017

            ln oraround the spring and sum m erof2017,an eventreferred to asthe G<u nite th'
                           '
                                                                                           e Right''
                     0,
    rally w as orgnnlzed and scheduled to oùcur on August 12, 2017, at Em ancipation Park in             ,

    Charlottesville,Virginia. This rally w as widely hprom oted on socialm edia and intéinet sites
    associated with white-suprem acistindividuals and F oups,and w as scheduled to feature a lineup
    ofw ell-u own white-suprem acistspeakers.

            On or aboutJuly 26,2017,the defendant,through a fnm ily m e> ber,obtained a ticketon
     Am erican A irlines for a round-trip com m ercialflight9om Los M geles Intem ationalAl
                                                                                          'rportin
    CaliforniatoCharlottesvilleAlbemarleAupor
                           o
                                         ' tinCharlottesville,Virginia,depakingonAugust
                                            '

     11,2017 and retnrnlng on August 16,2017. O n August 11,2017,the.defendant boarded his
     flight and t'
                 raveled 9om Califom ia to Chadottesville,V irginia,landing at approxim ately 2:25
    p.m.(EST).Atthe'timeofhistravel,thedefendantexpected thateitherhi'orhisfellow RAM
    meibers (some ofwhom were also kaveling to Charlottesville) would engage in violent
     coO ontationsw ith protestors orotherindividualsatthe upcom ing eventsin Charlottesville.

            for exnmple,on July 24,2017,the defendantposted on the Discord platform to the
     Rcharlottesville''thread forUnitetheRiglztRally participantsthat.he' and lzisco-defendantswere
     Rexperienced atthese events''and thatEçallwere in Berkeley riots.'' ln a textm essage on A ugust


     Defendant's.
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      9, 2017, the defendant described a co-defendant who w ould be staying w ith them in
      CharlottesvilleasanGGlplxcellentfighter''andthathewasEElsjtokedtohavehim withus.''
              ln anticipation of these congontations, after arriving in Charlottesville, the defendant
      used his debitcard to purchase athletic tape atthe W al-M artforRA M m em bers to wrap their
      fists in order to prevent their hands 9om breaking when they punched som eone. In advising
      otherswhenbuyingprovisionsfortheweekend,thedefendantadvisedthem toçtlmjakesureto
      notuse yourcard. HittheATM and use cash.''

             lV .     The Torch-tzitM arch atthe University ofV irginia on A ugust11,2017

              On August11,2017,the evening priorto the scheduled U nite the Rightrally,htm dredsof
      individuals,including the defendantand fellow RAM m em bers and associates,w ere gathedng to
      engage in a torch-lit m arch on the p ounds of the University of Virginia in Charlottesville,
      V irginia. At a nearby feld where the group w as gathering,the defendant and fellow R AM
      m em bers and associates lined up in form atiön, lit their torches, and w aited for the m arch to
      Com m ence.                                             .

              Throughoutthe m arch,the participants engaged in chants prom oting or expressing white
      suprem acistand otherracistand anti-sem itic view s,such asSçBlood and soill''and ççlew sw illnot
      replace usl'' The m arch culm inated nearthe University of Virginia's Rotunda,where a sm aller
      r oup ofindividuals,including U niversity ofVirginia sm dents,had gathrred around a stam e of
      Thom asJeffersop to protestthe torch-litm arch. M em bers ofthis group held a bnnnerthatread:
      SGVA Students Act A gainst W hite Suprem acy.'' Chanting and bearing torches, the m arch
      participants encircled the Thom as Jefferson statue and surrounded the protestors. Violence
      erupted nm ong the crowd,w ith som e individualsptm ching,ldcking,spraying chem icalirritants,
      swinging torches,and othelw ise assaulting others,a1lresulting ixl a riot as thatterm is defined
      under18U.S.C.j2102. During and in furtheranceofthisdot,thedefendantand otherRAM
      m em bers and associatesptm ched and struck m ultiple individualswith atorch.

             On February 6,2018,in a conversation on Facebook,the defendantadm itted thathe was
      presentatççthe fightatthe torch m arch''and thathe çthitlike 5 people.''               '

             V.       The U nite the RightR ally on A ugust12,2017 '

            On the m om ing ofAugust 12,2017,m ultiple groups and individuals espousing w hite-
     suprem acist and other anti-sem itic and racist view s airived in and around the vicinity of
     Em mwipation Park in Charlottesville,V irginia,to attend the U nite the Rightrally. W hen they
   . show ed up to Em ancipation Park,the defendant and otherRAM m em bershad in factw rapped
     their hands w ith the white athletic tape purchased the day prior. A fter several instances of
      violence prior to the scheduled start of the rally, law enforcem eni declared an tEunlawful
      assembly''and required rally participantsto disperje.



      Defendant'sInitials: .'                                                   .
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           One of the firstbreakouts ofviolence on the m om ing of August 12,2017 occurred on
     2nd SkeetNE,between Jefferson and High Streets,in downtown Charlottesville. Thedefendant
     andotherRAM memberswerepartofalargegroup of(overforty)individuals seekingentryto
     Em ancipation Park by w ay of2nd StreetN E,butwere told by m embersoflaw enforcem entthey
     had to enter 9om a different location. The group,including the defendant and other RA M
     members,turnedaround,linedup,andbegantomaketheirwa#tllrough agroupof(overtwenty)
     individuals who had com e to therally to protestagainstracialand otherform s ofdiscrim ination.

             A sthey m ade theirw ay through the group ofprotestorswho w ere blocking theirpath to
     the park,the defendantand otherR AM m em bers collectively pushed,ptm ched,ldcked,choked,
     head-butted, and otherw ise assaulted several individuals, resulting in a riot. During an in
     furtherance of this riot, the defendant personally com m itted m ultiple acts, including but not
     limited to,'the following:(1)ptmching a protestoratleasttwice ahd kicking him once;(2)
     attempting to punch a second protestor;(3) vabbing a protestor and throwing her offthe
     sidewalk;and (4)grabbingaprotestorbyherthroatandthrowinghertothevound.Theseacts
     w erenotin self-defense.


         m            Q.o
        Date                                                   BenjnminDrakeDaley
                                                               Defendant

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                                                               Cotm selforBen' ' D aley


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        Date                                                   Thom asT.Cullen
                                                               United StatesAttorney

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     Defendant'sInîtials:
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                                                                           ATCHARLOU EI        . COURT

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                                                                          JUL c.Du L. .
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                      IN THE UNITED STATESDISIN CT COURT                 BV'
                                                                           '
                                                                          **      J       .
                     FOR TH E W ESTER N DISTW CT OF VIRG ING                   D P    , 'kzr
                                                                                           '
                                                                                           tlr
                          CH ARI,OTTESVILLE DW ISION


    UM TED STATES OF AM EW CA                 :
                                              :
                V.                                  CaseN o.3:18cr25

    BENJAM G D R AK E DALEY
                                   PLEA A GREEM ENT

          I have agreed to enter into a plea agreem entwith the United States of Am erica,
    pursuantto Rule 11oftheFederalRulesofCrim inalProcedure.Itm derstand thatthisple:
    agreem entexpireson M ay 3,2019, a'ndthatIm ustçnterthisguilty pleaby oron thatdate,
    unlessan extension isagreed upon by theUnited StatesAttom ey'sOffice forthe W estern
     DistrictofVirginia.

           Theterm sand conditionsofthisagreementare asfollow s:

     A. CH ARG EIS) TO W H ICH I A M PLEAD G G GG              TY AND W M VER OF
        W G HTS

        1. The Chareesand PotentialPunishm ent

           M y attom eyhasinformed meofthenatureofthechargets)andtheelementsofthe
     chargets)thatmustbeproved by theUnited Statesbeyond areasonabledoubtbefore1
     could be found guilty ascharged.

           lwillenteraplea ofguilty to Count1 ofthe Indictm ent.

          Count1 chargesm e with Conspiracy to ltiot,in violatioh of18U.S.
                                                                   .     C.j371.The
     maximum statutorypenaltyisafilleof$250,000,aimprisonmentforaterm offiveyears,
     plusaterm ofsupervised releajeofthree years.

           Iunderstandrestitutionmaybeordered,myassetsmaybesubjectto forfeiture,and
     feesm ay beimposed to pay forincarceration,supervisedrelease,and costsofprosecution.
     lnaddition,a$100 specialassessment,pursuantyo 18U.S.C.j3013,willbeimposedper


                                                             Defendant'sJ'
                                                                         a2/2J/.
                                                                               çJ
                                         Page 1of 1r7


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     felony countofconviction. Ifurtherunderstand my supervised releasem ay be revoked if
     Iviolate itstermsand conditipns. lunderstand aviolation ofsupervise'd release increases
     thepossibleperiod ofincarceration.

     believelitam pleadinggjltyasdescribedabovebecauseIam infactguiltyandbecausel
                isin m y bestmterestto do so and notbecause ofany threatsorprom ises There
                                                                                   .

     hasbeen no promise m ade whatsoeverby anyone as to whatthe finaldisposition ofthis
     m atterwillbe.

        2. W aiver ofconstitutionalR iehtsUpon a Plea ofGuiltv
           lacknowledgeIhavehad al1ofm y rightsexplaiùed to me and Iexpressly recor ize
     lhave the following constitutionalrightsand,by voluntarily pleading guilty,Iknowingly
     waive and giveup thesevaluable constim tionalrights:

           a. Therightto plead notguilty and persistin thatplea;   .


           b. '
              Iherighttoaspeedy andpublicjurytrial;
           c. Therightto assistance ofcounselatthattrialand in any subsequentappeal;
           d. Therightto rem ain silentattrial;
           e. Therightto testify attrial;
           f. Therightto congontand cross-examinew itnessescalled by thegovernm ent;
           g. Therightto presentdvidence and wim essesin m y own behalf;
           h. Therightto compulsory processofthecourt;
           i. Therightto compeltheattendance ofwitnessesattrial;
           j. Therighttobepresumedinnocent;
           k. '
              Fherightto aunanimousguilty verdict'
                                                 ,and
           1. Therightto appealaguilty verdict.

        3. Dism issalofCounts

           IfIcomply with m y obligations tm derthe plea ap eem ent,the United States will
     move,atsentenzing,thatlbe dismissed as a defendantin any remaining countts). I
     stipulate and agree the United States had probable cause to bdng a11the counts in the
     Indictm ent which are being dism issed under this ap eem ent, these charges were not
     frivolous,vexatiousorin bad faith,and 1am nota Kprevailing party'?with regardto these
     charges. lfurtherw aive any claim forattorney'sfeesand otherlitigation expensesarising
     outofthe investigation orprosecution pfthism atter.                         ''




                                                              Defendant'xInitîals: l 1 .



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    B. SENTEN CIN G PRO W SION S

        1. G eneralM atters

           Pupuantto Fed.R.Crim.P.11(c)(1)(C),theUnited Statesand Iagree Ishallbe
    sentenced to a period ofincarceration w ithin the range of2/
                                                               7m onthsto 42 m onths. The
    partiesagree thisisareasonabl
                      ,           esentenceconsiderinha11ofthefactsandcircumstancesof
    thiscase. Iunderstand the Courtmustsentence mewithin thisrangeorrejecttheplea
    agreement. If,and only if,the Courtrejects the plea agreement,l willbe given an
    oppo> nity to withdraw m y guiltyplea. TheUnited Statesand Iagree al1othersentencing
    m atters,including,butnotlim ited to,supervised release,fines,and restitution,are leftto
    the Court's discretion. Because the parties have stipulated the agreed to sentence of
    im prisonm entis reasonable regardless ofthe guidelines calculations,Iwaive any rightl
    m ay have to any future reduction in sentence based on a change in the sentencing
    guidelines.

           Iunderstand Iw illhave an opportunity to review a copy ofm y presentence report
     in advance ofmy sentencinghearing and may fileobjections,asappropriate. Iwillhave
     an opportunity at m y sentencing hearing to present evideùce, bring witnesses, cross-
     exam ine any witnesse. the govem m ent calls to testify,and argue to the Courtwhat an
     appropriate sentenceshould be within the confm esoftheterm softhisam eem ent.

            I understand l w illnotbe eligible for parole dtlring any term of imprisonm ent
     im posed.

        2. Sentencine Guidelines

           Istipulate and agree thata11m atterspertaining to any ofthe colmtsofthe charging
     documentts), including any dismissed counts, are relevant conduct for purposes of
     sentencing.

           The parties agree the 2018 edition of the U nited States Sehtencing Guidelines
     M anualappliestoanyguidelinescalculation madepertainingtomy offensets).Istipulate
     thatthefollowing guidelinesectionts)areapplicabletomycondùct:
                        Aggravated A ssault
               2M .2 14 AssaultInvolvin Intentto Com m itAnotherFelon
          2M .2 1 + 2 Offense involvedm orethm1m inim al lannin
       2M .2 b (3 A + 3 Victim sustainedbodil in'u


                                                              Defendant'sInitials:
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              3B1.1(c + 2 Or anizer/leader
           The United States stipulatesthatthe guideline sectionts)setforth in this section
     should apply to m y conduct.

            Iunderstand otherguideline sectionsm ay be applicable to m y case and the United
     Statesand 1willbefreeto arguewhetherthese sectionsshould orshould notapply;to the
     extenttheargum entsarenotinconsistentwith thestipulations,recomm endationsand terms
     setforth in thisplea agreem ent.

            I understand the United States retains its rightto seek a sentence outsidç ofthe
     applicable guidelinerange.

           lagree to acceptresponsibility form y conduct. lf 1comply with m y obligations
     underthisplea agreem entand acceptresponsibility form y conduct,theUnited Stateswill
     recomm end the Courtgrant me a two-levelyeduction in m y offense level,pursuantto
     U.S.S.G.j3E1.1(a)and,ifapplicable,atsentencing,willmovethatIreceiveaone-level
     reduction in my offense level,pursuantto U.S.S.G.j 3E1.1(b),for purposes of any
     guidelines calculation. However,l stipulate thatif Ifailto acceptresponsibility for my
     conductorfailto comply with àny provision ofthisplea am eem ent,Ishould notreceive
     creditforacceptance ofresponsibility.

        3. M onetarv Obliaations

           a. SpecialA ssessm ents.Finesand Restitution

           l understand persons convicted of crim es are required to pay a mandatory
     assessmentof$100.00 perfelony countofconviction. lapee lwillsubmitto the U.S.
     Clerk'sOffice,a certified check,m oney order,orattorney'strustcheck,m adepayableto
     theSGclerk,U.S.D istrictCourt''forthe totalam ountdue form andatory assessm entsprior
     to entering m y pleaofguilty.

             lagreeto pay restim tion fortheentire scope ofm y crim inalconduct,including,but
     notlim ited to,a11m attersincluded as rrlevantconduct. ln addition,lagree to pay any
     restim tion required by law ,including,butnotlim ited to,am ountsduepursuantto 18 USC
     jj2259,3663,and/or3663A. 1understand and agreearequirement1payrestimtion for
     a1lofthe above-stated matterswillbeimposedupon measpartofany fmaljudgmentin
     thism atter.                            '



                                                               Defendant,xInîtu u: tl   .




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           I further agree to m ake good faith efforts toward paym ent of a1l m andatory
     assessments,restimtion and fines,with whatevermeanslhave atmy disposal. Iqgree
     failm eto do so willconstitutea violation ofthisagreem ent.lwillekecuteany docul ents
     necessary to release the ftm dslhave in any repository,bnnk,investm ent,other financial
     institution,or any other location in order to m ake partial or total paym enttow ard the
     m andatory assessm ents,restitution and finesimposed in my case.

            Ifully understand restitution and forlkiture are separatefinancialobligationswhich
     m ay be imposed upon a crim inaldefendant. 1furtherunderstand there isa processw ithin
     the D epartm ent of Justice whereby,in certain circum stances,forfeited funds m ay be
     appliedtorestimtionoblijations.Iunderstandnoonehasmadeanypromisestomethat
     such aprocesswillresultln a decrease in m y restitution obligationsin thiscase.

           lunderstand and agree,pursuantto 18 U.S.C.jj 3613 and 3664(119,whatever
     monetary penalties are imposed by the Courtwillbe due immediately and subjectto
     im m ediate enforcem entby thr United Statesasprovided forby stam te. Itmderstand ifthe
     Courtimposesa schedule ofpayments,thatscheduleisonly a mintmum scheduleof
     paym entsand notthe only m ethod,noralim itation on them ethods,availableto theUnited
     Statestoenforcethejudgment.
            Iagree to granttheUnited States a wage assir m ent,liquidate assets,orcom plete
     any othertaskswhich willresultin imm ediatepaym entin full,orpaym entin the shortest
     timeinwhich fu11paymentcanbereasonablypadeasrequiredunder18U.S.C.j3572(* .
            Iexpressly authorizetheUnited StatesAttom ey'sOffk etoobtain a creditreporton
     m ein orderto evaluate my ability to satisfy any financialobligation imposedby the Court.

            1agree the follow ing provisions,orwordsof similareffect,should be included as
     conditions ofprobation and/or supervised release:(1) Sl-f'he defendantshallnotify the
     Financial Litigation U nit,United States Attorney's Office,in writing,of any interestin
     property obtained,directly orindirectly,including any interestobtained underany other
     nam e,or entity,including a trust,pm nership or corporation afterthe execution of this
     agreementuntila11fines,restitution,m oneyjudgmentsandmonetaryassessmentsarepaid
     in 111''and (2)is'l'he Defendantshallnotify theFinancialLitigation Unit,United States
     Attom ey's Office,in writing,atleast30 dayspriortotransfening any interestin property
     owneddirectlyorindirectlybyDefendant,includinganyinterestheldorownedunderany
     other nam e or entity, includlng trusts, paM ership and/or corporations until a11 fm es,
     restitution,moneyjudgmentsandmonetary assessmentsarepaid in 111.'5



                                                                Defendant'sInitials:
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           The parties will also jointly recommend that as a condition of probation or
     supervised release,D efendant will notify the Financial Litigation Unit,United States
     Attom ey's Office,before Defendanttransfers any interestin property owned directly or
     indirectly by Defendant,including any interestheld or owned under any other nam e or
     entity,includingtrusts,partnership and/orcop orations.See 18U.S.C.j3664(14,(n).
            Regardlessofwhetherornotthe Courtspecifically directsparticipation orimposes
     a schedule of paym ents,I agree to fully participate in inm ate em ploym ent under any
     availableorrecomm endedprogram soperated by theBureau ofPrisons.

            lagreeanypaymentsmadebymeshallbeappliedfullytothenon-jointandsrveral
     portion ofmy outstanding restitution balance untilthe non-joiptand severalportion of
     restimtion ispaid in 1 11,unlessthe Courtdeterm inesthatto do so would cause ahardship
     toavictim oftheoffensets).
           b. Dutv to M akeFinancialDisclosure
                          .                  %.
                                                s

            Iunderstandin thiscasethereisapossibility substantialfinesand/orrestitution m ay
     be imposed. In order to assistthe United States as to any recomm endation and in any
     necessary collection ofthose sum s,lagree,ifrequested by theUnited States,to provide a
     complete and truthfulfm ancialstatementto theUnited StatesAttom ey'sOffice,within 30
     daysoftherequest.or3 dayspriorto sentencing,w  'hicheverisearlier, detailing a11incom e,
     expendim res,assets,liabilities,gifts and conveyances by m yself,m y spouse and m y
     dependentchildren and any cop oration,partnership orotherentity in which Ihpld orhave
     held an interest,forthe period starting on January 1stof the yearprior to the yearm y
     offense began and continuing through the date ofthe statement. This fmancialstatem ent
     shallbe submitted in aform acceptable tbtheUnited StatesAttorney'soffice.

            From the tim e of the signing of this ap eem ent or the date l sign the tinancial
     statem ent,whichever is earlier,l agree not to convey anything of value to any person
     w ithoutthe authorization oftheUnited StatesAttorney'sOffice.

           c. Understandinz ofCollection M atters

           1understand:

           1. aspartofthejudgmentinthiscaselwillbeorderedtopayoqeorm oremonetary
              obligations;                    .
           2. paym entshould bem ade asordered by the Court;


                                                               Defendant'sTaf/fl/.&'.- J
                                          Page 6 of 12



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           3. lmustmai1payments,bycashier'scheckormoneyorder,piyabletothe''Clerk,
              U .S.DistrictCourt''to: 210 Franklin Road,S.W .,Suite 540,Roanoke,Virginia
              24011;andincludemynameandcourtnumberon thecheck ormoneyorder;
           4. interest(unlesswaivedby theCourt)and penaltiesmustbeimposed forlateor
              mijsedpa#ments;
           5. theUnited Statesm ay filelienson m y real@ndpersonalproperty thatw illrem ain
              inplaceuntilmonetaryobligationsarepaidin 111,oruntilliensexpire(the.later
              of20yearsfrom dateofsentencingorrelease9om incarceration);               '
           6. iflretain counselto representm eregarding theUnited States'effortsto collect
              any of my ' m onetary obligations,I will imm ediately notify the United States  ,

              Attorney's Ofsce,ATTN : FinancialLitigation Unit,P.O.Box 1709,Roanoke,
              V irginia 24008r1709,in writing,ofthe factofm y legalrepresentation;and
              1, or m y attom ey if an attom ey will represent m e regarding collection of
              m onetary obligations, can contact the U .S. Attorney's Office's Financial
              Litigation Unitat540/857-2259.

     C.ADDITIONAL M ATTER S

        1. W aiverofRiehtto A ppeal

           Knowing that1have a rightofdirectappealofmy sentence lmder 18 U.S.C.j
     3742(a)andthegroundslisted therein,lexpresslywaivetherightto appealmy sentence
     on those grounds or on any ground. ln addition,Ihereby waive m y rightofappealasto
     any and a11otherissues in this m atter and agree Iw illnotfile a notice ofappèal. Iam
     knowingly and voluntarily wàiving any rightto appeal. By signing this agreem ent,Iam
    explicitly and H evocably directing m y attorney not to file a notice of appeal.
    N otwithstanding any otherlanguagetothec/a/m ry,Iam notwalving my righttoappeal
    orto havemy c///rae-y- /z/eazl/sceofappeal,astoany issuewhich cannotbewaived by
     law,ora c/cf,zthat18 E x$:G #2101 isunconstitutional- Iunderstand
                                                                     ,utheUnitedStates
     expressly reserves a11ofitsrightsto appeal. I agree and understand ifIl-
                                                                            lle any court
     docum ent(exceptforan appealbased on an issuethatcanàotbewaived,by law,ora
     collateralattack based on ineffectiveassistanceofcounsel)seekingto disturb,in any
     w ay,axiy order im posed in m y case such action shallconstitute a failure to com ply
     with a provision ofthisagreem ent.

        2. W aiver ofR iehtto Collaterallv Attack

           IwaiveanyrightImayhavetocollaterallyattack,in anyfutureproceeding,any
     orderissued in thism atter,unlesssuch attack isbased on ineffectw e assistanceofcolm sel,


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     and agree Iwillnotfileany docum entwhich seeksto disturb any such order,unless luch
     filing isbased on ineffectiveassistance ofcounsel. Iagreeand understand thatlfI flle
     any courtdocument(exceptforan appeqlbased on an issuenototherwisewaived in
     this agreem ent; an appealbased on an issue that cannot be waived,by law ; or a
     collateralattack based on ineffectiveassistanceofcounsel)seekingtodisturb,in any
     way,any order im posed in my case,such action shallconstitute a failure to cpm ply
     with a provision ofthisagreem ent.

        3. Inform ation A ccessW aiver

            lknowingly and voluntarily agree to waive allrights,whetherasserted directly or
     by a representative,to requestor receive from any departm entor agency ofthe United
     States any records pertaining to the investigation orprosecution ofthis case,including
     withoutlim itation any recordsthatm ay be soughtunderthe Freedom oflnform ation Act,
     5U.S.C.j552,orthePrivacy Actof1974,5U.S.C.j552a.
        4. Deportation

           lunderstandif1am notacitizenoftheUnitedStateg,lmaybesubjecttodeportation
     from the United States,denied United States citizenship,and denied adm ission to the
     United Statesin thefuture,asaresultofmy conviction forthe offensets)towhich Iam
     pleading guilty.

        5. A dm issibilitv ofStatem ents

           I understand any statements I make (including this plea agreement, and my
     admission ofguilt)duringorinpreparationforanyguiltypleahearing,sentencinghearing,
     or otherhearing and any statem ents 1m ake orhave m ade to 1aw enforcem entagents,in
     any setting (including during a proffer),may be used againstme in this or any other
     proceeding. Iknowingly waive any right1m ay have underthe Constitution,any statm e,
     rule or other source of law to have such statem ents,or evidence derived from such
     statem ents,suppressed orexcluded 9om being adm itted into evidence and stipulate that
     such statem entscan be adm itted into evidence.

        6. AdditionalOblieations

           1agreenotto com m itany ofthefollowing acts:
                                                          z'


               . attemptto withdraw m y guilty plea;


                                                               Defendant'sInitials:
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              * deny lcomm itted any crim eto which 1havepled guilty;
              * makeoradoptany argumentsorobjectipnstothepresentencereportthatare
                  inconsistentwith thispleaagreem ent;
              * obstructjustice;
               . failto com ply with any provision ofthispleaar eem ent;
               * com m itany othercrim e;
               * m ake a false statement;
               * failto enter my plea ofguilty by M ay 3,2019 - the expiration date ofthis
                 plea agreem ent - unless a continuance is agreed to by the United States
                 A ttorney'sOffk e and grantedby theCourt;

        7. Com pletion ofProsecution

           The United states Attom ey's offk e forthe w estrrn Districtof Virginia and the
     UnitedstatesAttomey'sbficefortheCentralDistrictofCaliforniaagreethatiflcomply
     with m y obligationstm derthispleaagreem entand Iam sentencedby thisCourt,they will
                                                                         .

     notchargemewith anyadditionalviolationsof18U.S.C.j2101fortùeconductincluded
     in the statem entofOffense.                             '

     D.REG     DIES AVAILABLE TO TH E UM TED STATES

            I hereby stipulate and agree that the United States Attorney's office m ay,at its
     election,pursueany ora11ofthefollowing rem ediesifIfailto comply with any provision
     ofthisagreement: (a)declarethispleaagreementvoid;(b)refusetodismissanycharges;
     (c)reinstate any dismissed charges;(d) file new charges;(e)withdraw any substantial
     assistance motion m ade,regardless ofwhethersubstantialassistance hasbeen performed;
     (9 refusetoabidebyanyprovision,stipulations,and/orreçommendationscontainedinthis
     pleaagmement;or(g)takeanyotheractionprovidedforunderthisagreementorbystatute,
     regulation orcourtrule.

            In addition,Iam eeif,forany reason,m y conviction isjetasidç,orIfailto com ply
     with any obligation undertheplea agreem ent,theUnited Statesm ay file,by indictm entor
     information, any charges against m e which w ere filed and/or could have been fled
     concem ingthemattersinvolvediniheinstantinvestigation.Iherebywaivemydghtunder
     FederalRule ofCrim inalProcedure 7 to be proéeeded againstby indictm entand consent
     to thefling ofan inform ation againstm econcçrning any such charges.lalsoherebyw aive
     apy statm eoflimitationsdefenseasioany suchcharges.               r




                                                                 Defendant'sInitials:
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           The rem edies setforth above are cumulative and not mutually exclusive. The
     United States'election ofany ofthese rem edies,otherth% declaring thisplea agreem ent
     void,doesnot,in aày way,term inàte m y obligation to comply with the terms oftheplea
     agreem ent. TheuseofSEiP'in thissection doesnotm ean Gdif,and only if.''
                                                          ,'



     E. G ENER AI,PRO W SION S

        1. Lim itation ofA ereem ent

            This agreem ent only binds the U nited States Attom ey's Office for the W estern
     DistrictofVirginia,exceptasprovided in Section C,paragraph 8 above. Otherwike,it
     doesnotbind any state orlocalprosecutor,otherUnited StatesAttom ey'sOfsce orother
     oflce oragency ofthe U nited StatesGovernm ent,including,butnotlim ited to,the Tax
     DivisionoftheUnitedStatesDepaftmentofJustice,ortheInternalRevenueServiceofthe
     United StatesDepartm entofthe Treasury. These individuals and agenciesremain free to
     prosecutemeforany offensets)committedwithintheirrespectivejurisdictions.
        2. EffectofM v Sienature

            Iunderstand m y signature on this agreementclp stitutes a binding offerby m eto
     enterinto thisagreem ent. Itm derstand theUnited Stateshasnotaccepted my offeruntilit
     signsthe agreement.

        3. EffectiveR epresentation

            Ihavediscussedtlzeterm softheforegoingpleaagreem entand al1m atterspertaining
     to thechargesagainstm ew ith m y attorney and am fully satisfiedw ith m y attorney and my
     attom ey's advice. Attllistim e,Ihave no dissa
                                                  'tisfaction orcomplaintw ith m y attorney's
     representation. lagreeto m akelcnown to the Courtno laterthan atthetim e ofsentencing
     any dissatisfaction orcomplaintlm ay havew ith m y attorney'srepresentation.

        4. M isconduct

           If I have any information concem ing any conduct of any governm ent attorney,
     agent,employee,orcontractorwhich couldbeconstrued asm isconductorân ethical,civil,
     orcrim inalviolation,lagreeto m akesuch conductknown to theUnited StatesAttorney's
     Office and ihe Court,in writing,as soon aspossible,butno laterthan my sentencing
     headng.



                                                                De
                                                                 fendant'
                                                                        sfaz/zllr j
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           5. FinalM atters

           lunderstand athorough presentence investigation willbe conducted and sentencing
    recom m endationsindependentoftheUnited StatesAttom ey'sOfficewillbem adeby the
    presentence preparer,which the Courtm ay adoptortake into consideration. Iunderstand
    any calcplation regarding the guidelinesby the United States Attorney'sOffice orby m y
    attorneyisspeculativeandisnotbindingupon theCourt,theProbation OfficeortheUnited
    StatesAttorney's Office. No guaranteehasbeen m ade by anyone regarding the effectof
    theguidelineson m y case.

              ltm derstand the prosecution w illbe free to allocute or describe the natpre ofthis
        offense and the evidence in this case aild m ake any recom m endations notprohibited by
                                               ,

        thisagreem ent.

               Iunderstand the United States retainsthe right,notwithstanding any provision in
        thisplea agreem ent,to inform the Probation Office and the Courtofa11relevantfacts,to
        addresstheCourtwith respectto thenatureand seriousnessoftheoffensets),torespond
        to any questions raised by the Courq to correçtany inaccuracies or inadequacies in the
        presentencereportand to respond to any statem entsm adeto the Courtby oron behalfof
        the defendant.

              I willingly stipulate there is a suffk ient factualbasis to supporteach and every
        materialfactualallegation contained within the charging documentts) to which I am
        pleading guilty.

                Iunderstand this agreementdoesnotapply to any crim esorx    chargçsnotaddressed
        in this agreement. ltmderstand ifIshould testify falsely in this orin arelated proceeding
        Imaybeprosecuted forperjtlry and statementsImay have given authoritiespursuantto
        thisagreementm ay beused againstm e in such aproceeding.

              lunderstand my attom e/willbefreeto argueany mitigatingfactprson mybehalf;
        totheextentthey arenotinco'nsistentWiih'tietermsofthisagreem'ent.''v
                                                                           lundèfgtandIwill
    .
        havean opportunity to personally addresstheCourtpriorto sentence being imposed.

              Thiswriting setsforth the entireunderstanding between thepartiesand constitutes
        thecompletepleaagreementbetweep tfleU'nited StatesAttorzey forthxe W estern District
        ofVirginia and me, Mnd.nè otheréddtlipm l.ierm sor agreementsshall'be eùtered except
                                                    .

        and unlessthose otherterm sor am eem entsaré in w liting and signed by the pârties.This
        plea agreem entsupersedesà11priortm derstandings,promises,agreem ents,or conditions,


                                                                   Defendant'sInltlals:       ..
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     ifany,betw een theUnited Statesand m e.

            lhave consulted w ith m y attorney and fully understand a11m y dghts. lhave read
     thisplea agreem entand carefully reviewed every partofitwith m y attorney. 1understand
     this agreem ent and l voluntarily agree to it. I have not been coerced,threatened,or
     prom ised anything other than the term s of this plea agreem ent, described above, in
     exchange form y plea ofguilty. Being aware of allofthe possible consequences ofm y
     plea,lhaveindependqntly decided to enterthispleaofm y ow n freewill,and am affinhing
     thatagreementon this date and by my signaturebelow.


     Ilate:   lksrk ï tj                                     '          M

                                              BenjaminDrakeDalèv Defendant
     1have fully explained a11rightsavailableto my clientwith respectto theoffenseslisted in
     the pending charging documentts). I have carefully reviewed every partofthisplea
     agreem entw ith m y client. To m y knowledge,my client's decision to enter into this
     agreem entisan informed and voluntary one.

              lfIwillcontinuetorepresentm y clientregarding theUnitedStates'effortsto collect
     any monetyy obligatiohs,Iwillnotify the United States Attorney's Oftke,ATTN:
     FinancialLltlgation Unit,P.O .Box 1709,Roanoke,Virginia 24008-1709,in writing,of
     thefactofmy continued legalrejresentation within 10 daysoftheentry ofjudgmentin
     thiscase.       '


     Ilate:1/ç/l3                                f
                                                 o
                                              Lisa M .Lo sh
                                              C ounsel rD ef       nt


     Date: S--i - 1q                             (-
                                              Thom asT.Cullen
                                              U nited StatesAttorney


     Date:s,//y                               Christ pher R.K av augh
                                              A ssistantU nited tates A ttorney



                                                                 Defendant'sInltlals:
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                            Exhibit 35
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FD-302a (Rev. 5-8-10)


                                               UNCLASSIFIED//LES


                            (U//LES) Interview of Berkeley PD Sergeant
Continuation of FD-302 of                                                , On   05/01/2019   , Page   2 of 2




                      would notify Officers as the violence was taking place.
                   tracked the violence up Center Street, via live-streaming, as the
          Right-side, including the RAM group, was aggressively pursing the Left-side
          as they fled up Center Street.

                      stated that to his knowledge, no person or group saught a permit
          for the 04/15/2017 event, nor was a permit given for the 04/15/2017 event.
          The rally/riot was not allowed and was an un-permitted event.

             (Administrative Note: a signed declaration from the City of Berkeley
          states that no permit was applied for, nor given out for the free speech
          event that occurred in Berkeley's MLK Park on 04/15/2017 and is attached as
          a 1A to this report.)




                                                                                                 USA_00201283
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FD-302a (Rev. 5-8-10)


                                         UNCLASSIFIED//LES


                          (U//LES) Interview of Berkeley PD Officer
Continuation of FD-302 of Semir Muratovic                             , On   05/01/2019   , Page   2 of 2




          clothing.

                       recognized significant elements on both sides that were
          prepared for violence.            remembers seeing the "Defend America"
          banner as it was being moved forward in the crowd by an organized group of
          young white males, later identified as RAM (Rise Above Movement).
          observed several of the young white males holding the "Defend America"
          banner wearing similar clothing such as tight grey shirts with skull masks,
          mechanics gloves, their hands taped-up, mouth guards, and goggles. The
          mouth guards could clearly be seen under the tight clothing because they
          formed a little "u" outline in the clothing. Throughout the day, the RAM
          group would antagonize and then fight with counter-protestors. On multiple
          occassions, they would pick a person and then go after the person as a
          group, pulling the person out, isolate them, and then attacking them.

             After several fights in and around MLK Park, a large group of counter-
          protestors began backing up and retreating East up Center Street and
                    could see the RAM group pursuing and engaging them in fighting.
                    recalled seeing a blond haired individual, whom he later
          identified as Ben DALEY, who appeared to be leading the group of young white
          males. More counter-protestors came out to support the retreating group and
          the crowd seemed to dissipate from there at the end of Center Street near
          the Shattuck Avenue. At some point during the fighting,            arrested
          a guy throwing eggs, took him into custody and left the scene.




                                                                                              USA_00201280
                                                                                                       4
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                           Exhibit 36
                       (filed under seal)
